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                                                                                    f'~

             IN THE UNITED STATES DISTRICT COURT FOR ~`~'~I~
                                                       ,., _ -.z,
               CENTRAL DISTRICT OF CALIFORNIA  EASTE~~T~     ~'                              ~°
                        DIVISION OF RIVERSIDE     ~'_iz ,~ , "'


                  CIVIL ACTION COMPLAINT                                     ~ ~'~= '` `~
        CASE No: ED C V                 24 - 006 8- y5~ ~i~;

                      CARLOS ANTONIO LANDEROS
                                                   Plaintiff
                                          Vs
        JOE BIDEN U.S. PRESIDENT; MERRICK B.
        GARLAND U.S ATTORNEY GENERAL; GEO GROUP
        INC.-(aka)-GEO SECURE SERVICES,et al; AND DOES
        1 THROUGH 100 INCLUSIVE.
                                                Defendants



                  CIVIL ACTION COMPLAINT

        VIOLATIONS TO THE UNITED STATES CONSTITUTION AND BILL
        OF RIGHTS; CONSPIRACY TO DEFRAUD THE UNITED STATES;
        FRAUD UPON THE COURT; OBSTRUCTION OF JUSTICE;
        TORTURE;    EXTORTION;    SLAVERY;    DISCRIMINATION;
        EXPLOITATION; KIDNAPPING; INFLICTION OF CRUEL AND
        UNUSUAL PUNISHMENT --ALL THESE CRIMINAL CONDUCT FOR
        PURPOSE OF PRIVATE GAIN.             JURY TRIAL DEMAND


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      CARLOS ANTONIO LANDEROS (Plaintiff,
      does, hereby, pursuant to his Constitutional
      Standing ... his right to be free ... his right
      to protect his life "Appoints" General Services
      Defensores de los Derechos Humanos &Above
      A.C.- Dante Damian Villegas Lizalde as his
      "Lawful" Representative or Attorney In Fact
      in the process of his "Civil Action" therefore
      giving a "General Power of Attorney"-
      (EXHIBIT-1) ... Now complaints and affirms
      as follows:


                                         PARTIES



             1~- Plaintiffs AttOrriey I11 Fact is an International Human Rights

            Association that protects "immigrants and prisoners" named as General

            Services Defensores de los Derechso Humanos &Above A. C., with U.S.

            address at: 2493 Roll Dr. Suite 209-646 San Diego California 92154-7230.

            Telephone: 210 748 6554 ... E-mail: ~veforthehi-iQhts(a~;~uail.co~n   This

            Human Rights Firm was originally established in 2010 in the United States



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        by Dante Damian Villegas Lizalde its original name was General Services

        & Above uniting Associates from all over the World. ... The Mexican

        government did not accepted the Firm"s         representation to Mexican

        nationals within the united Mexican states stating that it was a foreigner

        Firm that has no jurisdiction within the Mexican states therefore in 2020

        created in Mexico the Civil Association named as General Services

        Defensores de los Derechs Humanos &Above A.C. where Dante Damian

        Villegas Lizalde is the President-(Exhivit-2) with al the Powers to perform

        in all those countries that form part of the "Convention of the Haya"

        established at the fifth day of October 1961 ... where the United States

        of America is a party-therefore General Services Defensores de los

        Derechos Humanos &Above A.C.- Dante Dammian Villegas Lizalde has

        jurisdiction to represent the Plaintiff in his Civil Action Complaint hereby

        presented for proper Due Process of Law. Plaintiff also extended a

        General Power of Attorney to the Firm and Representatives so there is

         no questions in their performance on this civil action on hand-(Exhibit-1).


        2~- DeferidalltS: President of the United States of America Joe Biden;

         Attorney General of the United States of America Merrick B. Garland,

         both, pursuant to Article II of the Constitution of the United States

         both are the main responsible to take care that the laws be faithfull~~


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   executed, preserve, protect and defend the Constitution of United States —

   both perform their duties under Oath; GEO Group Inc; Aka GEO Secure

   Service, et al; CoreCivic, et al; And all others DOES 1 through 100,

   inclusive, under contract with the United States.            the true names,

   identities, or capacities, whether individual, associate, corporate, or

   otherwise, of defendants DOES 1 through 100, inclusive, and each DOE in

   between, are unknown to Plaintiff at this time, and Plaintiff therefore sues

   said defendants as are ascertained, Plaintiff will ask leave of court to amend

   the complaint to insert such names, identities, capacities, together with the

   proper Charging facts.


   3)--Plaintiff: Carlos Antonio Landeros ... with an address at: 641 Desert

   View Palm Springs CA 92264, e-mail: f~ct~nsc~[~~~ss%cr ~iu~~i~.~ur~a   ...   a

   Mexican national        ...    an immigrant protected pursuant to the

   Constitution of the United States, detained by the Department of

   Homeland Security an agency of the Executive Branch of federal

   government; after the fact, placed in a private detention center own and

   guarded by GEO Group Inc; Aka GEO Secure Service; Core Civic, et al;

   And others; where Immigrants are detained for months and years

   under civil proceedings administrated not by an Article III judge but by

   officers from the Executive Branch of the Federal Government,in violation


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        to their "International Agreements" therefore suffering discrimination,

        extortion, torture, exploitation, kidnapping, slavery       ...    all under

        infliction of cruel and unusual punishment ...       for the sole purpose of

        private fain. Infra.




                               NATURE OF ACTION



         Carlos Antonio Landeros, the Plaintiff,         present this Civil Action

        Complaint on his behalf       because he is and has been suffering this

        intentional infliction of mental distress for the sole purpose of private gain

        a conspiracy to defraud the United States        causing injuries not only to

        him and his family, but to the integrity of the Constitution of the United

        States, and International Treaty Agreements to wit:


         Obstruction of justice; Farud;        Manipulation of the immigration

        administrative proceedings; Violations to the United States criminal codes

        of title 18,5 an others     therefore protecting a private industry that has

         been profiting from the suffering of minorities ... from immigrants that

         are looking for safety, food, and shelter. This obvious and evident

         racketeering activity has been going on for long     ...   long time, under




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        which tens of thousands of minorities has been placed behind bars(BOP)

        for the sole purpose of slavery; also, tens of thousands ofimmigrants placed

        behind bars under civil proceedings for months and years            in private

        detention centers that are profiting billions of dollars from such criminal

        action ... not even children escaped from the criminal cla~~s of private

        gain, proving facts of this horrific reality hereby, infra, will be presented.




                           JURISDICTION

        The U.S. District Court has Jurisdiction pursuant to the Constitution of

        the United States Article III Sec. 2; 28 USC-Sec. 1331; 28 USC-Sec. 1346

       (b)(1); 28 USC Sec. 1332 (a).




                                         VENUE

        VENUE—for this "Civil Action" properly laid in this Judicial District

         pursuant to, inter alia, 28 USC Sec. 1391 (b), in that all of the events or

        omissions given rise to the "Claim" for relief asserted herein occurred in

        this Judicial District.




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                           INJUNCTIVE RELIEF


        Plaintiffs facts for "I~1junCtive Relief' are proper pursuant to 28

        USC Secs. 2283; 2284; and Rule 65 of the Federal Rules of Civil Procedure.




                           PRESERVED FACTS




         Plaintiff, hereby present, infra, jurisdictional parameters for if this

       "Civil Action" become a "CIaSS ACtlOil" due to the fact that many

        others are, and have been suffering the same criminal consequences that

        Plaintiff is suffering now,to wit:


        Diversity subject matter jurisdiction exists over this class action pursuant

        to Class Action Fairness Act of 2005, Pub. L. No. 109-2, 119stat, 4 (2005),

        amending 28USC§1332, at new subsection (d), conferring federal

        jurisdiction over class actions involving: (a) 100 or more members in the

         proposed class; (b) Where at least some members of the proposed class

         have different citizenship from defendants; and (C) Where the claims of




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        the proposed class members exceed the sum or value of five million dollars

       ($5,000,000) in the aggregate. 28USC§§1232(d)(2) and (b).




        Or jurisdiction over the subject matter of all claims asserted herein

        pursuant to 21USC§1232(a)(1) in that it is a civil action between citizens

        of different states; This District Court also has jurisdiction under

        28USC§1231 because this action arises out of a federal law of the United

        States       18USC§§1961, 1962, and others.




        The number of class members could be discerned from the records

        maintained by defendants.                While the exact actual damages to

        plaintiffs and the members of the classes are unknow at this time, plaintiffs

        reasonably "affirm" that their claims exceed five million dollars

       ($5,000,000) in the aggregate.




        Jurisdiction is also proper pursuant to 28USC§1367, which provides, in

         relevant part, that: "Such suppleyfiental jurisdiction shall inclir~le claif~is

        that ifzvolve the joiner or interve~ition o~~z additional parties; i~ any action

        of which the district courts have originaljurisdiction, the district court shall


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        I1c~ve sirpple~~reirtc~l jrn~isdictioit over• all other clai»zs that are so related to

        claims in the action w~thi~z such origincil,jurisdiction that theyform part of

        some case or controversy under Article III of the constitution of the U.S.,

        inclrrd~ng claii~is that involve thejoinder, or additional pa~•ties':


        Additional jurisdiction           pursuant to: 28USC§1346, 1350 and 1357.

       (Reserved).




                                           VENUE

               Venue for this civil action is properly laid in this juridical district

        pursuant to, inter alia, 28USC§1391 (b)(2), in that a substantial part of the

        events or omissions giving rise to the claims for the relief asserted herein

        occurred in this judicial district.




                               MATERIAL FACTS

             On October 2019, Plaintiff was arrested by officers of the Executive

         Branch of the Federal Government, after the fact, placed behind bars in

         a private Institution own and administrated by GEO Group Inc; Aka

         GEO Secure Service, such Institution is located in Adelanto California,


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        where Plaintiff was "enslaved" by GEO, the corporation under the

        consent of the US government ... forced to work in the kitchen for one

        dollar per day. ...   Plaintiff requested for Asylum under Article 3 of the

        United Nations Convention Against Torture-(CAT)-the Treaty.           The

        government stated that in order to allow Petitioner to file an Application

        for Asylum and for V1-'ithholding of Removal Form: -I 589-he ~i~as to be

        submitted to a Reasonable Ferar Interview with an Asylum Officer.

        Petitioner then was taken to a private meeting ~i~ith the so call Asylum

        Ofticer where, after being interrogated for several hours, the Application

        for Asylum-Form I _589- was denied. The Asylum Officer directed

        Petitioner, ifi he was not satisfied, to appeal such negative action to the

        Immigration Judge ...not an Article III Judge, but an administrative

        Officer of the Executive Branch of the Federal Government established

        under Section 3105 of the United States Code of Title 5.... Petitioner then

        had a hearing ~~~ith the Immigration Judge, an officer of the Executive

        Branch of Government that only review the same material facts that were

        established by the Asylum officer, questioning that take place in an

        antagonist atmosphere, where the immigrant is by himself, without having

        an understanding of the law, and the majority of the time not even

         understanding of the language, according with the government the




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       immigrant has a right to a legal consul but not on the government expense,

       so much for the Bill of Rights from a country that preaches democracy

       around the World, of course, the access to the Application Form- 1589

        most of the time is denied, such it was the case with the Plaintiff"s

        immigration administrated due process. But the worse part is to begin, in

       fact             part of the, supra, immigration administrative process is

        consider to be part of the "Due Process" that it is guarantied by the Bill of

        Rights .. .and such tact is not truth, due to the fact that the immigrants

        does not ha~~e constitutional rights at all               all the immigration

        administrative process given to immigrants is a farce ... a fraud, mounted

        for the sole purpose of private gain, to ~~~it:




        Plaintiff was taken to a private mitting without counsel, without having an

        u nderstanding of his constitutional rights, this action, supra, was his first

        Due Process violation;              his second violation took place ~~~ithin the

        immigration administrative hearing with an Officer of the Executi~~e

        Branch of the Federal Government established under Section 3105 of the

        United States Code of Title 5        ...   both hearings under a dominated

        atmosphere resulting in coercion or duress a conduct that constitutes the

        improper use of power to compel immigrants to submit to their wishes


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        therefore           the suffering ... mental distress                 in fact no

        body knows the wonders of the mind and how painful can be                    but

        this infliction of mental distress is real, to wit: Plaintiff on November 29,

        2019 sent his "appeal" to the Board of Immigration Appeals (BIA),

        received by the BIA on December 9, 2019-(Exhibit-3)- but Plaintiff on

        December 28, 2029 received his Notice of Appeal back, rejected by the BIA

        because Plaintiff did not included the Fee Waiver Request Form,              this

        action, of course, was done in spite of the fact that Plaintiff on his appeal

        included a letter directed to the Clerk of the BIA where Plaintiff advised

        the Clerk to take notice of the fact that the Forms for Appeal and the

        Waiver Form EOIR-26A were not available in the Detention Center, and

        d ue to the fat that the time for submitting the "notice of appeal" does not

        stop, and those Forms requirements are used by the BIA to deny the

        i mmigrants' appeals for their failure to comply, to wit:




        Clerk of the Court, good play, attached please frnd i~~l~ "Notice of Appel",
        please can you docket it and send me a copy of the same aftef• has been
        stamped, as well as the Form EOIR-26-A fog my fee waiver request,
        u~tfof~tu»ately here ire this detention ce~iter we do not have access to such
       fo~~ms, and your office does not accept ocn•pre~sra~teforms requests, ifyoufile
        rr~ry foi•i~i that it is trot the offrcial-one ... so please send me n copy of the




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         notice ofappeal -EOIR-26-which I hnct borrowedfronT apt iirj~rate -as well the
        above request- thank youfor your services a»~! r~itderstaiidi»~r.-(Exhibit-3).




         Of course this request did not mater the Clerk still sent back the Notice of

         A ppeal- stating that the Appeal was rejected due to the fact that Plaintiff


         did not included: "T/ie required fee of$110.00 or Fee Wainer Regcrest Form

       (Fof•t~t EOIR-26-A) was not i`rcluded". (Exhibit-4). Plaintiff was able to

        find the Form for the Fee Waiver with an other immig►•ant, then sending

         again his Notice of Appeal to the BIA, unfortunately the BIA again rejected

         the Notice of Appeal this time arguing that:




         "This ~iotice is to info~~nr you that the appeal received by the Board of
         i»ii~iigration Appeals iii the above-~efer~enced case on 1/10/2020 is being
         rejecter! for the following reasons: The Board does not have t ie ~nrtho~•ity to
         review reasonable feat deter»ii~iations made by an Ii~ri~ri~ration Judge. See 8
         C F.R. Sec. 1208.31 (g)(1). However, you may file a petitio~z for review withi~r
         30 days of the ii~r»iigr~rtion Judge's ~easorzable fear determination with the
         appropriate count of appeals. See section 242 of the Immigratiofi ar~d
         NatiorrnlityAct, 8 U.S.C. Sec. 1252". (Exhibit-5).




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        This justification, supra, is nothing but a fraud, an obstruction of justice

        for the sole purpose of private gain, to wit: Within the Plaintiff's "Notice

        of Appeal"-Form EOIR-26 second page Plaintiff stated the following:




       "Take Notiee" that 1 air not «ppealing the Reasonable Fem° -8 CFR Sec'.
        1208.31 (u)(1) or the Credible Fe~i~•- BCFR Sec. 1208.30 (a)(2)(iv)(A), bict u
        >>iolatioii to my constitutio~:al right- Sixth Ai~reiidmefrt that took place wit{iin
        the iiiter~view-c~epositio~i with the gover~iinieiit. Witlii» ~~ry briefI will present
        the supporting material facts for the sicbstantiatioyz of such constitutional
        violation ". (Exhibit-6).




        So the rejection of Plaintiff's Notice of Appeal was due to the fact that the

        BIA does not have the authority to review reasonable fear determinations

        made by an Immigration Judge, but Plaintiff did not appealed such fact

        but a violation to his constitutional rights ... Sixth Amendment, of course,

        in spite of such fact did not matter the BIA have to protect the private gain

        after all they are ignorant Immigrants that whatever they do no body cares.

        Of course, none of these "Notifications" were signed by the BIA Clerks or

        anybody else, see the Exhibits 3, 4, and 5, supra. Also within the BIA's

         notice of the rejection of Plaintiff's appeal you can find an other form of

        torture due to the fact that the Clerk states the following:




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       "We have returned your appeal and al! attachments to yoir fog timely
        correction of the defects. THIS DOES NOT EXTEND THE ORIGINAL
       STRICT 30-DAY TIME LIMIT H~itl~iiz H~hic~r you must file your appeal':
      (Erli~bit-4).




        The problem is that takes over ten days for the correspondence to be
        delivered to you ... and there is nothing you can do, is totally out of your
        hands ... so just an other form to deport you for your fiailure to comply.

        This Behavior in nothing but torture,"cruel and unusual punishment" for

        the sole purpose of private gain that is taken place in those private

        detention centers where tens of thousands of immigrants are suffering the

        same consequences.            This is the situation that Immigrants face due

        to the fact that they have no legal counsel, and the corrupted behavior of

        the go~~ernment"s officials    ...   the government, of course, wash their

        hands by offering a List of Pro Bono Legal Service Providers-(Exhibit-7),

        that, of course, are not for profit organizations that receive money from the

        government to perform such task, which in fact such organizations claim

        not to have money or personnel to        help the needs of the immigrants

        therefore they do what they can       ... ~~~hich is nothing. On tap of this

        catastrophic fact the Immigrants are force to ~~~ork, this is in spite of the




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       fact that the Immigrants are arrested because they are illegal aliens

        therefore they cannot work within the united states, but these private

        Institution where Immigrants are placed they have to work for "01~1E

        DOLLAR" per day-(Exhibit-8), this action, of course, is slavery ... this

        was what Plaintiff suffered for 8 months in such detention center of

        Adelanto California managed by GEO Secure Service. ... Before Plaintiff

        continue with his complaint he will prove based on the constitution and

        congressional law that after Immigrants are placed in those detention

        centers are enslaved, regardless if they consent, to wit:




        Under the U.S. Constitution Amendment XIII Section One:

       "Neither slavery rtor involuntary sei~i~itiide, except as r~ punishmentfor crime
        whereoft~~e per~ty shall have Geen duly convicted, shall exist within the United
        St~rtes, or any place subject to Nieirjurisdictini~ ".




        If an Immigrant has been detained and placed behind bars not for a crime
        committed but for administrative civil procedure for being an illegal alien,
        but forced the illegal alien to work for ONE DOLLAR PER DAY ... as
        part of the government, or private corporation ~~~ill, does this action
        represent an act of slavery?




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        According to the Constitution Amendment XIII ... it is a fact. "Neither
        slavery nor involuntary servitude except as punishment for a crime
                                                        Neither the
        whereof the party shall have been duly convicted". ...
        illegal alien have been sentenced to work, nor have been
        d uly convicted,in fact is placed behind bars due to the fact
        that it is not allowed to work within the United States.



        Also under Title 42 USCA Sec. 1994 states:

       "Any statute, resolution, regulation, ordinance, or use ofnny territory or State
        designed or operating to establish, maintain, or enforce, directly or indirectly,
        the volicntary or involuntary, service or labor of any persons as peons, in
        liglcidation ofany debt or obligation, or otherwise, shall be null and void".




        So there is no other way to view this illegal alien work

        performance other then SLAVERY. ... The worst part

        about it is that the illegal alien is enslaved by a private

        corporation under the consent of the U.S. Government.




        Now returning to the Board of Immigration Appeals (BIA): After the BIA

        returned, for the second time, Plaintiffls Notice of Appeal, Plaintiff sent



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    on January 21,2020 a "Notice", named as: "Opportunity to Correct Legal

    Wrong Under Official Proceedings From Under Oath Officers: 5 USC Sec.

    702; 18 USC Sec. 1515; 5 USC Sec. 3331—"Others".         ...   Where

    Plaintiff denounced such corrupted behavior, but the

    public servants did not care, regardless of the facts on the

    complaint they sent back the "Legal Documents Under

    Official Proceedings-18 USC Sec. 1515"- back without

    making a single statement           ...    just sent back, for the

    third time, to wit:
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               William Pelham Barr                                           Attorney General
               U.S. Department cif Justice
               950 penn~yl~•ania A.•e.. NV1'
               Washington. D.C. ?0530-0001




               DOJ - U.S. Department of Justice                Office of Immigration I.iti~ation
               Civil Division Office of Immigration litigation
               P.O. Box 878. Ben Franklin Station
               Washington, DC 2()044




               Department of Homeland Secunty                       Office of the Chief Counsel
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                 NOTICE OF APPEAL

        FORMS AND EXHIBITS SENT

        THREE TIMES TO THE BOARD

        OF        IMMIGRATION                            APPEALS

        AND THREE TIMES REJECTED

        BY THEM IN VIOLATION OF

        TITLE 18 USC Sec. 1515, AND

        OTHERS.




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        Carlos Landeros pursuant to his constitutional standing

        and Title 28 USC Sec. 535(b)-Formal Notice, move three

        times   before the Board            of Immigration          Appeals

        respectfully requesting the review of the "Legal Material

        Facts" and pursuant to such "Legal Material Facts"

        allowed him to proceed with his requested administrative

        appeal, appeal that was three times rejected not for any

        valid reason other than a clear abuse of discretion in

        violation of their "Oath for performance-Title 5 USC Sec.

        3331; therefore causing "Injuries" defined as "Legal

        Wrong"- Title 5 USC Sec. 702; a clear "Obstruction of

        Justice" on the "Official Proceedings"-Title 18 USC Sec.

        1515—Fraud upon "Official Proceedings" ... Causing

        irreparable injuries to vulnerable minorities for the sole

        purpose of "Private Gain" ... vulnerable minorities that

        are placed under slavery by a private "Corporations"-


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   GEO Group Inc; Aka GEO Secure Service, et al;

   CoreCivic, et al; "Under Consent" of the United States

   Government,supra ...              where Plaintiff was and still is

    under such criminal conduct. The "Material Facts" are

    clear upon the "Record", supra, infra, therefore hereby

   Plaintiff respectfully request for "Justice" ... so the facts

    can be properly evaluated therefore confirm with the

    complaining       violations      to    the    integrity     of    the

    administration of the United States causing therefore

    irreparable injuries to vulnerable people in search of

    dignity ... compassion ... well being, to wit:
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                              Immigration Judge's decision must be written in item ~l. The names and
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                   3.   1 am        ~ DF..TAI'~iFD                            ❑ VOT DETAINED (.4fark orrh~ o~re~ hvr.1                                          `


                   4.   ~fy lass hearing ~~•as at _L.~1~1L11I+X1~(2 jQ~_~Qtle~_~•p3:.lGu~J!- ~Lrnmr~m. Cim. Srurei
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                   c,   R'6at decision are ~~ou appealing:'

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                           deponation. exclusion, asylum, etc.) dated .~1~Ll~ll M~,cf 7"~. ,1t? f Q

                         ❑ I am tiling an appeal from the Immigration )ud~r's decision rn hur~d l~mcr~•dings dated
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                           prop uiuti bcl~re the Immigration Coun:' ❑ 1'e          ❑ Vu.)

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                                                                              refer to the General Instructions at item F for fur-
              ra        State in detail the reasonlsl for this appeal. Please
                        ther guidance. 1ou are not limited to the   space prop idrd brloN; usr more sheds of paper if nrcessan.
                        ~~'rite your name(s1  and "4"  numbe   rs) on e~er~ sheet.


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                                 W:ARKL~G:1'ou must clearly explain the specific facts
                                              ation Judge's decisio n. The Board may  summa    rily dismiss your appeal if it cannot teti
                                 the lrtunigr
                                                                            nts anached to this tivtice of Appeal, w•hy ~~ou are appealing.
                            ~    fran this \once of Appeal. or any stateme

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               7.        Uo you desire oral argumcm before the Board of hnm~gra
                                                                                   n after 61ing thi; \once ofAppeal:'                ~ t'ec ~ \o
                         Du you intend to file a separau ~~~itten brief or xwamer

                                                                                                         in }aur statement above why yuu
                                 ~1'ARN11~C: If you mark "1'es" m item ~i. you should alsv include
                                                                          three-m   ember  panel. The Board ordinarily will not gaat a
                                 believe your case warrants re~~cw b~ a
                            •    request for oral argume nt unless you also  file a brief.

                                                                                                         brief or statement after you
                                  f f you mark "Yes" in item tt8, you will be expected ro file a w~rinen
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                    COTE: You must notify the Board within five (S) working days if you mo~~e to a new' address or change your
                    telephone number. Y'ou must use the Change of Address FomiBoard of Immigration Appeals (Form EOIR-33'B1A).

                    DOTE: If an attorney or representative signs this appeal for you, he or she must file ti+irli rhrs appeal, a
                    Notice of Entry of Appearance as Attorney or Representalivc Before the Board oC Immigration Appcais
                    (Form E()iR-27).

              12.                                          PROOF OH' SER~7CE (You llfust Complete This)

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                      VOTE: liyou art the Resporxknt or Applicant, the "(~xxing Party" is the Assistant Chief Co~uuel of DHS - iCE.


                      1~'AR\11C: If ~~uu du nvt complete this section properlp, your appeal will be rejected or dismissed.


                     ~~:~R:\11G: If tau do not attach the fee or a completed Fce «'ai~er Reyutst (Form EOIR-26A) to this appeal,
                     } our appeal may be rejected or dismissed.

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                      Read all of the General Listrucua~s                                  ~ $cn rd a copy of this fom~ and all atta:hmcnts
                    ❑ Prop ided all of the reqursied intumiatiun                             un the opposing pang
                    ~ Completed thi. fnmi in English                                       ~ Completed and signed the Prcwf of"Sen ice
                    O Prodded a cenifitd [nglish transtauon                                Q Anachcd the reyuirecl fig or Fee ~1'ai~er R~~~ue~t
                      for all nun-English attachments                                      ❑ If represented b~ attorney or re~~resentau~e. attach
                    8 Signed the fume                                                        a cumpleteci and si~*nrd EO(R-27
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              l S.[~epartment o(lustke
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                                                                                                      file this Jorm. Thuform is to be signed by
                                                                                                      the alien, not the alirn's attorney or repre-
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              Alten Number("A" Number)
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              l , ~„~~ c'/D `,p~jr    2     ~~j~ I~~ ~           11LD ,declaze under penalty of penury, pursuant to 28 US.C. section
               1 746, that 1 am the person above and that I am unable to pay [he fee. t believe that my appeaUmpuon is v~i,an t i~tclare
              that the following information is true and correct to the best of my knowledge:                  --       ~'



              Assets                                                                      Ea~prnses (including dependent)
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       EXHIBIT-A

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         EXHIBIT-B



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   Case 5:24-cv-00688-PSG-DTB Document 1 Filed 04/02/24 Page 38 of 205 Page ID #:38




        EXHIBIT-C

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              /LANDEROS LOPEZ, CARLOS ANTONIO                       DHSIICE -Office of Chief Counsel
                                                                    10400 Rancho Road          ,_    a                 ~ ~~.
               A034-266-469
               DHS CUSTODIAL OFFICER                                Adolanto. CA 92301
                                                                                                     ~
               10400 RANCHO RO
               ADELANTO, CA 92301

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                                                                                                      c. ~       ~
                                                                                                      r.
                                                                                  A 031.266-469       ~          ~'
               Name: LANDEROS LOPEZ, CARLOS ANTONIO                                                    7~'c.;.    J
                                                                                                                 CII


               Type of Proceeding: Reasonable Fear Case                           Date of this notice: 12/18/2019


               T ype of Appeal:                                                   Filed By:


                                                      REJECTION OF APPEAL
                                                                                    of Imm~gret~on Appeals !n the
               Trns notice ~s ro ~Mo~m you that the appeal received by the Board
               above-referenced case on 12/9 2019           Is bung rejected for the foltowing reasons)

                                                                                                     not ~nciuded
               o       The requireC tee of 5~ 10.00 or Fee Waver Request form (Form EOIR-26-A} was



               PLEASE NOTE
                                                                            REJECTION NOTICE to your
               If you correct and resubmit this appear YOU MUST ATTACH THIS
               submission
                                                                             Umely correction o~ the defects)s THIS
               We have returned your appeal and all ariac~ments to you for
                                                                                     within which you must file your
               DOES NOT EXTEND THE ORIGINAL STRICT 30-DAY TIME LIMIT
                                                                                   ~n automatic stay of deportation
               a ppeal Where a stay attaches to the filing of an appeal, there ~s
               beyond the 30-0ay Lmd unless an appeal ~s property filed at the Board
                                                                                                      w~th~n the
               Your appeal must be RECEIVED at the Clerk's ONice at the Board of Imm~grahon Appeals            will
               prescnbed time I~mits It ~s NOT sufficient simply to mail the appeal and assume your appeal of
                                                                                              the timely fif;ng
               amve on tme We strongly urge the use of an ovem~ght cour~e~ service to ensure
               you appear
                                                                                       filed within 15 tlays of this
               Any correctetl appeal resubmitted after the 30-day time I~mit should be                           w~~!
               nonce and should include a request that the Board accept the appeal by cert~ficat~or. The Board
                                                                        of d~scretron
               consider whether to certify each request ~~ the exercise

               FILING INSTRUCTION$

               Use of an ever-n~ant co ner service .s stronary encou~aoep to ensue t~me~v hi~na




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        EXHIBIT-D

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              LANDEROS LOPEZ, CARLOS ANTONIO                   OHSIICE -Office of Chiei Counsel
              A 034-266-469                                    10400 Rancho Road
              DHS CUSTODIAL OFFICER                            Adelanto, CA 92301
              10400 RANCHO RD
              ADELANTO, CA 92301



              Name: LANDEROS LOPEZ. CARLOS ANTONIO                             A 034-266-469



              Date of this notice: 1l16I2020



                                                 REJECTION OF APPEAL

              This nonce ~s to inform you that the appeal received by the Board of Imm~grat~on Appeals ~n the
              above-referenced case on 1/10!2020          is Deng re}ected for the toliowing reason


              o Case Aapeal in IJ RFR determination
              The Board does not have the authority to review reasonable fear determ~nat~ons made by an
              Imm~gratron Judge. See 8 C F R    1208 31(g)(1) However you may file a pebUon for review wdhin
              30 days of the Imm~grat~on Judge's reasonable fear determ~nat~on with the appropriate count of
              appeals See section 242 of the ImmigraUo~ and Nat~ona~ity Act. 8 U S C § 1252


              cc
                                                                  Userteam




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              It you have any ques~~ons about hover to file something at the Board, you should review the Board's
              Practice Mawal at wv+w iust~ce gowe~r

              Procf of serr~Ce on the opoos~ng partkat the addre55 a0oye ~s required fpr ALL su m~ssion~~Q the
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              Board of Immiarabor, Appeals •• including correspondence. forms.
              documents Ii you    are the Respondent  or Applicant. the "Opposing Party'  ~s the D~stnct Counsel for
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              the DHS Or the Director of HHS/ORR ai the address shown above Your certificate
                                                                                                   and address antl
              dearly ~dent~fy the document sent to the opposing party, the opposing party's name
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              ine date it was sent to them Anv subm~ss~on fired wrth the Board wRhout a certificate o! service
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              FILING ADDRESS:

                     Board of Imm~grat~on Appeals
                     Clerk's Office
                     5107 Leesburg Pike, Suite 2000
                     Faus Ghurch VA 22041

                     Busine55 hours- Monday through Friday. 8 00 a m to 4.30 p m

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              The fact is that the BIA did not accepted Plaintiff's "Notice of Appeal"

        therefore Plaintiff did not had other alternative but to Petition the United

        States Court of Appeals for the Ninth Circuit- -Case No. 19-72855. In spite

        of the fact that the go~~ernment on Januar~~ 07,2020, presented to the Court

        of Appeals its "Opposition to Petitioner"s Motion to Stay Removal", the

        Court of Appeals on February 28, 2020, issued an Order granting the

        Motion to proceed in Forma Pauperis;               denying the Motion for

        appointment of counsel; and granting the Motion for stay of removal.

        Petitioner after that fact issued an Emergency' Motion due to the COVID-

        19 dilemma-(Exhibit-9), the Court granted his Petition on the 3rd day of

        J une 2020, the government released Plaintiff under supervision ~~~ith an

        ankle monitor.


        The fact is that the government in its "Opposition to Petitioner"s

        Motion to Stay Removal" recorded its malicious conduct

       "Obstructing Justice" by ignoring "Justice" and manipulating

        the immigration administrative procedures for the sole purpose

        of injuring Plaintiff. The government, regardless of Petitioner"s

        objections regarding the "obstruction of Justice"                    ignored

        Petitioner"s claims, to wit:



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                                         FOR THE \I\TIi CIRC~'I"C


                                             C'ARI_OS LAtiDERUS,
                                           A03~i-266-~b9,(DET,-1T\ED},

                                                      Petitioner,



                                               ~~'tLi.1.4~t P. BARR.
                                                 Attorney' General,

                                                     Respondent.


                            R FSPO\DI:tiT'S OPP()SIT10\ TO PFTITIO\F.R'S
                                     ti10T10\ TO STAI' RE~10`'AL


                     On November 12,?019, Carlos Landeros filed a petition for re~~ie« ~~nd a

              motion to stay rema~•al. Respondent opposes the sta}~ request because Lander~s's

              motion is perfunctor}~ and, thus, does not satisfy the legal prerequisites for a stay of

              remoti~al under either ~~'ke►r tip. Holder, X56 U.S. 418 ('_009). or Lcjiva-P~•~•~~~ r.

              Holder, 6-i0 F.3d 96' (9th Cir. ?O l 1 } (per curiam).

                     Landeros seeks re~~ie~ti~ of an immigration judge's \o~ember 7. ~~19 final

              order concurring ~~~ith the Depa~Kment off-iomeland Security negati~~e reasonable

              fear determination. Certified Administrative Record at 1. The Court may stay an




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              alien's remo~ al pending revie«~ of a tinal order of remo~ al. 8 U.S.C.

                i 252{b)(31(B}. But a stay of remo~ al is an "intrusion into the ordinal' ~rocesse~

              of administration and judicial re~~ie~~." .ti'kerr, SSfi U.S. at -l?7 (citation umilted).

              And it "is an extraordinar}~ remed~~ that should not be granted in the ordin~~n case,

              m uch less a~+arded as a matter of right." Ict. at ~i37 (citations omitted)(Kcnned~,

              J., concurrinel. Whether to grant a stay pending revie~i~ is "an exercise ofjudicial

              discretion, and the propriety of its issue is dependent upon the eircumstanc~s ot'the

              particular case." /d. at 433 (internal quotations omitted). 'Che alien "bLar tlic

              burden of sho~+~ing that the circumstances justih~ an exercise of that discretion."

              Icy. at 433-34.

                     In adjudicating a motion to star an alien's re~7~o~~al. this Caurt must ~t~ake an

              "indi~~idualized judgment" re5ardine: f 1) ~+~hether the ap}~'icant "has made a sarong

              shop+ink that he is likel~~ to succred on the merits;"(~) ~+hither the applicant ~~•ill

              be "irreparably injured absent a stay":(31 "~~hether issuance of the stay «ill

              substantially injure other parties interested in the proceeding"; and (4)"«hire the

              public interest lies." !d. at a3~. These factors are independent elernenis, ~~ch of

              which the alien must satish~ to meet his burden of proof in establishing that a stay

              of removal is ~~~arranted. :1~'ken, 556 ll.S. 434-35.

                     ~'~'ith retard to the first factor, the .~'kef~ Court declared that "[i]t is not

              enough that the chance of success ... he better than negligible" or that thr alien




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               have a "mere possibility" of obtaining the relief sought. .~'ke~~, 556 l,~.S. at 434

               (internal quotations omitted).

                      Here, Landeros's motion for a stay does not make a strong sho« in€ of a

                likelihood of success on the merits. See ge~:erallt• Pet'r Stay Mot. Ind.ed, the

               motion is perfuncto►-~~ and does not argue the merits of his claims or sho~~~ u~h~~ the

               immigration judge erred in concurring ~~~ith DHS's negative reasonable fear

               determination. Id. As such, I.anderos has failed to sha~ti~ how he can succeed on

               this petition for re~~iew. See l~'kei~, »6 L.S. at 434; see also Leiva-Pere., 630 F.3d

               at 970.

                       Additionall~~, "[t]here is always a public interest in prompt execution of

               remo~•al orders . . . ." ;Vken, 556 L.S. at 436. Indeed, "[t]he continued presence of

               an alien (awfuil~~ deemed removable undermines the streamlined remo~~al

               proceedings [the Illegal Immigration Reform and Immigrant Responsibilit~~ Act o

                1996] established, and 'perniit(s] and prolongs] a continuing ~~iolation of C;nited

               States laic."' .~~k~n, i~b L'.5. at 336 (quoting Reno ~~, Am-drab Anti-

               Drscr•rmrnalin~t Ca~ru».. 5'_5 ~'.S. X71, X90 (1999)); see also Sen. Jud. (,ommitcee

               Rep. Vo. 101-?49 at 7. 1996 ~VL 180026 ("If the [.1nited States is to ha~~c an

               immigration police that is both fair and eftecti~•e, the la„~ and the commitment of

                those ~~~ith the duty to apph~ it and enforce it must be clear. . . . Alien, ~~ha ~ iolate

               L.S. immigration la~►~ should be remo~~ed . . . as soon as possible."1. ~toreu~~er, in


                                                             3




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              Leiva-Pere. the Court stated that the government is obligated to brine

              circumstances concerning the public interest to the attention of the Cot~rt. .Se~~ 640

              F.3d at 970. Here, the public interest warrants den~~ing Landeros's stagy request

              because he remains detained at taxpayer expense. Given Landeros's failure to

              satisfy his burden of proving that he merits a discretionary stay, the Coun should

              deny his stay motion. See:~'ken, ~~6 ~-.S. at 434 (alien must make "a strong

              shoving" of the likelihood of success on the merits of the petition for re~~ie~~; "The

              first t~vo factors of the traditional standard are the most critical"). Accurdingl},the

              Court should den~~ the request for a staff of remo~ al.

                                                 COVCLUSIO`'

                    For the foregoing reasons, the Court should den~~ the motion for a staff• of

              removal.

                                                      Respectfully submitted,


              JOSEPH H. E{l.l~T                      .s' Timothy Bo Stanton
              Assistant Attorney General             'C[~10THY BO S~fA\TON
              Ci~•il Di~•ision                        Trial Attorney
                                                      Office of Immigration [_itigation
              MATTHEI~' B. GEORGE                     Civil Di~~ision. l .S, Department oi'Justice
              Senior Litigation Counsel               P.O. Box 878, Sen Franklin Station
              Office of Immigration Litigation        Washington, U.C. ?004a
                                                     (202)305-70?5
                                                      Timothy.Stantoncusdoj.go~~

              Dated: Janua~ 7, _'020                  Attorne~•s for Respondent



                                                        .,,




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                           CERTIF'ICATF. OF SFR~'ICE AtiD C01~ipLIAnCL

                    1 hereby certit~~ that, nn Januan, 7, 2020, 1 caused the forgoing to be

              electronically filed ~{ith the Clerk of the Court for the l:nhed States Caure of

              Appeals for the `inch Circuit b}' using tl~e appellate C4t'E:CF s~•st~m. Petitioner is

              not a registered CNt~ECF user and ~~ill instead be ser~~ed by United States mail at

              the follo~~ ing address:


                                         Carlos Landeros t[n Pro-Se)
                                         A{~3~-~66-469
                                         rldelanto Detemion Facilit~~
                                          10?50 Rancho Road
                                         :'~d~lanto. C:4 92301

                     I also certifi~ that this motion complies ~+ith the ~~0(~-word type-~~olume

              limitation.: according to the ~+~ord-processing system used to prepare tr~is

              document, it contains 7~4 words. See led. R. App. P. ?7(dK2)(A)& 32(g).


                                                     si Timoth~~ Bo Stanton
                                                     TI~IOTH~' BO S~tANTO\
                                                     Tria] ,~ttornev
                                                     Office of Immigration Litigation
                                                     Civil Di~~ision, l;.S. Department of Justice
                                                     P.O, EiQx $7~, f3~n Franklin Station
                                                      ~~'ashington, D.C.'004
                                                     (20_') 305-70?5
                                                      Timoth}•.Stanton ~i'iisd~j.go~~

              Dated: Januan~ 7, ?0?0                  Attorne~~ for Respondent




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         In spite of the fact that the public servants of the

        Executive Branch of government of the United States

        under "Oath" —Title 5 USC Sec. 3331 swear to protect

        and defend the Constitution of the United States                  ...

        intentionally- maliciously ignored Plaintiff's violation to

        his Six Amendment right, in fact nowhere in the

        government"s "Opposition Motion" made any statements

        in    reference to     Plaintiff"s    violation     to    his   Sixth

        Amendment right         ...    totally ignored      ...    how any

        applicant for Asylum stands a chance? The whole process

        is just a show ... a fraud. Plaintiff on January 20, 2020

        Replay to the Government's Opposition to his Motion to

        stay Removal,        proving in fact that the government

       "Opposition" was based in "Fraud" , intentionally and

         maliciously "Obstructing Justice" to wit;




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        The facts are clear upon the record, there is no integrity in the
    way the government manage the immigration's administrative
    procedures, as Plaintiff aftirmed ... the U.S. Government enter
    into an International agreement where agreed to respect the
    Human Rights therefore immigrants in search of protection has
    a constitutional right to request for "Asylum" under "Article I11
    — of the United Nations Convention Against Torture                  ...

    therefore the "Reasonable Fear Interview" is in direct cont7ict
    with such "Treaty" ... causing pain and suffering to vulnerable
    people in search of compassion      ... therefore the "Application
    for Asylum and for Withholding of Removal- Form-I- 589",shall
    be given to the "Applicant"         so   he/she can without being
    interrogated describe the danger situation, and after the fact,
    reviewed by the "Immigration Administrative Judge", if denied
    then given the "Administrative Appeal" as the "Due Process

    Rights require.    ... To the contrary just cancel the Treaty

    end of the matter.         ...   But unfortunately to many private

    corporation are making billions of dollars from the suffering of
    immigrants in search of well being.



    Plaintiff will now present his "Opening Brie' sent on February
    13, 2020 to the United States Court of Appeals for the Ninth
    Circuit, to wit:
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               Mr.~Lca.~~,~~ec,


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        As Plaintiff stated, supra, the administrative "Due

       Process" given to Immigrants is nothing but a show, a

       fraud for the sole purpose of private gain. In a Country

        that preaches democracy around the World and behind its

        bars practicing slavery something is very wrong. The

        following "Legal Instrument" issued by the government

        in response to Plaintiff's "Opening Brie' will give us a

        clear    understanding         on     how       corrupted       this

       "Administrative Immigration System is" ... according to

        these public servants of the Executive Branch of the

        federal government immigrants do not have constitutional

        rights in the U.S. Country therefore is up to their

        discretion to allowed an immigrant to stay in this Country,

        the prove of such fact, to wit:




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                                   No. 19-7285
                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT


                                  CARLOS ANTONIO LAhDEROS,

                                    Petitioner(1YOT DETAINED),

                                                   v.


                                         WILLIAM P. BARR,
                                    United States Attorney General,

                                              Respondent.


                            PET1TtUN FOR REVIEW OF Ah' ORDER OF
                          THE DEPARTMENT OF HOMELAND SECURITY

                                      (Agency No.034-266-469)


                                      BR[EF FOR RESPONDEtiT


              ETHAN P. DAVIS                            TIMOTHY BO STANTON
              Acting Assistant Attorney General         Trial Attorney
              Civil Di~~ision                           Office of Immigration Litigation
                                                         P.O. Box 878. Ben Franklin Station
              MATTHEW B. GEORGE                          Washington, D.C. 2004
              Senior Litigation Counsel                 (202)305-7025
              Office of Immigration Litigation

               Attorne}•s for Respondent




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                                               No. 19-72855


                          IN THE UNITED STATES COURT 4F APPEALS
                                   FOR THE NINTH CIRCUIT


                                   CARLOS ANTONIO LANDERQS,

                                                 Petitioner,

                                                      v.

                                          WILLIAM P. BARR,
                                     United States Attorney General,

                                                Respondent.


                                       BRIEF FOR RESPONDENT
                                        (Agency No.034-266-469)


                                    STATEMENT OF JlJRISDICTION
                                                                                         for
                    Carlos Antonio Landeros, a native and citizen of Mexico, petitions
                                                                                 ring    in the
              review of the immigration judge's November 7, 2019 decision concur
                                                                                  ination.
              Department of Homeland Security's("DHS'') reasonable fear determ
                                                                                  had jurisdiction
              Certified Administrative Record ('AR") 1. The immigration judge
                                                                            ~       1(g). The
              to review D~-IS's reasonable fear determination under 8 C.F.R. 1208.3
                                                                              ed by 8 U.S.C.
              Court's jurisdiction to review final orders of removal is govern

               § ~ ~5~•




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                    LanderoS filed a timely petition for revie~~• nn No~~ember 1?, 2019. which

              vas H~ithin 30 da}'s of the immigration judee's ;~'o~ember 7, 2019 order concurring

              with DHS's finding that Landeros did not present a reasonable fear of persecution
                                                                                                  this
              or torture in Mexico. AR l: see $ [~.S.C. ti 1?5?(b}(1). Venue properly lies in
                                                                                                ia.
              Court as the immigration judge completed proceedings in Adelanto, Californ

              8 IJ.S.C. ~ 1252(b)(2): AR 1.

                                       STATEMENT OF THE ISSUF.

                     Whether Landeros ti~aived am• challenee to the DHS's reinstatement of his
                                                                                           lum
              prior order of removal and the immieration judge's concurrence in the asp

              otTicer's no reasonable fear finding?

                         STATEMENT C)F THF. C.asE :~~u KELEVANT FACTS
                                                                                                  ,an
                     Landzros is a native and citizen of vtexico. AR 42. In November 200
                                                                              34. In March'_01 1,
               immigration judge ordered I.anderos removed to Mexico. AK
                                                                                201 ~3, Landers
               the DHS removed Landeros to Llexico. AR 9-10, 31, 37,44. In

               illegall}~ entered the United States. AK 37.

                      On Ocrober I'_. ?O19, the DHS reinstated Lander~s's November 200?
                                                                                        prior
               removal order because he illegall` reentered the United States after a
                                                                                    of returning to
               remo~~al. AR 31. The same da~~, because [.anderos expressed a fear
                                                                                            ~ti'hen the
               titexico, the DHS conducted a reasonable fear inter ie~~~. AR 37, 38-55.
                                                                                                to have
               interview started, the Asylum Officer("AO")asked Landeros if he «~ished




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              his intervie~~~ postponed to find an attorney. AR ~1. Landeros declined. saying he

              "~~~ould like to do the interview today ~~~ithout an attorne}'." AR 41. Shortly after

              the inter ie~~~ began, Landeros requested a "health break," after which the AO

              asked Landeros if he felt "comfortable proceeding with the intervie~~~." to ~ti~hich he

              replied "yes 1 am just a little cold." AR 42. The AO again asked Landeros if he

               ~~~as willing to answer questions. !d. Landeros said `'yes." !d. The AO next asked

               Landeros ho~a• he felt and ho~v he vas being treated in the detention faciliq-. Id.

               tle replied "fine" to both questions. !d. The AO also asked Landeros if he had

              "any medical or health conditions," and he said "no." Id. The AO then continued

               the intervie~~~. Irk.

                      During the middle of the interview, Landeros told the AO that he was

              "beginning to feel uncomfortable[;] I ~~~ill need a la~~yer." AR 46. The AD
                                                                                             an AO
               informed Landeros that he signed an attorney waiver form, that his role as
                                                                                             to
               ~~~as "to ensure that [LanderosJ fe(It] comfortable," and that he was going
                                                                                               telling
               "contact [hiss Supervisor." !d. Landeros replied. "(I]et's just do this. I am
                                                                                        interview only'"
                the truth I just don't ~+ant to incriminate myself." /d. However, the
                                                                                                  had
                continued after the AO's supervisor found that Landeros felt comfortable and

                signed the attorney ~~~aiver form. Id. The AO also again confirmed with Landeros

                that he felt comfortable proceeding ~~•ith the interview. lcJ.




                                                           3




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                     At the conclusion of the interview, the AO asked Landeros whether he

              "unders[toodJ all the questions asked today," whether he "fe(It] comfortable

              proceeding ~~~ith the inter~•ie~•." and Hhether he "fe[It] comfortable speaking ~ti~ith

              [himJ." AR ~I-5?. Landeros replied "yes' to all three questions. AR 51-52.

                     The AU ot~icer concluded that t_anderos did not have a reasonable fear of

              persecution or torture in Mexico. AR 30, 40, ~3-55. The AO referred Landeros's

              case to the immigration court because he requested that an immigration judge

               review the AO's finding. AR 30.

                     On No~•ember 7, 3019, Landeros appeared before an immigration judge,

                                                                                                   of
               indicated that he was proceeding without a lawyer, and then testified in support

               his claim that the AO erred in finding that he does not ha~~e a reasonable fear of

               persecution ar torture in Mexico. AR ~-'3. The immigration judge first

                                                                                       interview. AR
               questioned Landeros regarding the conditions of his reasonable fear

                                                                                               a
               5-8. Landeros indicated that he was sick at that time with something "like

                                                                                               but he
               stomach flu and (he) got headaches from the noise inside the dormitories."

               had taken medicine "like aspirin or ibuprofen," and his interview was interrupted

               nice "by [him] goinb to thz bathroom." r\R 7. Landeros also claimed that he

                                                                                       But.
               "didn't understand some of the questions [the AO]~+'as asking." AR 7-8.

                                                                                              of
                ~+hen asked to specif~~ ~~~hich ones, as the immieration judge had the list

                questions in hand, L.anderos could not remember. AR 8. The immigration judge




        The only reason for the Bill of Rights was for the protection of the "Peoples Rights" ,
        the government has a "Legal Duty" to have a counsel representing the person without
        asking the person for his consent ... otherwise is an act of usurpation, a clear violation
        to constitutional parameters. ... "Discretion is an Act of usurpation". "Will is an
        Act of Usurpation". ... "Public servants have no power no will". They must perform
        within the parameters of the Constitution otherwise their action are meaningless, of no
        legal validity whatsoever,such it is the fact in this case on hand.




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              then questioned Landeros regarding his immigration hisrory and fear of returning

              to ~1exico. AR 8-_'i.

                    At the conclusion of the merits hearing, the immigration judge upheld the

              AO's negative reasonable fear tinding..~R 1. 23-?~l. Landeros fled a timeh

              petition for review with this Court.

                                      SU\1~1ARY OF THE ARGl1A1l:NT

                    l~o~~here in his opening brief does Landeros challen6e the reinstatement of

              his ?00_' removal order or the immigration judge's concurrence in the AO's no

              reasonable fzar finding. He. therefore, waives this issue.

                     Instead. Landeros claims that the AO coerced him into completing his
                                                                                               a
              reasonable fear intenie~~ even though indicated part t+a~ through that he wanted

              la~~~rr. The record shows that:(I)Landeros wanted to proceed ~~ithout a la~~yer,

          ~'(~~ the AO stopped the inten~ie~~~ and only resumed once he and his supervising
                                                                                          and was
              officer confirmed kith Landeros that he signed an attorney ~~~ai~~er form
                                                                                           the end
              comfortable proceeding ~~ ith the inters ie~e: and (3) Landeros indicated at

               of the inten~ie~~ that he understood all the questions asked and that he was
                                                                                          Landeros's
               comfortable throughout the interview ~+ith the AO tiho intervie« him.
                                                                                                  and
               other t~~o arguments -that aliens like him have a constitutional right to asylum

               a eo~~ernment appointed attome~~ —are foreclosed b~~ governing la~~.




       "Landeros" other two arguments-that aliens like him have a constitutional right to
       asylum and government attorney -are foreclosed by governing law".... First of all the
       U.S. Government enter into an international contract agreeing to give asylum to those
       in need of it, and according to the U.S. Constitution a "Treaty" is the law of the land
       therefore a constitutional right, including the protection of the Bill of Rights, for those
       immigrants in need of protection ... that "governing law" that the governing is
       claiming ... is an act of usurpation of no legal force whatsoever, null and void.




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                     Because Landeros does not contest the reinstatement of his prior removal

               order or the im►nigration judge's concurrence in the AO's no reasonable fear

               finding, the Court should den}' his petition for revie~~~.

                                                   aRGU`fENT

                   I.    Scope And Standard of Review

                     T he CouR's revie~~ is limited to the reinstated removal order, constitutional

               and legal claims, and the immigration judge's negative reasonable fear

               determination. See .9ndrnde-Gcrr•cict ~•. Lti~~~ch, 828 F.3d $29, 833 (9th Cir. 2016).

               The Court re~~iews de novo jurisdiction, constitutional claims, and questions of

               law. Ga~~cia de Rincon i~. DNS. 539 F.3d 1 133, 1 136-37 (9th Cir. ?U08). The

               Court revie«~s the immigration judge's factual determinations underlying the denial

               of withholding of removal and CAT' protection for substantial evidence. A»drnde-

               Garcia, 82R F.3d at 833. 'the agency's findines of fact are "conclusive unless any

               reasonable adjudicator ~~~ould be compelled to conclude to the contrary." 8 U.S.C.

                  1 2~?(b)(4►(B); ~ind~•ade-Garcia. 8?8 F.3d at 833 ("[WJe must uphold the IJ's

               conclusion that Andrade-Garcia did not establish a reasonable fear of torture

               unless, based on the evidence, any reasonable adjudicator «ould be compelled to

                conclude to the contrary." (quotation marks and citation omitted)); see also l.~'S r.

                Elins-Zacarias, 50? U.S. 478, 4S1 (199?) (under the substantial evidence standard,

                the petition must be denied it~the agenc~~'s determination is "supported by

                                                            G7




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              reasonable, substantial, and probative evidence on the record considered as a

              whole").

                 IL      Landeros ~~'ai~~es Any Challcn~e To The Reinstatement Of Flis Prior
                         Order Of Removal.

                      under Federal Rule of Appella[e Procedure 28(ax8►(A1, an appellant's brief

              must contain "appellant's contentions and the reasons for them, ~~ith citations to

              the authorities and pans of the record on which the appellant relies." The failure to

              "specifically and distincth~ argue(] and raiseO" a claim in a petition for re~~iew•

              results in waiver of that issue. Cnsrro-Pere. r. Gon_ales. 409 F.3d 1069. 107? (9th

              Cir. ?005): see also Singh ~~. Ashcr•oJt, 361 E.3d 115?, 1157 n.3 (9th Cir. X00-3)

              (••Issues not raised in an appellants brief are typically deemed waived.").

                      In his openine brief, Landeros does not challenge the reinstatement of his

              ?00~ remo~~al order under the "three discrete inquiries an immigration officer must

              make in order to reinstate a remo~•al order: (I) whether the petitioner is an alien:

              ( ~► «hether the petitioner ~~as subject to a prior removal order[:) and (3) whether

               the petitioner re-entered illegally." Gnrcra cle Rirlcon. 539 F.3d at 1137; see also

               Galindo- Romero r. Holder, 640 F.3d 873. 877 (9th Cir. 2011). He simply ignores

               this issue all together. See Petitioner's Owning Brief (`'Pet'r Br.") at I-8.




                                                          7



        Landeros did not challenge his prior order of removal due to the fact that it is irrelevant
        because he requested for protection under CAT, and due to the fact that such "Treaty"-
        CAT- is his constitutional right he enforced such right unfortunately the government
        refused to honor such "Treaty" —therefore the constitutional parameters as well.




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              Consequently, Landeros waives an~~ claim that the DNS erred in reinstatine his

              prior removal order.'

                    Landeros likes+ise does nat challenge the merits of the immigration judge's

              concurrence in the AO's tindina that he does not have a reasonable fear of

              persecution or torture. See genera!!►• Pet'r Br.; AR I. ~3-5~. He therefore ~~aived

              any claim that the record compels a finding that he ~~~ill be persecuted or tonured.

                    Instead. Landeros argues that he has a constitutional right to asylum. Pet'r

              Br. at 3-4. Asylum is a protection granted by statue to foreign nationals already in

              the United States or arriving at the border ~vho meet the definition of a "refueee."

              See 8 U.S.C. ` 1158(a). (b)(1)(B)(i); ser also :ti/aldonndo-Pere. ~~. /.45, 865 E.?d

              338. 332 (D.C. Cir. 1989) ("There is no constitutional right to political ash lum

              itself'): Jnr r. Bird. 351 U.S. 345, ~~4 ~. n.16, 357-58 (1956} (discretionan~ relief

              from deportation, such as ash lum. "is not a matter of right under an}'

              circumstances, but rather in all cases a matter of grace-'); Blanco de Belbrwro ti~.

              ,~Ishcrofi, 363 F.3d '_'7?, 280 (3th Cie 2004) (•'Aliens ha~c no independent

              constitutional rights in an as~•lum procedure" (quotation marks omitted)).




               ~ But e~ en if this issue is not ~~aived, the UHS did not err in issuing Landeros's
               reinstatement order, as the record shows that he is an alien, he is the subject of a
               prior expedited order of removal, and he iUeeall~• reentered the counts• ~~~ithout
               inspection da~•s after his removal order vas executed. :1R 9-10, 3l, 37. ~2. ~14.


                                                          R



         When a constitutional system is managed by discretion the result is confusion, proving
         fact is here with the government affirmation: "discretionary relief from deportation,
         such as asylum, 'is not a matter of right under any circumstances, but rather in all cases
         a matter of grace". ... The government does not understand that there is a "Contract"
         a "Treaty Agreement' signed by the government and according to the constitution is
         the law of the land therefore the government"s affirmation is nothing but a presumption
         that has in reality any valid force, therefore of no legal force whatsoever ... null and
         void.




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        ',        Additionally. Landeros does not have a statutory right to asylum because, as
        i
           an alien ~iho is subject ~f a reinstated removal order, he is onl}~ entitled to have his

         `~ case referred to an immigration judge "fur full consideration of the request for         ~

         ~'; withholding of removal onl}'" if the officer decides that the alien has a reasonable

         ~' fear of persecution or torture. 8 C.F.R. ~~ ?08.31(e). 1?08.31(e); see also Pere:-

        ~_Gir_~rtart r. L~~nch, 83~ F.3d 1066, IQ81 (9th Cir. 2016)("Although the availabilit}~

              of asylum is an important component of'our immigration la~~~, it is not

              unreasonable t~ conclude Congress intended to bar this form of relief to persons in

              reinstated removal proceedings while preserving relief for individuals able to meet

              the higher standards for ~~~ithholding of removal and CAT relief'). The Court

       \should therefore reject Landeros's claim to asylum.

                     Landeros also claims he vas unable to present his full claim because the

              asylum officer "coerced" him into continuing his reasonable fear interview even

              thouch he indicated he «anted a la~~yer. Pet'r Br. at Z, 4-5, 8-9. But the record

              does not support I_anderos's assertions. The inter~~ie«~ began only after the AO

              informed Landeros of the right to be represented by an attorney and l,anderos

              stated that he "~~•ould like to do the inten•iew today ~~~ithout an attorne~~." r~R 41;

              see Ztu~iga t•. Barr, 9-16 F.3d X364, X171 (9th Cir. ?019)(right to counsel ~~~aiver

               requires inquin• into ~~~hether alien ~~~ishes to continue without counsel and a

               kno~ti~ing and voluntan• at'tirrnative response). Even though 1_anderos asked for an

                                                          9




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              attorney part ~vay throueh the reasonable fear interview, he rescinded his request

              and said "(I]et's just du this." .4R X16. in spite of his rescission, the AO stopped

              the inten~ie~~~ and only resumed after he and his supervising officer confirmed with

              Landeros that he had signed an attorney ~ti~aiver form and felt comfortable

              proceeding ~t~ith the inter~~iew~. ld.; see Zuniga,946 F.3d at 471. Landeros

              confirmed at the end of the interview that he felt he understood all the questions he

              Has asked and was comfortable with the AO ti~ho asked them. AR 51-~3.

                     The immigration judge questioned Landeros regarding the conditions of the

              intervie~ti•. AR 6-8. Although Landeros claimed that he "didn't understand some

              questions he [the .AOJ was asking," he could not specify which ones. AR 7-8.

              Landeros did not mention to the immigration judge that he thought the AO coerced

               him into completing the reasonable fear intervie~~~, Id.

                     Ultimately, the record reflects that I.anderos ~ti~as comfortable proceeding

               ~ti ith his reasonable fear intervie~~ without an attorney, and there is no indication

               the AO coerced him, caused him duress, or engaged in some improper behavior to

               find that Landeros's statements were im~oluntarily made. See Cueras-Ortegn i~.

              !,~"S, X88 F.2d 1274, 1278 (9th Cir. 1979)("~~here there is nothing in the record

               indicating that the alien's statement ~~as induced by coercion, duress, or improper

               action on the part of the immigration officer, and where the petitioner introduces

               no such e~ idence, the bare assertion that a statement is im~oluntary is




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              insufficient"); Li=hi-Oiu i~. Bnrr, 944 F.3d 837, 840(9th Cir. ?019)(describing

              termination of as~~lum inten~ie~+• when petitioner said she felt w~«~ell and declined

                                                                f App'x 613. 615 (9th Cir. 2019)
              to interview); Her»c~rrde~-Sego~•ia i~. Barr, 763 .

              (finding statements at credible fear interview were voluntarily made because the

              record does not suggest duress or coercion). Landeros failed to allege a cognizable

               procedural due process violation. ll~athc~t•s ti•. Eldridge. 434 U.S. 319, 333(1976)

              ("The fundamental requirement of due process is the opportunity to be heard at a

               meaningful time and in a meaningful manner.")(internal quotation marks omitted).

                      Landeros's final claim —that aliens like him should be provided an attorne}~

               at the government's expense — is equally unavailing. Pet'r Br. 6-8. While

               I.anderos correctly asserts that the right to counsel in immigration proceedings
                                                                                                    to
               arises from the Fifth Amendment, it iswell-established that aliens have no right
                                                                                                   right
               counsel at government expense. See Zimiga. 936 F.3d at 470-71 (recognizing

               to counsel in immigration proceedings stemming from Fifth Amendment due

               process guarantee and pointing nut that counsel is at alien's expense); United
                                                                                             y
               Stares v. Gascn-Kraft. 5?2 F.2d 149. 15? (9th Cir. 1970("courts have uniforml

                held in this circuit and else~~~here that ...[aliens] are not entitled to have counsel

                appointed at government expense"), ~rerrt~led on other grounds b}~ (.%~rited States

                r. :~Iendo=n-Lopc:_. X81 L.S. 828. R3~ n.9(1987)(collecting cases).




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                    In sum. Landeros fails to establish that either the AO or I1 committed a

              procedural error. As a result, Petitioner fails to present a colorable constitutional

              or legal question.

                                                CO\CLUSION

                    Landeros does not contest the reinstatement of his prior removal order or the

              immigration judge's concurrence in the AO's no reasonable fear finding. Thus, the

              Court should den~~ his petition for revieH.

                                                      Respectfully submitted,

                                                      ETNAN P. DAVIS
                                                      Acting Assistant Attorne}~ General
                                                      Ci~~il Division

                                                      ~1ATTHEV4' B. GEORGE
                                                      '
                                                      Senior Litigation Counsel
                                                      Office of Immigration Litigation

                                                       ~s. Timothy Bo Stanton
                                                       TIMOTHY BO STANTON
                                                       Trial Attorney
                                                       Office of Immigration Litigation
                                                       Cis it Di~~ision. U.S. Dept of Justice
                                                       P.O. Box 878. Ben Franklin Station
                                                        Washington, D.C. 20014
                                                       Tel:(202)305-70?~

               Dated: July 31, 2030                    Attorne~~s for Respondent




                                                          12




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                                    STATE~IEtiT OF RELATED CASES

                    Pursuant to Ninth Circuit Rulc ?8-2.6, counsel for the Respondent states that

              he is not a~~are of any cases cur~ently~ pending before this court that raise issues

              that are the same as. or closely related to, those presented in this case.




                                                      :'s/ Timothy Bo Stanton
                                                       TIMOTHY E30 STANTON
                                                       Trial Attorney
                                                       Office of Immigration Litigation
                                                       Civil Division, iJ.S. Dept of Justice
                                                       P.O. Box 87$. Ben Franklin Station
                                                       V4'ashington, D.C. 20044
                                                       Tel:(202)305-7025




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                                     CERTIFICATE OF COM1IPLIANCE

                     Pursuant to Fed. R. r1pp. P. 3?(a)(7)(C). the attached ans~~erin~ brief is in a

              proportionally spaced, 14-point typeface and contains ? 18 lines of'text and ?,46-t

              ~~~ords.


                                                      rs Timothy Bo Stanton
                                                      TIMOTHY BO STANTON
                                                      Trial Attorney
                                                      Office of Immigration Litigation
                                                      Civil Division, U.S. Dept of Justice
                                                      P.O. Box 878. Ben Franklin Station
                                                      ~~'ashington. D.C. 20044
                                                      Tel:(202)305-7025




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                                        CERTIFICATE OF SERVICE

                    1 hereby certiF~~ that on Juh~ 31, ?0?0. I electronically filed the foregoing

              brief ~; ith the Clerk or the Court f'or the United States Coun of.Appeals for the

              Ninth ('ircuit by using the appellate C~1'ECF system. I further certif}~ that 1 have

              mailed the foregoing document b~ First-Class ~1ail, postage prepaid, or have

              dispatched it to a third party commercial carrier for delivery ~~~ithin 3 calendar days

              to the follo~ring non-CM;~`ECF participants:

                    Carlos A. Landcros

                    b~ 1 Desert Vies+~ Dri~~e

                     Palm Springs, CA 92264




                                                      s 't~imoth~• Bo Stanton
                                                      TIMOTHY BO STANTON
                                                      Trial Attome~~
                                                      Of~iice of Immigration Litication
                                                      Civil Division. U.S. Dept of Justice
                                                      P.O. Box 878. Ben Franklin Station
                                                      Vdashington. D,C. 200-14
                                                      Tel:(202)30~-70?~




        The manipulation of the immigration administrative law has been for long

        long time, totally out of control, in tact the evils of misfortune has taken




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        control of the same, for long time private corporation are proffering from

        this premeditated constitutional ~~iolation where the government has

        contracts with pri~~ate corporations for the sole purpose of proffering from

        the suffering of vulnerable people in search of well being ... proving fact

        on hand with Landero's case and many other cases from immigrants. The

        Treaty in question is the Supreme Law of the Land" and this Treaty offers

        relief to vulnerable people that has his life in danger      ... the U.S.

        government signed a "Contact"-Treaty" with other countries agreeing to

        protect those people therefore the Treaty be came the law of the land

        therefore the applicant for asylum has a      constitutional right that, of

        course, includes the protection of the Bill of Rights ... "Due Process of

        Law" is the heart of"Justice" without Due Process of Law is "usurpation"

        and a criminal action against human rights ... injuring vulnerable people

        for the sole purpose of private gain, such it is the situation with the

       "Private"     Detention Centers where thousands and thousands of

        immigrants are the moving product that leave billions and billions of

        dollars to those private corporations. ... No~~~ Plaintiff hereb~~ present

        his "Replay to the Government"s Brief, supra, to wit:




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        All this Material Facts hereby presented are supporting Material facts

        u nder "Official Proceedings" -see Title 18 USC Sec. 1515, therefore the

        supporting    "Legal Instruments" for this on hand "Civil Action

        Complaint" ... that shall be taken into consideration not in part but in

        general ... as a whole ...      due to the fact that describes the form on

        which the government conduct de administration of the immigration due

        process showing the facts that are causing human rights violations inflicted

        to immigrants for the sole purpose of private gain, therefore each of these

        Legal Instruments represent the supporting facts that gave as a clear

        u nderstanding of the existing international wrongful act and human rights

        violations for the purpose of private gain,"Notice is hereby Given."




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          ~h~ r~;ns~u~er~~r~~ off' h,s Pr-~c~ rer~c,rgl orc~Pr ar ~~ i'mm~,~r~G~
          ~v~~~-'S              CianLc•~ rr~i~CG ii7 Y~ic     !~ Q f /~C rc'fJsO~c~~/~ ~~ar ~n~l.'~
                                                                                        i/
          ~h~ ccvr ~ shc~~rl~l cl~ny his ~e ~,~,c~r1 ~,t- r~~~~~~, ~ .

                     T / rS'J    L^,f~    UIl Lc;~n~f'IC5   ~~ j~fl- ~~fi ~iGl7 ~pr I~G'Y+t'u~. ~v 1" ~C~/'

          4' cc;~t- ~ Crc~er ~t run~,r?g him ~hr c~P~ur ~n ~y ~c~ ~i/~ o~ c~:y/~r~
          0~~~~4~~Gr~— ~--.~c~Y— u~~~fhcx:~ bc~in~ r,~~rrrc~4~~~      ~~:~~Iui-c?.
              ~4--   1e ~~rJ ~h~ ~rm ... u~'~~r -~~e fuc~ r~ y,e~.--ed ~'or ~u~-~-
              c~ ~e'rrt~ na~i~c~ ~~ a~ imm~grc~ ~~on rt~m~r~~sf~~r~ve /~t~~ J,~d eic`~
              a~crin tc~,~/~o~.~ ~' ~~rr~ i~~ r rc.~ qty               ,


                     L_.a.~cl~rc5 ~ ~s~ q~~s ~~~..~ c~~ h,s c~F~~..~;.~~c b.le,~                   rvgs
              ~u~hr~hrr ~~sy/u/~^ ~s ~-r ~crn-ff4~~~o~r~l r~~h~ rr faa~r

                     7~c ~e,~~rrR'r~~s Qnsu~er r,:~~.~c~i~cf~-ri's o~~rt ~~~a
          Qr~[.'G•l~"?r'/JfS             ~'~ r   u~~c'~?S /i/~.f' ~J~ ~XiYr c; rc'~n T~~v~iG/a9~      rich ~'

              ~~ `~5y/can uvd c~ ~OYr'tT.i+'Ir~J~ cc~n~cin~~c( n~~~~rn~y- are
              ~cre~l~~se'd try ~c ~vt'rnir~ ~aw'.~~ .- . _ ~ ~U ~,.~ -~/x~~~ `~~~y/v/+-I is
              a Pr~~~~,c~~, ~r~~~e~ by ~~N ~~~e ~u ~~~.~,~,n ~r ~~~r~r/s ~lrc~~~y
              irI ~~r ~~~~~ ~~ S'~~~ cr c~ rri v%i?t~ ci ~ ~h~ hcr~r u•hc ~r~~~
              ~~ ~~,~.~on G.f' a r~~'~~~~c `~~r ~' ~~_:~c ~ 1~5~: C~), C~~Cs-~
              C~~ C %~); ~~~t «/sc~ diald~~nur1~~ ~re z V. ZNS, ~ b_~ ~;
              ~- c~ 3Z ~', ~33L ~1~. C,~ 1 r. / ~'r~ y'~ ~ ~lE'r'e is ~G ~0~3~~,~ ~ci,~gJ
          r~~h~ ~c ~l~~,cU/ ~asylc~n? ;,~s~~1~'); , cry V f3oyc~, 35( V: ~,




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          ~y,S, ~5`~ ~ n. /f~, 3~~-Sf ~IQ.~6~ ~r~~s~crn~~c>r~nry                                    rNl~~~~'
          ~rvm d~.,or f~,~l c,?, svc h ~~5
          '                                                 ~~s~y lvr~, rs /~c~ a /~n~~H'- a ~ r,~ ~ ~

           Urc~~=r t~~y Circ'vl'~''.~7~urf~'~; ~~~' r~~Yh~'r ~~ ~~~ C~iS~s                     G~   tr,~c;f~~r

           C~ ~~ c~~'~{['~ ~lj ~fQ/.>C c~ ~ ~G'~l~ rUnC~                  ,/, ~5'~iC rG ~~7~ ~ ~ G' ~.

          3c~. G'~c'~ ~~D ~~i'~h [;rr. 2C~G-~~ ~ ~~C'/'S ~aY~ i~c~ ~~rc~~~~~~Fm~
          C~r~s~i~v~-rG~~u~ r~h~ in nny asylum ~racc~~~ur~~ t,~✓c~~~~ic'/,~
                                          /
                                          f

           irr~trk s c~rr.~f ~~d },

                  /~r~rrrnm~~~ c~,~~ al/ e~vN r~s~e~~ you c~~ rc~ vr~~JPr~~~~
               ~i`'~it5 We>tt~c~rtc~ Ccans~r~W~ic%t~~ /~'CCf'~1~1.~.slj? ...~eci~e ~~/our //~??C'
           7~U. f'!jf r C ~1~? t/Lxi.r t/i~ c~r~'     7`"/~    C~',f T/~
                                                                       6'TIf✓/J   O~~ ~/% C/!:!~ .~~

           /9YriG~f'       C'~nC     ~~!1: O - `\~~' ~v/'~P~.S~f .5~'9l~ ~'4Y~ ~G~ u~rl ~~

               yr.'Qkt ul/ /v~~ ~vh;c h 5ha~l /.sec essa ry c~n~l ~~~vc-~r ~r cu riyi~
               i~~~> E'I~t'L~L-~/U/) -~~ie ~'o,r~~~,~ ~xLuFra, n~~ c~// c~hFts ~xw~~~
               Yes~d 1~y ,~h~s cc~r~sf~~~,nr~ rig {~~ ~~rFrnm~~ oL         ' - ~1~e C~f~o~
           Sf~l~~~ CI" nI           uny c~~Zf~r~n~" G r CI t ~~Ct~r T~rt'G~',                   _..    ~f5~-i
               U/.'G~r r /~rl~i~~    ~.r~ Of~ Tyr L~~~s ~~v ~iCi~ a fz~7`~'.S': ~ ~~)i.r Ce~n1~ fvlacri~

           arc ~f~r /atu~ o{' ,~/~ (Jn, ~s 5~~es ~h~c~i shc,// h~ m~ofe ,i~
           pc~r~,c~~nc~ ~~Freo~'; pi~~ ~/% ~~ru~~rs ~4~~ or t~.~h,~h s~ig1/ be.`
           rr4tc~, u~dFr ~f~c c~~~~hcr;~y o ~' ~/~e (,~n~ ~~I ~~~v~er, ~hG/l he ~~-
           ~A/E'er          ~4l~,    L'tf ~f,JF ~~7i?G'~.     .. {/~fJtC`! /?1t'Li/~~   ~'~r   ~cY~'r/?I>"'F/)T"

           ~~~i~        ~i~y ~~u~~~~~: of ~~~u~,~s mq~-~ 6y ~~- ~~re~n~r~~                                 ~~r~
           1r'~G~e ~avi~~~or. ~ ~o ~/.~r ~cv~'~ ~i~n.~'cl ~v ~h~ ~['~v~~"n~~~ ~iy
          ~hr~. Cc~~s~~~v~~,.~ :.. ~h~~~'crc~ cr~~.~~rf~ ~~rwr,._ ~hr-r~{'care a~ifli
          {~v/l ~~c ~c'~~on by ~he ~,11 o~' s~~h ~ ,...st~~rrro~e~c's have a
           cans /v ~a~r~ roc hf ~r~ cisyl~~ ar.~ N c,~ev~=~r~mrn~ a~Fa~~r~c~ c~ ~~~*-nt'y.




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              l~/~+u.% yv~ ~ ~Us~' lvr~ ~i~~F c~i~~s -~lu/c~cruc~~ - r~CS F; Z~ ~
         -.~uy-3Sl C~.S.~ ~r~rd ,Glar~c -3~1 r. 3~,'-~~f-a~~~ need
          rr c~~      c'~~ ~~ ~ lr ~rt~+~~ -~c ~~~r r»~ ~G rfe c~ ~~~Prr O~~nrGl~~ Div ~ ~nsc-c~
           C~/~ y0 Ut` lr7 TPrDr~'7c~ flGY? l~Cf~ ~~t~i?r/~ t'~~IFS 7 ~V [ac'~~C Ve t~yf y~"u~
                             /             /
           ~~~!' 4jcv~r~/NrD~ sere cG'rG/~             _   Lls ~~-u urN ~n ~UC~ii~ ~~C




                     eo, C~Sy~um; 1N ~~h/~~c~v~C ~ ~~ ~i c'i»~-yol Cino~ ~i'~ v~rt~icr~ ~ya~ns~
                    ta
                   ..
               r--~u~e     CAT)- a re a c~n.s ~ ~~~~~~w/ r,~y h ~ ~~r re{vc~ ~~~- ache ~~i ~r-
           is Q. t~~~~Pr ~~' ~ruc~, j~r,'~~'/ear; ar r,~l~~ -..a~~e~'~ cal cons~~~.~c,.rrf
           and u.~a y.



                ..~c:~c a1c~ Q vex ~i0~ ,S:11~1h~~~t'r -f ~'l~ ~ 1~uSorYt ~~ ~e~i- ~~1 a~~ r1j
                                                               ,~
           %/J~~'rv,'ey,~ ,s ccns~, 1~v~~~trY~/ Gr 1?c~~~'



                  ,:the     c3c✓~r/~~~/'7~      d~~ i?c~ ~,rt'_sr~trc~ qr~y C~,n1G~          ors    ~11~ s




                                      ~
                                      .
               4s,.
                 • ~~~,C~~~CGJrIG/?   ~P~" 97~:i~~l1/.?7 CJ/1C~ ~C%'r ~r ~~~50~~~1~t   C~~~ n ~'}1'c' VClI

           7h~s ~~m —.~— S~ ~/ — cf~'ers; q', i~ff`r/r~; r~c-~' q bcc ~ ~/~c' uPl~W~f


               ~~~ uPpl•cc;n s b~.c l~~ rt-~nc~• c~~ ~~~ ~r~r~< ~ic;~ ~t,c~t~~~ ~ ~l~.- ~~ 1, «r~~s
               G~u~m, ~~~ Gxsy/~~~t, - c.u,~h ~~~~1 ~ ~'c~s ~~n~r~~ c~i~c~ C! u~~°~ t~~v, ~ S
                ~~rc~ ~t~~r~i~s i~c%d~~~c~~ a ~~~il J~ecir,~~ ~or a ~;,~1 ~~~rm`nr~~~cr~




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          t~/r"th ~~~: ~ir~,m~~~~ ~~c~~ ,,,lc~d~c c'- ~n~/v d~r~ s~~~~ ~vic~l.f~fsv                  ~~ik~
          r?v,~,c~ ~~v~ scc:h aP/<<u~,rr~ c,f~~rs ~/,~e c~pFc~r~cr~~~,~ ,~v cf~~ach
           Clc~p~r~On~tJ i~~'vr/rYr1~iC~ Cyr ~vic~i~cf' :~,~pfCr~,~~j~,Gvr                     CIG~r~S..



               — .f~~,/t'/'   ~~r ~tf 7'~E' ~/~7M.~fU ~/G~/~ ~i'G~~t' (qtr'/~~ r'~"- V~ ~'u' 7~/'P f6a t ~ `.3

          urtd r ssc ~i~ n cue ~~rr~►,~Qtic%~ cn ~/le - crsy k~; LV~~~/~hv 1d~r~ c,~'
          +'ertac~q~' ~rx~ ~vn yc~r~~~c~ia /-~~ar~ ~ /c~~~~-r~ -CAT- G~~~~.~/o~,iy
            ~ ~' any G',~' ~rcf~ ~hree cr~f~~~cr;~ic.~s a~FJy ~e f~~~l~r~~


                 . ~o ~~e ~or~ --.~-~~9-,~s the o~'~rur~~ ~.m ~e ~~~,~~url
           ~ar c15~/vin           Cr~)cf c^r V~/~~~~~ic1c~~n~,y     Off`' t~C-r►~cvL'~~ —Or- C~T'~..~ : .(~t'f

          (fin.{'~r~4~na~elyr ~n orc~c~r {'car ~~F;Q~G~Ui1t~ ,~c> ~ vin ~hrs ~orrr~
          Z- S' ~9` hcrv~ ~o am  c.- o ~~irot,~h u~ e~rn.-~,ve gt~~~~~is~~~r~✓~ ser~~„~
          c~?nc~rnnr~ ~c~c! czs `~ neusC✓~~r ~l~' ~~r' !l-n ~~'~ y,"eu ~ ~~ ~~c Z~~%~,~4
           1~ t~nrr-/E -~Z ~1~~ -u-hrc~► ~~vc~s ~,~pl~<,r~ i~~~rr~~on a6ovf~
           ~~ a~r:~~~~.s~r~~~i✓~ /arc, nr► phis sc~b~~c~. ~ .. f%~                             D~'~~i-
          ~'rn~ Z~C~ ~r~dr~r~rr ~c~~ us ~ ~aylvn~ o,~'~','~r~r C A o~ in ~rfr~yq~e
           ~h~ a sir/v.r gf,~l~~~r~ ~ , • . ~~n ~r ~~ rx~ rely ~h~S ~C O~ly asK 9 ~~Ns ~-~~~s
          ur~c~ c~,~ /ac~~ ucr~e~ crny sc~~ot ~~nc~ rrv~~r~u/ ~~~s ~%~~ ~/E
          ~aplt~on~ .~~' ,~hr a0 hel~eve ~lhy~ -~hrr~ is svbs~u~~~cf ~'ac~s
           ~~I~/- O~' covrs~, -~hr.~                 fie ~C~ ~r:~;~/,~~v~ yc~~ ~~ ~~r~ .,Z-Sr~9;


               c ~rr~ nc~ r~      -.~c~~~~~cr-~~~ - ~hr~ -~/~-            t=erm ~- ~ ~q ~~S
           c~~ieC~. . . . l /fit' gp~~lritri~~ ,~hr.~ c~ui~ ~t'gv'c'1~ ~r «i~ im/~1i~~~~~in~
           C c ~vr ~ ~7c~ ar~n~ ~ cti~~~ re          ~a~u~~~, ~f1~ :~Ccr~?(f~Gf~ `~~,ve ~i~ f~rc~ie ~~~~-

           l~~ ~ias ~~PF~r ~r.~~c ~u~~r~al -~~~~s fc~ .u1~~rr~ ~1~~ ►-~Q~•~1~




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            tlsy~v~-~~' Frc~v~.~ ~hr~ ~~t- C~t~~~- 4~~1/ o~'{Pr ~~~ Fvrl~ ~S~Y
            ~ fhFriti-;5~; n~~~n, LL~ili .~c c-~~nrrd.


                                               ear ~n fe~ry,~k~ - ~n ~c~rid~u ~~~;r 1~ y crn
                   S'r the ~~ t~c~trsc~nub,~' r=
            ~3y1G•i"✓7     G'~~~i'CPr — t! ~c{PIc.7~     Laf~F'+~~ — Ut",



                    /~~Er~~S /~eclrii~~ - ,by ti~~n~~~u~'en uc~rh~i~ ~s~~c~~i~~ /Gc- „1,~~~~c'-



                 - .~t~ ;                                        y~ 1~r!''x'vu~; CL1d`
                         ~ ,~ ,~,`~}rll~,n~ '~ i(~,~~ h C ~r/~ C~'                       CAT - Circ' c(

                r~~~t~,~~ ~r «~i,~ r ~~h ,~ - ,lhr~c~~s ~rY ~rc~~~~ by ahe ~~%l v ~'t~,~~ ~s~
                ~v~ ,</~r- ~a~/c-~r c?~' c'c:~rtt~t~sf ~7af ~o ~n~it~ farce-r- ctdm,.~~sr~r~ive
            ~~c~-cc~: r~s ,l~r ~h~• exc~~c~~,ve hrvnc~r ~~~ hc: ,~°~//~~~4~d ~~.'fh~~.~
            //~~;lr~c~ ~~~ Or7 y~/lr crfylc i~~ gfl~l~ CUl1 ~s r~~h ~S - c~orr r1 c ~ nlfti~l S

                ,~1,G ~ ~hr ~'~'rG ,~1 ve bran ~h c'uf~ ~rar ~- cr~r~~~f ~~~i ~~ ve p.vcrd~~rN S
                C~'rlfry r}r ~G~ ~~~   >~oir~ ~ L'~ ~~ Lc"~i7S ~ ~ ~~LYI ... SG~~{1 cts'     -r~fic

                 Fr.~sc-r~~ :~~ ~4-0 ~i i~~ cuhr~,'e -~~ aP~~,«,~ ,~~~- 4~sy/~.►~ -mot a ~l~~rs,
                l~uv~ ~c acs ~J~rc-~~yh cril ~n~~Ir~~~~c~,1 ,s~~~d ~y ~1~~ ~c~~r~r~
                ~i~t'~~~a ~r~ Ctc+~c~r ~c~ c-b~u~t~ ~~''~tfl~r~~f~rn %o~r7 1''SC ~/.




                  - ~;r u-'    C~,, rs ~~ c~: it~hF ~1~r~r ~~x~ ~ ~~cr~~r ~~c~ cz l=, ~h A~~~~~~~f
                rich ~ h~ ~ ~G~        ~ ~x~lh H~inr~dn~r~ ~ rl~h~~

                  " ~T~e ~rv~rnmrn~ rt~F•,s ~7c~~ il~u~c crny c~6~F'['~/L~j -~c ~h~s
            c~~r~f ~, ~~ ~; c~~~u/ 9~ ~s ~~ ~~r~ c;s ~. ~~/J.




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             ~- czr~~r~1 ~i~1, on h,'s a~or~,ix~j b%,c'~; ~.~1►~~~ sv~eor f,~
         ,~c}~ can ~vch cc~.u~,l~-~~~~a1 ~~-~~s~-c~,- sc- ~v ~Cc~ ~r mc~~
          5 ~4~'mrr~~~.




           - ~o vr ~h ~} ~~ ~s ~~~i~ ; c-F~~' ~hrt ~f~ c; sylGrti c~ ~r~~ c r~- huc~ ~ t'ras~ ~~~i~r~~
          d~;~y ~c~ ~~oy~ ~/?~' ih~'PrV~eu- L1~~r'~~ ~;~x~etc'>S t~9~-~s~ ~~- ~7n
          ~ ~~c'r,f~Pr



               l j?~S ~(~tL T ~~yt'    UI LI C~~'U/' Gti'c1/'nli~ c~daCC~~ t~~ 5 (.~/~!O?S~%~c~1~iCYYI~~'~,

          ~~ Can ,r1c~~ V1d~~c~/~ {~t~ld ~~r ~i~ ~~!"i;~q~t~n ~y R /a[~~             P~7~or~'E~r~rr.>~

          C~~~iC~t; GtJ~~fhrn -~~~ ~~~~r=~r~~Gr~~c~ rc'~c-P5~5 ~~r Gss~s once 0-~7
          c'c'~,Y~,Sr/, -~J~ ~xv~~i~,-;~~~,s~ f~n~o~ i~~rna//y +c r~cr~ or dewy his repv~~,~-
          oi~ ~he ~Saf~s ~h~a~ he j~c~~1 ~~~ne~d a., ~i~~~~~~j- u~~~~r - ~1~ ~~h~
          InYC~t/~~ ~~s ~cr ir~~G~~ ~U/JIB ~~` ~c' i~ norPc~ c~c.~~            ~o an       q,~~vrnry
          GG'Q~r✓fir `3~~i~~d     by ~r ~~cal~ gun ~h4~ hG.~F~rly           h~ ~ ~v~.t        fry



          ~~'1~J i.f R   C~FCIt    Q~c'~C G~ C~~t(IP~~G'/J         .. ct PrFin~C~~~4tPc~ ~ioCt'Sf'—

          e~~ic.M,ixl~t'Cl~   ~ S:~~ ~j E~aSG'/IGd~E' /'t'C7/~ ~n~fi.`~e'~~ ~." ,/I ~e'ri~~4~~GY~   ~iy

         u ~~dor~ u~~n ~-- ~~-- /~1~~~ ~s /~eirr~~ - i.~~~rrr:~4~.~i~ by ~r
         ~t'c~~u~ u~c~~ ~- u h~rc~ the q~-~1~ «~c~i, ~r~ -S-St3' y - iS
          e~i~re°al ~i' GAS' /, p ~~-~h~~ q~A~u~t~~ •.. /'~='l~'r~.~s              %~qi~    <rn
         « ~~cr~F,r G~~•rv~r v~c~er c~~~~c':s ,„ ,~~ q~J f harms nc,~ m~~ry
          ~'Te`sh~ Cvv~fs ,~c' hu yr un c~~.~per/vn;~~ ,~'~~ c~~F/y ~~r ~~syl~~
          ~'~' hF~she d~~ ~Q~ ~~~n -~/~- u~~rney w-~~~v~-~r ~f~F~ ~-~~~i nPper~v~~y ~'s
         cl~~~,~d... O~ cc~v~~r h~- S~'t •s coerCccl ~o :rc~r, an a~f~~~nry cr.~a~'vFr,

                                                   ~$- C;~-- t3~




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          - A ~S~       ~ctke >i~~c' Ccns~cfc-izr~~~r7 ~hr ~cic /~ ~~4'~ >i~?irt,~r~an~5                G{re

        V~Inryz+fJ~C ~c~cp/~= cc•,~h ~he~r mind tc~// ci~l ~c ~~{,r.t7~'c'~-n~~~c~t
        rtsk~n~c {  gar ~/~=~'►~Cn~y ~ . ~ {~r n.7 oFFrr~~r~, ~y f~`~ ~ ~~✓e~n ~ v~'~~rr ~ ~e
        ~-o ~1~i►' C~'1,~ca~r~c~r~ . ~ . ~~ncr~n~ nc~ air y ~~'r>,l,~~ron.3 ~avt ~x~c~~ ~~o~ ~ ..
         fC!'~i~~~..,      S~~`!~'~e~t~hn~ rS VC'r,, u~r0l~c ... ~i~r /nTE'cjrr~~ . .,             ~~~nct;..

        Vir. ~~ e ~/Si:~ rc~F~es~r~} ~h~s cuanc~Err`~v/ Coca ~ry ~~~rs brr.~t ~-'{
                                          1
        ~~ {nc~ .. . ~:yv~~ ,.l,4~s ~,cc ~c~r ct/l— !1G~.~ ,s ~1,c's ~ a rho~cr,cy~ err~/em_.
         fy rc~nny h. as ~uk ~=~ PY~r~ ~c ~~~~, f

          - ~ Crr}~Pt"~S       1'C'~<<PS ~C tnr c:7i~      C~~G'~~ rTu/~i ~f' TG G       u/~ R       l~r/rl

        Z-589' gplc'licra/,o~~ c~~,thcv~ h~~~~ tj~~~r~~~p~~~l ~.;C~ he cU~
        Cnm~l~~e -~~~ ~~~s ~~c~s rn his Apr, ✓nc~y -- ul~~~hcv ~ ~~~s~svre ~
         LLi>~CL'~' ~17t ~WrSr~            E-~r~v~l'Ol~i>?~''O~ G      G.t/llrl~) t`ir   in~t'~r         ~~C,r1

         ~~xkFs         late, .. ~ Aid ~%hu~ ha~?~rn ~~'Th~~uvfr-nm~~ oFF~;,fr..r
         /5     St~Cf.~ 7'~'tI~ d!~ t~c~f PYPn rYtr~' ~c~ ~~e             l/lk~~r   ~~~%[~u/f~tX~+CF'f'c~~n~S~

         1~U     cLr~



               /~~~Yf't' ~Qn~P2'S         t~~ vPs 7P~+ tOf tU7 ~~ ~Cr~~~ t`~               G~'er j~~l~1/~?t'/~ ~.S'
                                '.
       ~ ~ .i ~~ ~~U. 1'iLr~ ~C'/ Cc~/17~~n~'~~ Ll:'~ ~`~ ~fiN !i)Trliv'~Q~l~ cllp 1 ~`7iS
      :-


              ~` t~                 I                                     /    /     /     ,~7
                _ ~'cc'eV~t" ~C //17"P~ y ~ t'u.- tJ/,'~~l C'O/,3 ~~/~a Ed C~~Y'~/" Y'}'E' p~S 5 c~f~I"~i~s C/'
                [7

               ~GG/'O     ~~'crf ,~-c1/K'Pf'US 7`E~t CO/7~vrf~l~/F             G?d       ji~    5i~n~-~

               ter      u~~'~r'r~ Gv'c~r✓Pr ~vrr~7, ~c~, The />'C~ ctlsr~                          4~jairt
               C~'n~i.-m~C~ Gu,'~/1 L-v~K'FrL~%S -L/~q~ /,7c ~r~~ ~                         ~~1~.~
                                I   /      /       .~          ~                          /
               ~~C~~' N~~c~       CC~~T~1 7`~ !/l TC'IV/t'G~~, -~-C~. G~ rqG~~ _3 G~~~C)✓.P~~~.




                                                      ~~ ~~ -~~~

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           ~,s r"s cz l,'e - ~~~c~ ~~s s~~yx~n~~s~~- n~vrr me ~ u'-"~h L~~•~~Pres,
         so hci~,~ the /~c~ s ~uF~~~~~s'ar ~vr-~d ~~~~~ Lv.~d~~~-~f ~'e/f c%nc~~.~rE~e
        ~c.~ .cc~.~ ~n~~~ ?I/.~c- ~c~~~rnirtr~~ etc1~ ~.~/y /,Nc~ c^..,~t g~,f                    .s~~vc~~ u~
         ~fl~`i. fit"' !~S ~r rC,~, -tC' L1~4 T



               ~yt S ~~jc:~b. ~1~~F~' "Cz~ ~~: /~G ~~C~j~~ed ~~ i~,~~f'~v,c'c,~ a.~~c~l
               t'L"SG+r`'~Ic%d L~~7(e j7e c1r~n ~7rs SG~r'iyis~v~ o~~~iCPr R'~~,~%~t'a~ C~.~.~h

               u~r~cl~'/'~'~j ~tf'ut /fit' .~~1~ Can ~j~~t/~y ~~.i.?/~/r'!' {~'ii►'1             L7rJ0 [t1:tS

               ~cr~~r~u~/~ ~~~vuc-c~,~ c4'r~h ~~r ~n~~rv~~«.~i


               ~~~' ll' -~av~. ~<<~~`: ~ ~,,,~r7 ~~, ~e c~f'h~s rc°c ~,ss~o~; ~~~~ ~~C1,~o~rF
               ~~C ~ !J ?~t'/ V~ E'Cc: CJlK3 D^~f' !PS ~s"lrti Cl~~r'r" ~7~ C~~~ ~1~S         S~~'t~ yIS~~'t

               D~'t~«r C~~~r~~f/Y+~'c~ Ct.~,~~ 1~n~r~~                    ~f~w~ hr ~~~ s~i~F~ nil
               C~ ~ ~c ~r/? CJ'   L~t7[~Ic'I- ~r ~+     Cti~c~~ ~t°~,t~ l3-~~~r ~G'~~~" ~r4~[e c'c~i/~!f t~v, ~~I
                                       .i                                                         '
                ~~'E}      tf'



                       r ~hv ~ 1-c•~~'c~~ r~~ d~cl n~~ ~1 ~~/ ~- cc~n ~-~i~>d.~ ~~ c vn~~w ~ e
            e. . ~~G ~ .
        cc~,'~h ~h ~ in ~c' tr~~~iv~~ - ~~r'~~P~i'r~ «fk~~ ~v~ a~~ a ~fv r~r~i - ~1~~- c4,:~i'
        ~, f' f f~ e ~~r i~ ~ !;<x7~ Cl~k.~ ~~S ~(e~S ~ -~c~ S tdF ea;~d /~ -~ ~he uPj~I            1~G~I

               r
        ~c;~ ~.rc~ ~~~r! Cc~;~sr/c~r,~hc~c~~ ~ro~e,i~~c~~iv~~~~~ ab~~c~f                         ~,rhr~lrr

         -~j~t~ .up~~l,~ui~ ^i~nEc~ air u~~~r~Cy cc-~.~✓rr ~~~M c>r cU~r~6rr                            i5
          Cc/17~^/7G~b~P          i~   fL~n Tr~'IL'C   ~r   r'~'~ ~N~C~r~S       d~J✓r~4~i~r ~~~~


        (1/1CLY1},fvr1C/~~'~           /?~ 4.'AS /)~~ Ci~~t' '~L' l'C/`~L~~C       h/S `1L'//l~~~ ~~~Ej~JA1~1

          1)~ . h~~ d 5~'~~Pr ec~ ~i^ /~'~ x ~ lG' ..: Lc%ix~N rc ~s ~ua/1~~ol ,~c- ~a ri~~ ~fe
          Lt,r17G ~ /.~GF~' E'~hd           ~'c' ~7lM !I~ / "l''.t/fG'~ G~`~ ~~7~` L• ~~~ICP/~ Cty'~~"~~i

          ~C~SSVi~~ ~jc#rruSb!''''C~'~ did I~C'~ n/~Ca.~K~ ~7,M ~c.' t~~c'el—




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           Cc~~`orfr~~!~, ht~~ ~i~ ~c,r~f c~✓rrcuh~~~mrr~ br ~/~N p~esfU~'~ af'
           ~h~ /7 cs qL~ c~~ ~<<~.~5~

                 ~f~r ~fF~'~~ Sian c~,~" ~i~ ~c c>t~rn~n~n~ ~c^ ~~'ri«rr~~ ~~M~rwr~~j
          ~hrt7v~h              ~f~ cfSylurN - Gr— c~~~~holc~ D~' le~c~va~ ~Jr C/aT, is U~'ry
           pb yfoes — ~f~r ~crNj~r~r~ ~`s ~~,r-~' v~ /~crtld ~'s n p~~~v~~~                      ~`o«;
           ~c~ ~v~~•

                                                                                                      .
                       y%n~i'    ail stn Gf ~~~ {Q~ ~ptc -+~n~,: Gx//~'w.ir~j far.~vgrE' ~t~v~inrr~~fs

           i~~~°/tv~~~~N~ ;n o~d~r' ~~~ o6~~n ~~ c,sylci7 ci~l~~s~,c-•~~ ~fc'..i
            e~ , 5~~prc~.


                 ~i~ ~'ucf ~"s ~hq~ ~u~Pm~ tv~s vnd~r c~.~ress .. r Unc~Fr
           C'Oc~rcion whin he ic~r:~'1 ~iz~e~r,;,~ +~c-~~ by ~h~ ~~,c ~~~inn~o~ c~
           r'M/n~~r~~~~c~~ cc~ur~~ ~hc~~~~~c' l~r~ acmes ncf q6/F ~a r~urrc?~ l~~s
           re~~ d~ I~m~t ~h~~ ~r,~rrkFc~ 1~ ~s 1,~°e ~~~~v~=r, h,s n~~a~ ~~•-
               r~ 9uP5 ~i~         c ~P!>'~r~7Ly -- ~C~ b c' GT~~~cu~d ~~} L>b ~Cr t/7 RSX ~~M

           ~~e n0 ~~~C~ ~h~ yp~.~lr~cr~-c~~~ ~~~.-r~ .l"3c~9 .s ~~~ ctsy/4r~7 ,
               wr~hh~ l c~~ i~         o{' rc~rr~: rq/, a~~~ tlAT, so ~lf~ roMnna/I ~,r,~ ;s
               4Sylum C1~t~'licu~it~/' - ~~~~ rini~~t~~c7 -~~~ ~vd~e 4c;%/ c~e~rMe/1~ ~±!~l~.0 ~'1
               a ~Flrev~~cy? aFF~y. ~~ ~;Uh~~f+E't' ya~~ r~~~rerd usy/c-.N or ~~hF•r-
           dc•~s nod maKF u~rn~n~s~rc~~iv~" d~~~~rh?~E,


                   i
                  ~..t~r~ Frc~) harp- ~,c          c~ l~ir~ri~ ~-v~:,k flare r~~ .-ware z /1'1~rrc~
           ~ht'rt' her.»      crn~l 3 d~'h~r {'t~Fi,~c~s o~'~he s~m,E c~tndc~r yrf
               rec~c~r ~a~ Ci wee kf~~c~ ~ur~-yr ...Try ~l/ qcf ,~~r~G/~ c~►~ssEs,


                                                         C I~~~F-►_3~


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         ~ ~T/'     1~lic'~~        w:c~ c~~J c?l1 ~~a.~~ ~XTr~t C~C~«J;~~/~1r~~s ~~'intlK3                               C~~

         ~~ . /cc k ~~-e tt;"Nf ... c~.,t qtr-; Pu r ~~ tL ,fir h4+~a'' a/I ~~r cr ~t r. ~~fr>s
          ~~lt?~~5            .~1~~J - ~f~t,        ivr.`~ ~    f~          CF;c-~C G~~       ~i~e                 [
                                                                                                          ja~i'r: ~.

          ~x~~ c' r~ ~~,~Cc. L ~ c~.~~;.s               ~ rcf~ r c~ 1~ i`,'r1. - ~~ .~:y ~ fcL~ h ~ua~ ~L~ 11,
          ~h~ ~llt f~I ~t~~~                   C,~ i fs f.J~~/rir^ - ~', i~?t'- rVF~ r -bC~y                   ~:t/~~r

          ~f~,°,~/~"~?~l~tF1r.'u~ . _. ~~Ic' ~prt.'~1~f~"U/IE                        GL`u~    ~rL~(fn~f       c[1~~h      c~

                                                                  C~~~vsc:~t~ ~~r c4,'~h              r~tl ~~'/>;~~E',
               ~. Corr ~~           K:t?.-~1~r.~ L~✓fiu
          /~~',~~>r ~~'~            lc.r~y~~~ c°~~s~L~u~'~ec~ ~hu~ s~~E cv~u n~~ a ~~mrr/~
                                                 -t'// ~~~c/' p ~' ~h~~
          ~f.~ h://,~!G Ptcrb~c~ir' ~~~c ira. ..,r                      ~;{j~/e
          ~~ ~,nG~ ~~f,t~ ~t c~ I~ ~r rr c~c' ~~rr~ c~~c~ ~~ ur - ~/~e~~ d rc-~~~~
                               a                 .,.cc~-~~'f'
          cc~EVC        ~ukffr - ~'~~-- erg- ~,~F ~~d                                                  ~ti.~~h l'~-n,~~.s
                                                                                                                    ~f~'r rt'4
          Lt ~'~~ t'l    T`f;Gr'~ t-u.~ ~P1T'c:.~ 6ti ~ 3`h           /~U~(7c'f ~"~;~ ~oG! YG~6~'~ ~ ~Or'.r'£'

          ;~f~h ~irc.~ ~,4ja!-s ~-c k ~L~ h;/E ~ -~~ie~s F-e~ ~ ~=i ~/n~                                           ~!~ pry,
           c.p. ~c c~U ~t~ - cI ~~f'r ~f~ ~wc ~ 3 ~~{' ~/~~~~~ c~.'e~c ~la~t~d
          ~r~ .. the ~a l,cE ~+ ~;- cks' ar,~ ,~~kP~~ ~c~ ~hf c~-~ -1~c~ c;
                                                                                                                               3.
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           L,t/U~       Q` Y~' Cf/? c~           GU~J      R6 ~         >r''    ~~~c'~   y1r'~~. %~r~ J~               G~i'l~~y

           f 'l~t ~ G ~         ,~~         fJl` ►~, ~~C       ~~~c'i~-1,?[t     ~/~4~ ~t~~fl~> S~                 l
                                                                                                                 L'~ ~F/c~-~

           f/J. . /'~'~r'x: (L• — i.'/~,j~ul'tU/'R1~t'~~ t---Clhcf~tC' S                 js    l~e~ ~ c~l~,~c~       ~u

          ~Jcc~f~~ ~~         ~},- ~ he ~ ~ ~' c           ~x~~i+~~<r            ~~'c~ ~c~ ~hr' ~~v~} -~ho~ fig
           ~c~S          i~E'~y ~,'rr,c/, c~;4% n~a~ c'~,~a c~.,~~dv~- ~e~~ ~rble ~v s-~cp


           r TL{TEU           l~'   ~l?.i     G~3c'l~r11~       G~I"~r~ ,      ~(huT rE N/atf        I.~C t      Cl~~~' 7L

           ~x¢i4r~~ h;f h~~r<< ~;c d~ler?~mR. a ..h~~~~, ~:~~ ~f~rrE ~'G~e an
           Lf~P4;r ~4 n~ ~y ~o ~/C c+~ 4~Pf'!- cv~c~ c~;`, ~I~GGi ~ ~~ny
          i~~~' ~~c~u~i'c~, d~ t ~- b y                        h-ms~'~~~ in r[?r~'vc~ s y~




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                                                                                               (TSi-~o-60Z)
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                        '.            .l ~
                    vz aZ .~ s~~b,n~ ~~ ~ ~fj~, ~~ s►fit p a f .~~ a x~
                                          s . a 'UJ~I~Jdpi$t/t~.~   .S" f.lf~0,~   Jc~~C+lc1
                      ~~~^'~ fJc~~sc-~~
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        The facts are clear upon the record, supra, and the fact is that Landeros

        was behind bars under slavery for 8 months -- "Take Notice of such


        Fact"    ...    and the fact is that Landeros has been under "Detention"


        with the ankle Monitor for 3 years ten months ... a total of detention for

        4 years six months ... and the fact is that Landeros has been 4 years and

        six months under mental distress—infliction of cruel and unusual

        punishment ...         "Take Notice of such Fact." Plaintiff hereby

        will continue to present the Material Facts given support to the stated

        ~~Menta~ n~st►-ess~~     ...   "Infliction of Cruel and Unusual

        Punishment, to wit:




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                         IN THE UNITEU STATES COl►RT' OF APPEALS
                                    FOR THE N[NTH CIRCUIT


               C'ARLOS LANDEROS                              CASE # 19-72855
                          Petitioner
                                                       SUPPLEMENTAL BRIEF 1N
                           Vs                          S[.JPPORT TO THE MATERIAL
                                                        FACTS UNDER QUESTION
               MERRICK GARLAND,                                     AND
               lJnited States Attorney General        NOTICE TO PROCEED PRO SE
                            Respondent




                  NOW CAME, Carlos Landeros, (Petitioaer)~ pro se, hcreb~, pursuant

               to his Constitutional Standing and administrative laws in thr matter does

               move before      this Honorable Court       respectfully   presenting his

               Supplemental Briet to Support to the MHterial Facts Under Question; and,

               hereby given NOTICE to proceed pro se, to wit:




               I,Carlos Landeros the Petitioner hereby gives Legal Notice to the Fact that

               it is his personal choice to proceed, pro se, nn his Case on hand, due to

               the lack of ethics        professionalism from Legal (`ounseis          no




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               having other better choice his personal choice was to take care his c$se

               himself (Pro-se) .. . therefore hereby Legal Notice has been given.




                                       N[ATERIAL FACTS




                  On October 13, 2019 Petitioner was placed behind bars in Adelanto

               California under the authorit~~ of the Executive Branch of the h'eder:il

               Go~~ernment          the subject matter on his detention was established,

               first due to his illegal status, and second by an International Treaty

               Agreement, an administrati~~e civil due process given to noncitizens of the

               United States those in search of life protection. ... Petitioner requested

               for Asylum under Article 3 of the United Nations ("~~nvention Against

               Torture- the Treaty     The government stated th.it in order to allow

               Petitioner to file an Application for Asylum and for ~1~`ithhol~ling of

               Removal Form: -1 589-he was to be submitted to a Reasonable Ferar

               Interview with an Asylum Officer. Petitioner .vas taken to a private

               meeting »-ith the so call Asylum Officer where, after being interrogated for

               several hours, the Application for Asylum-Form 1589- was denied. The

               As~~lum officer directed Petitioner to appeal such negative action to the




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                     Immigration Judge           not an Article III Judge, but .in aelministrati~~e

                    Officer of the Executi~~r Branch of the Federal Go.crnnicnt established

                     under Section 310 of the l'nited Statc~c Code of Title ~.          Petitioner

                     then had a hearing with the Immigration Judge ~rhere again the access to

                     tt~e Application Form- 1589 was denied. After the fact Petitioner petition

                     the United States Court of Appeals from the Ninth Circuit and also 61ed a

                     h~[oNon for Stay of Removal           the Motion for StAy of Removal was

                     granted. Petitioner's questions presented to the Court of Appeals was:


                     1)- Vb'hetherAsylum is a constitutional right or not''


                     2)- ~~'hether the Asylum questioner used by the ICE Officer for the

                     Reasonable Fear Findings[nterview is constitutional or not?


                    3)- Whether Petitioner has a Fifth Amendment Right, but not Sixth

                     Amendment Right?


                     4)- And whether the Asylum Officer had a constitutional duty to stop the

                     interview after Petitioner requested for an Attorne~~?




                     Petitioner after the fact petitioned the Court for an Emergency Relief due

                     to the COVID out of control situAtion ... the Court granted his Petition

                     a nal ~~n the and day of June 2020, Petitioner was released from behind bars




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               custody and placed under detention Order of Supervision with an ancle

               monitor which in tact has been 42 months under such detention Order. So

               the final question is, to wit:

               Whether the Executive branch ofgovernment ha~~e had perform their duh~

               with integrin~ in the administration of thr lntcrnati~nal Treaty Agreement

               for Asylum named as : "T6e Convention Against Torture". Petitioner

               hereb~~ affirm that the Executi~~e     branch of federal governnicnt, h.~~e

               had end are violating their Oath of Office while performing choir duty in

               the administr.►tion of the International Treaty Agreement, supra, infra,

               inflicting therefore punishment             torture to vulnerable people in

               search of wellbeing and life safety.




               In answering such constitutional question we must begin with the

               foundation of Men's natural rights             and the Power of the United

               States of America . . . the Social document named es the Constitution of

               the United States, to wit:




               hlen has ~cqual" natural ri;;hts denominated by some people as "God

               Given Rights" . . . I.il'c . . . Liberh~ . . . Property: Therefore being




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                all equal and independent no one ought to harm another in his Life,

                Liberty, and or Possessions.               No one can be subject therefore to the

                inconsistent            uncertain               arbitrary will of an other man,or

                Country.            "R1EN SHALL BE TREATED EQ[1AL BEFORE THE

                LAW                             MAN'S CONSTITUTIONAL STANDING"-

                Petitioner"~ tit.in~fin~~ bcfi~rc the 1.:~~~.




                The Constitution of the United StAtes of America is the SOCIAL ORDER

                INSTRUMEN"T upon which all the poH~er resides, therefore, offers and

                reenforccs "EQUAL RIGHTS" ...                    "EQUAL JUSTICE"               to

                everyone regardless of their race, color, Iegal status, religion, gender,

                nationality, etc., etc., and to secure these rights the "BILL OF RIGHTS"

                was established and RATIFY as part of the United States Constitution.

                Therefore              The Constitution, The Bill of Rights including all its

                Administrative Law and Treaties made ~~ith other Countries hecame the

                Sl'YItN:1~1E LAV1' OFTHE LAND- Petitioner's Constitutional right.




                Now under the Constitution of the United States of America Article One,

                Section 8,states the follo~►in;;:




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               "The Congress shnJl have the power to make all Inws which shall be necessary
               and properfor cnrr}~ing into ~ecution the foregoing powers, unrl n!! other
               powers vested by this constitution in the government oJthe t~itited States, or
               in n~iy~ department or office thereof'



               Under this Article, supra, the L(nited States Government has the po~~cr to

               make laws for the administration of the described permitted parameters

               under the Constitution of the United States, including administrative la~o~s

               for its Treaties made with other Countries, to wit:




               In 1988 the United States of America Government entered into an

               International      treaty Agreement       named as The Convention Against

               "Corture (CAT).       ... '['he po~~er for the United States Government to

               entered into such International Agreement comes from the United States

               Constitution Article VI, which states:

               "This Constitution, and the taws ofthe united States whic/i shell be made in
               pursuance thereof, n►r~! all treaties erode, or which shall be mode, under the
               nuthorit}~ of the tlnited States. shell be the supreme lnx~ of the la~r~i-(in part) ".



               In fact in 1.994 Former President Clinton coniplctcd the ratification of the

                same; and on October 21 1998 the Congress recognized Article 3 of the




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               Convention Against Torture as the lfnited States Supreme Law of the

               Land, therefore, enacted IaK~s requiring the INS to issue administrative

               regulations for managing claims by noncitizens under CAT—see Pub. L.

               N. lOS-227, Sec. 242. Also on February 19, 1999, the INS issued rules-LA

               Fed. Reg. 8478-9G—which became effective as final rules on March 22,

               1999- 64 Fed. Reg. 13881.          Therefore:

               The question here is whether the Administrative Laws directed by

               Congress to be made b~~ INS for that particular purpose,supra, arc in fact

               ur n~►t runtlicting with Constitutional parameters? . . . Petitioner hereby

               .~l'lirm that such administrative rules are in fact in direct conflict with

               Constiwtional parameters therefore causing injuries to vulnerable people

               in search of life protection              in violation to the International

               Agreement and Also in violation to Constitutional parameters, therefore

               causing pain and suffering to vulnerable people in search of life protection-

               such it is and has been the situation a~ith Petitioner's case on hand, to wit:




               Firsts Sections 1225 (b); 1226 (a) and 1226 (c) of the United States Code

               of Title 8 authorizing protongated detention are in direct conflict with

               Constitutional parameters. Prolongated detention issues were presented to




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               the Ninth Circuit Court this Court ~Ithough agreed that pr~~long~ted

               detention raised serious due process concerns did not resolved this

               constitutional violation allo~~~ing the Executi~~e BrAnch to maintain

               immigrants behind bars for years and years ... up to 6 or more years,

               great example is this case on hand . .        where Petitioner has been more

               then fouryears under deten6an part ofsuch detention behind bars and the

               rest under supervision with an ancte monitor.




               Second)- The Ninth Circuit and other Circuits including the Supreme Curt

               has done nothing to resolved this clear ~~iolation to constitutional

               parameters inflicting therefore Cruel and Unusual punishment to

               vulnerable immigrants for the sole purpose of private gain ... detain

               in pri~~ate institutions, privately managed            under the worst living

               conditions anyone can possibly imagine                without Due Process of

               Law ... without Iegal representation              in a Countr~~ that preaches

               democracy around the World                a Country that has entered into

               several International Treaties ... ('ontracts agreeing to guarantee Due

               Process of Law to all citizens that may ask for protection .. . or for any

               athcr rc:~scrns th.it ~ua~ he rcyuirc              NONE OF WHICH HAS




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               HONOR                in violation uC (:onstitutianxl p.iramctrrs and their

               International Treaties          Contracts, to wit:




                            INTERNATIONAL RESPONSIBILITY




               CHARTER OFTHE: IGNITED NATIONS: We,the peoples of the lJnited

               Nations, dMermined to save succeeding generations from the scourge of

               war which hFicc in our lifetime hxs inflicted untold suffering nn mankind,

               to reaffirm faith in fundamental human rights, in the

               dignity and worth of the human person, in the equal rights

               of men and women and of nations large and small, to

               create conditions under which justice and respect for

               obligations arising from treaties and other sources of

               international law can be maintained,to prnmote social progress

               aad TO RAISE THE STANDAR OF LIVING IN LARGER FREEDOM,

               and to this end, to practice tolerance and to li~•e together in peace as good

               neighbors.




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                 The Charter of the United Nations was signed on June 26 1945 in San

               FrHncisco, Ht the end of the [inited Nations Conference on International

               Organization, and entered into force nn October 24 of the sNme year. The

               StAtute of the International ( ~~w•t of .lustice is an integral part of the

               Charter.

                Article 2 on the "Elements of an internationally ~~~rongful act" states:

               "There is an internationally ~~~rongful act of a State N~hen conduct

               consisting of an act or omission: (a) Constitutes a breach of an

               international obligation of the State".                         Such as the

               present situation where the United States of America is in

               violation not only to Constitutional parameters but to its

               International Agreements                             Contracts therefore

               cAusing pain and suffering to people in search of life

               protection        .. such it is Petitioner"s present dilemma.



               The unla~~ tul action ofthe State has a fundamental eflert, which is the birth

               ofthe dut~~ of reparation: "E~•ery~ rule of responsibilitti~, whatever its nature,




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               contains in its interiority a purpose of reparation and punishment at the

               came time."             The obligation of States to make reparation in the

               event of an international ~~ron~ful act is regarded as one of the principles

               of public international law in the area of State responsibilit~~. Its status as a

               principle of international law and, therefore, applicNble as a source of

               obligations, has been enshrined by international justirc het~iccn State end

               by' the Inter-r~merican Court of Human Rights: "It is a principle of

               international law, which jurisprudence has considered 'even a

               general conception of law', that any breach of an international

               obligation that has caused damage entails the duty to make

               adequate reparation. Compensation, on the other hand, is the

               most common way to do this."                     Thus, it is new evident rand not

               disputed that States are obliged to make reparation for breaches ofinternational

               obligations in which they concur. Such an obligation is a principle of

               public international law and a norm accepted by both the public

               and international legal systems ... specialized in human rights.

               The Intemationxl Law Commission has unders[oad this and in its draft 17 A.

               Aguiar, op. cit., footnote 13, p. 157. 18 Velasquez Rodriguez Case —

               compensatory damages,Para. 25. The Court also citesjudgments ofother courts

               in which the same doctrine has been upheld: CPJI, Chorzow Factory Case




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               (1927), pars. 21, and Chorzow Factory Case (1928),Para. 29, and International

               Court of Justice (ICJ), Reparation for injuries sut~erec~ in the se~~ice of the

               United Nations (1y49), pars. 184. 19 D. Shelton, "The ILC's State

               Responsibility Articles: Ri~htin~; wr~n~s: reparations in the articles of State

               responsibility," in ASIL 933(96),October 2002,pp.835-837.20 CPJI,Chorzow

               Factory Case {1928), pars. 47. 21 Velasquez Rodriguez case —compensatory

               damages, pars. 22.

               The responsible State is obliged to make full reparation for the injury caused by

               the internationally wrongful acc.          InjurF~ includes any damage, both

               material and non-material, caused by the internationally wrongful act of

               the State. The criteria for reparation established by public internation.it

               law are restitution, compensation, rchabilitatian and satisfaction and

               guarantees of non-repetition.              The United States of America has

               failed to mAn~ge this so important Treaty with integrity causing pain :ink

               suffering to vulnerable people in search of lili~ protection              action

               defined as ~n "L~tcrn.ition.~l 1~'rongful Act"-- to ~~~it:




                The Convention Against Torture (CAT) "THE TREATI"' [S THE

               SUPREME LAVV OF THE LAND of the United States of America as well,




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               supra, A Constitutional RIGHT THAT INCLUDES THE PROTECTION

               OF THE BILL OF RIGHTS for noncitizens of the lJnited States that are

               looking for protection against torture in the United States of America,

               unfortunate)}~ this Treaty has been used [or private gain, to wit:




                       INTERNATIONALLY WRONGFUL ACT

               1)- Immigrants that arc rcyuesting to the United Staes ofAmerica for life

               protection are placed behind bars for more or less six years in private

               institution not managed b~~ the federal government but by a private

               corporation           where:




               a)- Food does not met the adequate nutrients that are require for life

               survival, therefore forcing the immigrants to purchase rood from the

               institution stores where the price is doble or triple from the regular price

               in the out side stores              putting s~ big burden to the immigrants'

               fan►ilics, such it vas the fact in this particular case an hand;




               b)- 11~1edical attention is poor and h.~r~l to get;




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               c)- !n the United States immigrants am not .ill~►~~c~ to ~~ark but behind

               this bars they work for 20 or 30 dollars per month, .uch it ~r~as the case

               with Petitioner he work during his incarceration making one dollar per

               ds~~';




               d}-      No legal assistance         according to the Federal Government

               immigrants have to get their own legal counsels at their own expense

               otherwise they have no legal representation      . the Federal Government

               justify this criminal action    by offering information no not for profit

               organizations that are overwhelmed with work xnd grief              which in

               fact is the seme of not having an~~ legal representation . . . on top of this

               injustice the institution offered one hour per day Pve days per week access

               to a LAw libran~ ... a Law Library' thAt is deficient on legal books and

               time;




               e)-      In order for immigrants to fle an Application for Asylum and for

               Withholding of Removal- Form 1589, the~~ ire taken to a room ~~hcre thc~~

               are interrogated, ~n interrogation named a "Reasonable Fear [ntervie~v",

               such interview is done in privacy       by an officer from the Erecutivc




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               department,if this officer, under his discretion, believes that the Applicant

               does not have sufficient evidences for his/hers claimed as~'lum then the

               officer ~~ill deny the access to the :lpplic.ttion- Form 1-589- so this

               A pplication Form- 1-589 he tame unreachable                protected b~ the

               ~'(teasonable Fear lnter~ie~ti"        ~~hich in fact it is in direct conflict

               W ith the International :~~reement for Asylum that the l~nited States of

               A merica ratify and agrred to man:~~;c r~ith integrih          such action is

               also in direct conflict ~~ith Constitutional pxramMers, to ~~it: "It is not

               admissible to do a great right by doing a little wrong                   it is

               not sufficient to do justice by obtaining a proper result by

               irregular or improper means".             "Interrogation of individuals

               in a dominated atmosphere                    lawlessness in the eyes of

               justice ... a contemporary social problem ... interrogation and

               the psychology of confection ... an object of concern".

               "An individual swept from familiar surroundings into a room

               surrounded by antagonistic forces, and subjected to the

               techniques of persuasion cannot be otherwise then under

               coercion".             "Therefore the "Reasonable F~exr Intervic~~" liven to

               A pplicants for Asylum is in direct conflict ~~ith Constitutional parameters,

               the Application for :~s~tum- l~~orm 1-589 shall he ~i~~en c~ ~n~ ~nni~~ants




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               without being interrogated, then after the fact, reviewed for deficiencies

               b~• a judge          but the Form [-589 shall not be denied based on the

               discretion of someone that according to the facts is not there to mange

               this so important International Treah~ with integrity, this action is in

               direct conflict with Constitutional parameters as well. So immigrants in

               search of life protection are placed behind bars in private institutions for

               more or less six years deceived b~' given them hope with an administrative

               process that is nothing but a show ... a fraud ... no medical attention,

               no adequate nutrias, enslaved, placed behind bars under civil proceedings

               without legal assistance,      under an       administrative due process

               administrAtcd not by an Article 11I Judge but by officers of the Executive

               Branch of the Federal governmci~t thNt their task is not to administrate this

               so important Treaty with integrity but to deport the immigrants regardless

               of their circumstances, in fact according to reported records 99.7 % are

               denied access to the Asylum Application Form I-S89, then deported ...

               in fact, this case on hand, is one of the 99.7% thAt vas denied access to the

               Application Form 1-589 . .. maintaining Petitioner under detention for

               over four years under mental distress ..        and not only in violation ro

               the Bill of Rights but to his Constitutional right to obtain the Application

               Form- [-584 for his requested asylum due process:




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               f)- Petitioner was for 8 months unlu« fully behind bars     ... under civil

               proceeding ... under slavery ... And still under detention for orer

               4 gears ... not knowing when this nightmare will end, to Hit:




               The Constitution of the United States of America is one of the must

               wonderful Legal Instrument in the World that of'Fers protection for our

               fundamentals against unl:i~~~fut acts from the government         in fact it

               is well-established that the Fifth Amendment entitles aliens to due process

               of la~~~ in any given proceedings given by the Department of Homeland

               Security(DHS) ... Demore v kim, 538 IJ.S.510,523(2003)(quoting Reno

               v Flores, 507 U.S. 292, 3Q6 (1493)- "Freedom from imprisonment—

               from government custody, detention, or other forms of physical

               restraint -lies in the heart of the liberty that the Due Process

               Ciause protects"—Ladvvd:~s v Davis, 533 LI.S. 678,69U (2001) ... sec


               also id. At (hcnnccl~, J., dissenting)-"Liberty under the Due Pzocess

               Clause includes protection against unlawful or arbitrary

               personal restraint or detention". ... This fundamental Uue Process

               protection applies to all noncitizens, including both removahle and

               inadmissible noncitizens—see id. At 72l (Kennedy J., Dissenting)—"both




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               removable and inadmissible aliens are entitle to be free from

               detention that is arbitrary or capricious".




               The facts are clear upon the record Petitioner has been for over four years

               begging for asylum    .. under arbitrary detention therefore un~icr the

               infliction of cruel and unusual punishment in direct conflict ~~ith

               Constitutional parameters               as well a~ in direct cootlict with

               International agreements ...Contracts made by the United States of

               A merica therefore this action is defined as "Intcrnxtional Wrongful Act".




               The fact is that the United States of America has failed to manage this so

               important Treaty N~ith integrity causing pain and suffering to ~~ulnerable

               pcup~~ in search oflife protection ...action defined as an "International

               ~'~'rongful Act"        therefore the United States is obliged to make full

               reparation for the injury caused by the internationally wrongful act. .. .

               Injury includes an►' damage, both material and non-material, caused by

               the internationxlh~ ~vro~gful act              the criteria for reparation

               established by public international law are restitution, compensation,

               rEhabilitation and satisfaction and guarantees of non-repetition.




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               On the other hand, supporting such matcri.~l facts the ~o~crnment"s

               position on this matter is to keep i~norin~ its Intcrn~tion:~l ;lgrecment not

               only ~iolatin~ the same but constitutional pxrametrrs xs well, to ~~iL•


               `f~hc ~orcrnmcnt's "Brief' respandin~ ti► the issues in qurstion affirmed

               that: °°Landeros waives any challenge to the reinstatement of his

               prior order of removal and he does not present a valid legal or

               constitutional claim".                      Stating that the AO officer

               concluded that Landeros did not have a reasonable fear of

               persecution or torture in Mexico                       therefore referred

               Landeros' case to the immigration court because he requested

               that the immigration judge review the AO"s findings-(~1'-hat

               lindin~s if Landero ne~~cr ~~~as able to explain his dilemma).:~Is~~ stating;

               that: On November T, 2019, Landeros appeared before an

               immigration judge, indicating that he was proceeding without a

               lawger.            \o choice thr immigration ;~dministrati~c due process is

               o~fcred [~~ immi~r:~nts ~rithout a legal representation unless the immigrants

               c~tn het xn attorney but ~~n their own expense therefore immigrants do nut

               h.~~c legal representation therefore    99.7%     of them arc deported in

               v iolation of ttic t!.S. -International :lgrcemcnt as ~~cll as ('onstitutional

               parameters             the ~;o~ernment"s pre~umpti~c ohscr~ation to the




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               constitutionalit~~ as ~~~ell z~s the relevant facts respecting the persecution and

               or tortum in Mexico is a clear exNmple on their failure to mxna~e with

               integrity this so important 1~reah.




                  THEREFORE, Petitioner pursuant to the stated facts, supra, and his

               Constitutional Standing does move before this Honorable Court

               respectfully requesting to take legal notice on the stated facts, supra, and

               on the fact that the Form 1-589 is the application for asylum ... denying

               the Application based on a preliminar~~ "Reasonable Fear Interview" is

               Nn illegal premeditated action ... named as: "internationall~~ wrongful

               act" and a violation to constitutional paramMers thAt requires restitution,

               compensation, rehabilitation for those that has and are suffering injuries

               such as this case on hand      ...   and satisfaction and guarantees of non-

               repetition ... it is the Iaw~ ... Petitioner is hereby requesting for justice.




               EXEGUTADA THIS 27 DAB'OF NO~Ni ER                      23

                                                      CARLOS A;VTOr10 LAN        OS LOPE
                                                      641 DESERT VIE~Y PAL1115PRI'.YGS CA.
                                                       92264




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                            CERTIFICATE OF COMPLIANCE



               I,Carlos Landeros, do state and affirm, under the penalt~~ for perjury that
               I has supplied a copy of the Motion hereby attached, via Prst class 11,5.
               Postal Services to the follo~~~ing:


               htERItICI~ GARLAND ATTORNEY GEIER.AL
               U.S. DEPARTMENT OF JUSTICE
               950 PEVNSYL~'ANIAAV. N. ~V.
               W.~StI1NGTOT 0.C.20530-0001


               U.S. DEPARTNIETT OF JUSTICE
               OFFICE OF Ih1MIGRATIOV LITIGATION
               PO BOX &7& BEN F'RANKLIY STATION
               VWASHING'TON D.C. 20044


               DEPART3IENT OF 1101~iELAND SEC[`RITI'

               OFFICE OF THE CHIEF CQt?YSEL
               104(NI RA.'VCHO ROAD
               ADELANTQ CA.92301




               EXE('l.'I'ED TIIIS 27DA1'OF hOVEM11EiER 2023

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                                               92261




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                               CONCLUSION


        A)-- The facts are clear upon the record,there is an international concern

        in reference to the immigration administration from the US government,

        where in fact the immigration administrative procedure is in direct conflict

        with the "Human Rights"       ...   GS&A-D.Villegas as defenders of the

        Human Rights are receiving complains where ICE Officers are physically

        beating up immigrants that refuse to sign their deportation making them

        to sign after the brutal assault, the worst part about this criminal conduct

        is that the ICE Officers do this criminal action in front of the rest of the

        immigrants causing indignation that can be dramatic and an the end

        blaming immigrants for their conduct        ...   of course, the court and

        government, ignore their complaints, therefore    protecting their officers,

        the fact is the immigrants are suffering such consequences without the

        protection of justice making them think that they in fact are inferiors in

        the eyes of justice, this tyrannical conduct from the US government does

        not belong to this wonderful country, the Fathers of the Constitution

        established a justice system that the World admire ... now tyranny is

        controlling and immigrants are suffering the consequences,justice became

        a private right.    "Legal Notice is hereby given";



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        B)-- In spit the "International Treaty Agreements" made by United States

        in reference to the "integrity" of the Human Rights immigrants are treated

        like a secondary race that can be enslaved by corporations without any'

        concern and with the consent of the States and Federal government, such

        it ~~~as the case when Plaintiff was placed in that private prison own and

        managed by the private corporation-GEO-Secure Services, or other,

        supra, located in the State of California in the city of Adelanto ~~here

        Plaintiff was enslaved, supra, for 8 months     ...   many immigrants are

        enslaved right now in those private detention centers without any concern

        about the Human Rights, without any concern about the foundation upon

        ~~~hich this wondaful country was established     ... the State or Federal

        governments care less about the Human Rights of the immigrants in

        violation   to   the   Treaty   Agreements    therefore    guilty   of   an


       "Internationally Wrongful Act" ... "Legal Notice is hereby given";




        C)-- The infliction of mental distress to immigrants in search of well being

        under the immigration's administrative due process became a profitable

        business for private corporations, therefore the "due process" is a farse

        that offers hope to immigrants promising that they will remain in the




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        united states forcing them to tolerate being detain for years while those

        private corporation- GEO—CoreCivic—and others--are making billions

        of dollars from the suffering of those immigrants in search of life stability,

        in fact right now are tens of thousands of immigrants detained in those

        private institutions   ...   tolerating the torture with the promise that

        eventually will remain free in the united states when in fact their detention

        is for private gain, therefore the immigration administrative process is a

        farce premediated for the purpose of maintaining immigrants in those

        private institutions for years      ...    a profitable business from the

       "Kidnapping" ... "Exploitation" of immigrants in search of wellbeing.

       "Legal Notice is hereby given";




        D)-- The Country that preaches democracy around the World now are

        consenting slavery behind bars, for the sole purpose of private gain,

        proving fact can be found in this case on hand where he (Plaintitf~ after

        he was detained by ICE officers and placed behind bars in that private

        institution was enslaved      by the private corporation-GEO- under the

        consent of the federal and State governments,for S months Plaintiff work

        in the kitchen for one dollar der day. ... Behind the bars of that private

        detention center where immigrants are the working force for the


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        maintenance of the institutions ... immigrants that were detained because

        they did not haci permit to work in the united states ... but after detained

        an placed in those private institutions there was no problem for them to

        work, in fact they were induced to work otherwise they were threatened to

        be immediately deported, in fact those that refused to work were and are

        in fact immediately deported     ...   there is in spite of their due process

        rights-this conspiracy ... this criminal conduct from a government that

        preaches democracy around the World is a proving fact that justice is a

        private tool for those "conspirators" to "Defraud the United States" those

        that are committing "Extortion" ... from those that are profiting without

        contemplating the Human Rights. ...       "Legal Notice is hereby given";




        E)--       The     Administrative Procedure Act (APA) governs the

        administrative procedures implemented by any executive branch agencies,

        such as the Department of Homeland Security(DHS)ant its agencies. Title

        5 of the United States Codes governs the APA administrative procedures.

        Therefore the immigration administrative law judges are required to

        conduct proceedings in accordance with section 551--559 of the United

        States Codes of Title 5 (5 USC-Sec. 551--559). Based on such stated fact

        the public servants of the Executive Branch also has, under "Oath"-5


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        USC-Sec. 3331- a "Duty" to observe with care constitutional parameters.

        In fact the government in general has no power of discretion       ...   all

        government"s public servants are creatures of the law, so every action they

        make has to be under the parameters of the law, constitutionally and

        administratively, including observing "Ethical" standards. ... So there

        is no room for discretion.     ...   So when immigrants requested for

       "Asylum"      why they are taken to a private interview named as:

       "Reasonable Fear Findings" instead of giving them the Application From-

        I-589- without being interrogated ... the "Asylum" is an "International

        Treaty" which according to the "Fundamental Law" is a constitutional

        right for those an need of life protection ... the government affirm that

        there is no constitutional right to asylum   ... that asylum is granted by

        statute to foreign nationals ... that asylum is a discretionary relief ...

        that asylum is not a ""matter of right under any circumstances but rather

        in al cases a matter of grace". ... The government honestly believe that

        the United States of America is a Monarchy. ... There is no other way to

        interpret their statements and actions. ...    The fact is that the United

        States of America has the most wonderful fundamental Instrument in the

        World an Instrument that contemplated the Human Rights unfortunately

        the evils of corruption are taken away those fundamentals         injuring




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        innocent people therefore guilty of an "Internationally Wrongful

        ACt" that requires full reparation. ... "Injury includes any damage,

        both material and non-material, caused by the Internationally Wrongful

        Act ... the criteria for reparation established by public international law

        al'e: "ReStltUt1011"     "COC1l~eClSatlOil" ...     `~Ke~labl~ltc`1f10I1" ...


        and "Satisfaction" ... and "Guarantees of non-repetition". ...

        Now Plaintiff was behind bars in a private institution f'or 8 months ...

        placed there by the government      ...   for the administrative procedures

        given to immigrants but such private institution forced Plaintiff to work

        for one dollar der day, in fact, this criminal action is under the consent of

        the government ... this action is one of the most hated by the "Human

        Rights" ... tens of thousands of immigrants were and are suffering this

        malicious act—slavery—prohibit by the US Constitution Article of

        Amendment XIII.        ...    Also the administrative procedures given to

        immigrants is in direct violation of the Bill of Rights causing therefore pain

        and suffering to innocent people in search of wellbeing, to wit:




                           FIRST CAUSE OF ACTON




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        "Conspiracy to Defraud the United States"

        The government, public attorneys, not-for-profit organizations, and

        private corporations, in conspiracy with one and other maintain tens of

        thousands of immigrants behind bars, in private institutions, for months

        and years for the sole purpose of private gain ... therefore defrauding

        the United States with billions of dollars, in violation of United States Codes

        of Title 18, and others, and undermining constitutional parameters. This

        conspiracy has been going on for very long time, causing irreparable

        injuries to immigrants.


        The government, public attorneys, not-for-profit organizations in

        conspiracy with one and other manipulates the immigration administrative

        procedures for the sole purpose to impose their will ... protecting private

        gain, maintaining tens of thousands of immigrants behind bars under

        slavery   ... under extortion    ...   kidnapped for exploitation therefore

        under torture ... discriminated for being immigrants. ... This horrific

        actions undermines constitutional parameters, as well as the congressional

        United States Codes ... in violation of the government's "Oath of Office"

        where they sworn to "Faithfully execute the Laws of the united States",and

        to "Respect and Protect the Constitution".         ...   Causing irreparable




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        injuries to immigrants and to International Treaties made for the

       "Protection of the Human Rights";




                        SECOND CAUSE OF ACTION

                        "OBSTRUCTION OF JUSTICE"


        Obstruction of Justice is a "Tyrannical" action against "Human Rights"

        there is many forms to obstruct justice ... and there is many reasons as

        well, in this "Civil Complaint" ... "Private Gain" is the purpose, to wit:




        a)- In this private detention centers where immigrants are deprived of

        their freedom, according to the government, for proper "Due Process of

        Law" ... when in fact is for "Private Gain" ... One hour der day five

        days per week access to the law library ... a law library that it is deficient

        for legal research. ... Copies for legal instruments that are required by

        the court are made upon request ... but immigrants have no control of

        their legal documents      ...   and copies are made according to their

        discretion and under totally scrutiny ... a clear "obstruction of justice";




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        b)- Legal Mail is always tampered         ...   opened not in front of the

        immigrant     ...   taking the envelops from their legal mail, legal mail

        always under their scrutiny and control, in fact, the officers hold the legal

        mail for weeks so immigrants cannot comply with the court"s orders,

        obstructing justice for the sole purpose of proibate gain;




        c)- The immigration administrative law judges manage their duties under

        pure discretion     ...   ignoring constitutional parameters, as well as

        congressional administrative law---5 USC Sec. 551--559 ... ignoring the

        real dilemma of those immigrants that applied for Asylum sending them

        to the slaughter ... a clear obstruction of justice ... also according to

        the BIA immigrants does not have the right to appeal their judgements, but

        immigrants can petition the court of appeals as their only alternative,

        which is totally wrong ... the United States Codes of Title 5 offers many

        administrative remedies due to the fact that it is the administrative law for

        the administration of the business of the executive branch of government,

        but seems that obstructing justice is a common practice;




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        d)- the administrators of the immigration la~~-, private attorneys, not-for-

        profit organizations ... manipulating the immigration administrative law

        as well as the appeal"s rules have taken control of the outcome of the

        immigration cases ... obstructing justice for the sole purpose of private

        gain ... in violation of the United States Codes of Titles 18,5, and others.

        Violations to constitutional parameters ... the Bill of Rights, particularly

        Amendments I, IV, V, VI, VIII, and XIII ;




                        THIRD CAUSE OF ACTION

        VIOLATION TO ARTICLES OF AMENDMENT XIII AND VIII


        Immigrants after detained by ICE and placed behind bars in those private

        institutions they automatically be come part of the internal work force for

        the maintenance and other needs of the institution, some of them get pay

        one dollar per day others 20 dollars per month in violation of Article of

        A mendment XIII-Slavery, supra,         also immigrants that has been

        incarcerated by the federal government for criminal conduct after those

        immigrants finished their sentence then they are delivered to ICE for

        deportation but ICE will place them behind bars again, according to ICE

        for their administrative deportation procedure, some of them          spend



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        months dealing with such administrative procedure       ...   in violation to

        their Human Rights      ...   this criminal action is a proving fact of the

        conspiracy to maintain immigrants for long periods of time in those private

        institutions, the government instead of administrating their deportation

        procedures within the BOP's institutions so ~i~hen the prisoner finished his

        sentence will either immediately be deported or let free in the united States

        respecting Human Rights       particularly from a countr~~ that preaches

        democracy around the World         ...    but private profit became more

        important than Human Rights.




        Plaintiff was for more or less 8 months behind bars under slavery, due to

        the COVID dramatic situation Plaintiff ~i~as partially released by a Court

        order   ...   partially released due to the fact that Plaintiff still under

        physical restraint in violation of the Human Rights ... therefore Plaintiff

        has been under the government detention for more or less five years ...

        five years of cruel and unusual punishment        ...   infliction of mental

        torture, to wit:




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        MEN"S RIGHTS: Men has natural rights ... therefore being all "equal"

        and "independent" no one ought to harm another in his "life" ,"health",

       "liberty", and "property"       ...    therefore no one can be subject to the

        inconsistent, uncertain, unknown,        arbitrary will of men in power

        government, to wit:




        GOVERNMENT POWER: The Constitution of the United States of

        A merica, is a "social order instrument" upon which all the power of the

       "People" resides ...     and offers and reenforce, "Equal Rights" "Equal

        J ustice" to every one regardless of their race, legal status, color, gender,

        religion, nationality, etc.,   ... and in order to protect and secure these

        rights the federal government was created and established. ... Therefore,

        the federal government having no existence but under the Constitution, nor

        any rights, but such as the instrument confers, and those very rights being

        in fact duties   ...   it cannot possess no legitimate power, but such as

        absolutely necessary for the performance of their duties ...      prescribed

        and enjoined by the Constitution.        ...   Its duties became the exact

        measure of i.ts powers. ...          Therefore, under what authority the

        federal government detain aliens and placed them behind bars in



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        private institutions under civil procedures for months and years,

        and under• slavery consented by the government                 ...    under

        deplorable conditions         ...    without observing constitutional

        parameters?       ...    The fact is that there is no lawful power from

        Congress, Executive, or Judicial branches of government to detain

        immigrants without the fundamental standards established for depraving

        any bode of their liberty ... therefore, to suggest that the government has

        the power to detain immigrants for months and years under congressional

        statutory provisions, or immigration"s officers discretion, or from

        precedents-case law ... is to suggest that the government is greater

        then the Constitution from which it was established.

        Plaintiff was placed, for 8 months, in that private institution, by the

        government, where after the fact was stripped of all his constitutional

        rights ... given instead a fake immigration administrative due process

        created for the sole purpose of private gain, supra, on top of this infliction

        of mental distress Plaintiff was enslaved; discriminated; extorted.

        Kidnapped for the sole purpose private gain,supra. ... Plaintiff on March

        2020 presented to the court of Appeals of the Ninth Circuit an "Emergency

        Petition" claiming that his life was in danger due to the COVID-19



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        dilemma and place of confinement, supra, ...       the Cour of Appeals on

        June 2020 granted Plaintiffs requested relief ... Plaintiff has been since

        then under "Detention" ... with an ankle monitor under the supervision of

        the government ...      almost five years under the infliction of cruel and

        unusual punishment. ... Freedom from government custody lies in

        the heart of the liberty that the Due Process Clause protects ...

        that includes protection against unlawful or arbitrary personal

        restraint or detention such it has been and is the torturous

        situation that Plaintiff has being suffering for almost five years.




         Plaintiff is one out of the tens of thousands that has and are suffering the

        same stated torturous discrimination, supra, a torturous discrimination

        that in spite of the fact that is obvious ... evident,supra, the government

        refuse to recognize ... therefore, Plaintiff hereby present this over one

        hundred and fifty pages "Memorandum of Record Complaint" where all

        the supporting "Material Facts" will uncover the violations to the united

        states constitution and bill of rights; conspiracy to defraud the united

        states; fraud upon the court; obstruction of justice; torture; extortion;

        slavery; discrimination; exploitation; kidnapping; infliction of cruel and



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        unusual punishment -- all these criminal conduct for the sole purpose of

        private gain, to wit:   ... where private corporations conspired to make

        billions and billions of dollars out of the exploitation and suffering of

        vulnerable people in search of protection from the "Treaties Agreements"

        made by the United States of America where the United States signing a

       "Contract" agreed to respect "Human Rights" offering           "Asylum"

       "Withholding of Removal" under the Convention Against Torture to those

        an need of life protection ... and the United States government instead

        of honoring such Treaty Agreement conspired to defraud the immigrants

        and the integrity of the United States proffering from this Human Rights

        Treaty, supra, therefore, the United States government is guilty of

        an "Internationally Wrongful Act". ... Therefore, is obligated

        to make full reparation for the injury caused by the

        internationally wrongful act.           Injury ... of course, includes

        any damage, both, material and non-material, caused by the

        internationally wrongful act of the United States of America. ...

        Therefore, we must take into consideration that the criteria for

        reparation     established     by   public international law        are:

       "Restitution" ... "Compensation" ... "Rehabilitation"


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        "Satisfaction" ... and, of course, "Guarantees of non-

        1'epetltlOtl". ...      Reviewing the "Material Facts" hereby presented

        supporting the violations to constitutional parameters, and International

        Treaties Agreements     ... as well as the "Conspiracy" to defraud the

        United States for the sole purpose of private gain causing therefore,

        injuries to immigrants protected by the Human Rights will support a

       "Class Action Complaint" ...        due to the fact that all the immigrants

        detained by the government are suffering the same unlawful consequences,

        but, General Services Defensores de los Derechos Humans &Above A. C.

        -D. D. Villegas- in spite of the fact that to defend human rights is their

        fundamental responsibility considers that a Class Action will be

        tremendously problematic for the government and will create more

        immediate problems then solutions therefore gradually resolving the issues

        in question will be an act of good faith    ...   an act of respect to our

        fundamentals, therefore, those acts that require immediate solution will be

        the following:


         1)-- Reasonable compensation for the "Injury in Fact" that Plaintiff had
        suffered for being enslaved for more or less eight months ... enslaved
        by the corporation GEO GROUP INC.-(aka)-GEO SECURE SERVICES,
        et al, under the consent of the federal government;



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        2)-- Reasonable compensation for the "Injury in Fact" that Plaintiff bad
        suffered for being placed behind bars under "civil process" for more or
        less eight months ...    and for the more or less four years of "arbitrary
        restraint" therefore, under infliction of mental distress;




        3)-- Reasonable compensation for the "Injury in Fact" that Plaintiff had
        suffered for the violation of his Human Rights ... his "Fundamentals"
        those that the President and Attorney General solemnly swore that
        faithfully will protect and defend ... their failure in fact is the cause of
        Plaintiff's suffering ... infliction of mental distress;




        4)--   The negotiation of Plaintiff"s injuries can be defined as soon is the
        government agreed to negotiate ... but if the government disagreed then
        this Civil Action mut be "Classified" so the Jury can resolve the future of
        the immigrants that are and had been under the, supra, stated conditions;




        5)-- If the government agreed to negotiate without a Jury trail then the
        government must with a reasonable time stop the slavery of the immigrants
        behind bars     ...     and those corporations under contract with the
        government for the care of those immigrants          must employ workers
        respecting the established law for the same;




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        6)-- If the government agreed to negotiate without a Jury trail then the
        government must with a reasonable time define the time that under our
        fundamentals and Law is consider not to be "punitive" for the detention
        and placement of immigrants behind bars;



        7)-- If the government agreed to negotiate without a Jury trail then the
        government must with a reasonable time establish administrative
        procedures respecting their fundamentals for those prisoners that are
        deportable and     had finished their sentence so they instead of being
        liberated as their rights required are being placed under detention by ICE
        for the administration of their deportation           in violation of their
        constitutional rights as well of the unnecessary waste of tax money ... the
        solution for this matter is to resolve their deportation two years before their
        due time for their release day ...    so the day of their release be liberated
        in the U S or deported without any infliction of mental distress avoiding
        violations to their fundamentals and saving tax money to the Citizens of the
        US;

        8)-- If the government agreed to negotiate without a Jury trail then the
        government must with a reasonable time establish administrative
        procedures contemplating the deportation as punishment for those
        immigrants that had obtained legal status in the United Staes and has been
        convicted of a crime ...    this punishment has not being contemplated as
        part of their "Plea Agreement" or part of the Jury"s administration of
        justice therefore has been an infliction of cruel and unusual punishment
        or punishment inflicted     without contemplating the Bill of Rights' Due
        Process;


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        9)-- If the government agreed to negotiate without a Jury trail then the
        government must with a reasonable time establish administrative
         procedures allowing immigrants that had requested for "Asylum" to
        immediately obtain the Asylum Application- I-589 as well as an Attorney
        for the protection of their Fundamental Rights, after the fact, had an
        immigration administrative Judge review the Asylum Aplication-I-589 for
         proper evaluation of the presented material facts supporting their claimed
        asylum, including proper administration for their appeals so there is no
        doubt about the judgement made;

        10)-- Immigration is caused by governments" actions ... it is a recognized
        fact that citizens never leave their country or home town unless are forced
        based in their circumstances, in fact that is true considering that
        governments agreed to allowed foreigners corporations to established their
         manufacturing facilities in those poor countries exploding the cheap labor,
        such it has been the situation where corporations of the United States of
        America are taken advantage of such human rights violation, where the
        labor make less then one hundred dollars per week, and that worst part
        about it is that such corporation under fraud avoid given those labors
        health plans ... making their life miserable ... and the result is massive
        immigration to where they think will have a better life. ... So immigration
        is caused by the corrupted governments ... it is not caused by immigrants
        but by the corrupted governments         and what the governments do?
        Blaming the immigrants that are placed behind bars under criminal laws
        that justify punishment ... such as the Law SB4 made by the State of
        Texas which in fact it is totally unconstitutional ... due to the fact that
        this power was given to the federal government and taken from the States



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        of the union     ...    in fact "Legal Notice is hereby given". Stop blaming
        immigrants and take full responsibility for your actions and cure the
        problem caused by the governments "corruption.




        The administration of justice always contemplate the integrity of the
        Human Rights           ...   and the United States was founded under those
        principals     ...     therefore, it is a fact that the evils of corruption had
        penetrated our fundamentals in the administration of justice for
        immigration, after taking notice hereby given,supra, well supported in this
        Memorandum of Record ... it is the government "duty" to immediately
        take action for the correction of such governments"               fundamental
        deficiency.    ...     If the government disagreed than Jury Trial shall be
        schedule as soon as possible.




        EXECUTED THIS FIRST DAY OF APRIL 2024




                                      ~L11~LVLl LA1\Lill\VV LVl LLJ




        S                                 SS// D Damian ~Villegas
                                      LEGAL REPRESENTAIVE OF GENERAL
                                      SERVICES DEFENSORES DE LOS
                                      DERECHOS HUMANOS &ABOVE A.C.




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          POWER OF ATTORNEY
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     KNOW ALL PERSON BY THESE PRESENTS:


           That I, Carlos Antonio Landeros Lopez, hereby makes, constitutes
     and    appoints:   GENERAL      SERVICES      DEFENSORES         DE    LOS
     DERECHOS HUMANOS & ABOVE A.C.,-Dante Damian Villegas
     Lizalde, to be my duly, true, and lawful agent, or lawfully appointed
     Attorney in Fact, granting unto said Attorney in Fact the full power and
     authority to do and perform any and all acts and/or things necessary or
     requisite to be done in furtherance of my interests, granting unto my
     Attorney in Fact a Universal Power of Attorney permitting said
     Attorney in Fact to act as full and for all intents and purposes as I might
     do if I were personally present. This Power of Attorney shall authorize
     my Attorney in Fact to act to manage and conduct all of my affairs and to
     exercise all of my legal rights and powers, including all rights that I may
    - acquire in the future... This power shall not be affected by subsequent
     disability or incapacity of the principal or by lapse of time. All acts done
     by my agent pursuant to this power during any period of disability or
     incapacity or uncertainty as to whether I am dead or alive shall have the
     same affect and insure the benefit of and bind me, my heirs, devisees and
     personal representatives as if were alive, competent and not disabled.


     I hereby ratify all that my Attorney In Fact shall lawfully do or cause to
     be done pursuant to this power. I, Carlos Antonio Landeros Lopez, the
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     principal, sign my name unto this Power of Attorney, this:~~, day of
     January, 2024, and being first duly sworn, do declare to the undersigned
     authority that I sing it willingly, that I executed as my free and voluntary
     act for the purpose expressed in the Power of Attorney and that I am 18
    (eighteen) years of age or older, of sound mind and under no constraint
     or undue influence.




    PrinciPal: Carlos Antonio Landeros LoPez                 /



    I, C.~.A,~-LOa, f~N^T~~10 L~1~11~1Z0~ 1-~~~n this                 day, did
     solemnly,sincerely and truly swear that the various matters and things set
     forth in this legal instrument are true, and that I do this under the pains
     and penalties of perjury.




      ~~~            ~
     Name of erson administerincr                    Title




                                                             See Attached:
                                                              Certificat
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     CALIFORNIA ACKNOWLEDGMENT                                                                                  CIVIL CODE § 1189


       A notary public or other officer completing this certificate verifies onlythe identity of the individual who signed the document
       to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

     State of California                                           1
     County of~IV ~~-~
                     c7~~~                                         J

     On _ d ~ • ~ ✓.!~"t'                           before me,                                                                            i
                    Date n                               A                                Name and Title of,Yhe Officer
     personally appeared
                                                                       Names)of Signers)


     who proved to me on the basis of satisfactory evidence to be th`person(s) whose name( is re subscribed
     to the within instrument and acknowledged to me th the he/they executed the me     sa     i his er/their
     authorized capacit ies), and that b his her/their si qnatUfe(s) on the instrument the person(s), or the entity
     upon behalf of which the erson s) acted, executed the instrument.


                                                                          certify under PENALTY OF PERJURY under the
                                                                        laws of the State of California that the foregoing
                    `SE~~..~\TyF       ASHLEY MENDEZ
                         '"'-      Notary Public -California
                                                                        paragraph is true and correct.
                ~                      Riverside County        ~
                             j°     Commission Jl 2455081               WITNESS my hand and official seal.
                     `'•,•o~~~~ My Comm. F~cpires Jul 25. 2027



                                                                        Signature
              P/ace Notary Seal and/or Stamp Above
                                                          CISiL~I`►/T~
                               Completing this information can deter alteration of the document or
                                fraudulent reattachment of this form to an unintended document.
       Description of Attached D
       Title or Type of Document:
       Document Date:                                                                                     r of Pages:
       Signers) Other Than Named Above:
       Capacity(ies) Claimed by Signers)
       Signer's Name:                                                    Signer's Name:
       ❑ Corporate Officer — Title(s):                                   ❑ Corporate Officer — Title(s):
       ❑ Partner — ❑Limited ❑General                                     ❑ Partner — ❑Limited ❑General
       ❑ Individual            ❑Attorney in Fact                         o Individual            ❑Attorney in Fact
       ❑ Trustee               ❑Guardian or Conservator                  o Trustee               ❑Guardian or Conservator
       ❑ Other:                                                          ❑ Other:
       Signer is Representing:                                           Signer is Representing:



     02019 National Notary Association
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               GS&A-D,VILLEGAS
     CIVIL ASSOCIATION ARTICLES
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            - - - - - - - - - - - WRITING NUMBER - - - - - - - - - - -

            - - - FORTY-EIGHT THOUSAND ONE HUNDRED SEVENTY-NINE - - -

            - - - VOLUME ONE THOUSAND NINE HUNDRED AND SIXTY-TWO - - -

            IN THE CITY OF GOMEZ PALACIO, STATE OF DURANGO, to the (8)

            eight days of the month of August of the year (2022) two
            thousand twenty-two, before me. Mr. OCTAVIANO RENDON ARCE,

            Notary Public Number (3) three and of the Estate Federal
            Real Estate Agent, in office for this District.- - - - - -
            - - - A P P E A R: Messrs. DANTE DAMIAN VILLEGAS LIZALDE,

            JOSE   CANDIDO       ADAME    AGUIRRE,     SUGHEY   GUADALUPE      MARTINEZ

            GONZALEZ AND FP,TIMA CAMPISTA GRANADOS, whose generals will

            be mentioned later.- - - - - - - - - - - - - - - - - - - -

            - - - The appearing parties identify themselves before the
            Undersigned Notary with the documentation indicated in the
            general ones, and whom I consider to have sufficient legal
            capacity     to    contract    and    be   validly bound,    not    knowing
            anything in contrary, of which I attest, as well as that:-
            - - - S T A T E: That they have agreed to formalize a
            CIVIL ASSOCIATION CONTRACT, in the following terms:- - - -
            - - - - - - - - - - - C L A U S E - - - - - - - - - - - -
            - - - SINGLE. The appearing parties whose names have been
            specified, constitute by this act, an ASSOCIATION CIVIL,
            in   accordance       with    the    corporate   statutes,   which     duly
            signed are added to the appendix to this writing, under
            the letter "A", forming an integral part of the same, to
             reproduce    itself    in the testimonies that of the present
             are issued Society has the characteristics that Below are
             mentioned:- - - - - - - - - - - - - - - - - - - - - - - -
            - - -   I.-       DENOMINATION.- "GENERAL SERVICES-DEFENSORES DE

            LOS DERECHOS HUMANOS & ABOVE" ASOCIACION CIVIL.- - - - - -

             - - - II.- ADDRESS.- Gomez Palacio, Durango.- - - - - - -

             - - - III.- DURATION. (99) ninety-nine years.- - - - - - -

             - - - IV.- OBJECT. The corporate purpose will be the one

             It is contained to the letter in the corporate statutes.-
             - - - I attest that in this act the appearing, out loud,
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            said object and express their compliance with the same.- -
            -   -    -    V.     NATIONALITY.-          The     company       is    Mexican.       In
            relationship with foreign investment in the capital of the
            society, the following must be taken into account:- - - -
            -   -   -    a).     Forsign      investment         can    participate        in     any
            proportion in the social capital of the Mexican companies,
            acquire       fixed        assets,    enter         new     fields      of    economic
            activity       or    manufacturing          new     product       lines,     open     and
            operate      establishments,          and    expand        or    relocate     existing
            ones,        without       further     reservations,             modalities,          nor
            exceptions other than those indicated by the fifth, sixth,
            seventh       and     eighth      articles          of     the    Law   of     Foreign
            Investment and applicable transitional periods.- - - - - -
            - - - b) The Company must ensure that its object in the
            future       does    not    invade    the    activities          reserved     for     the
            State, the which are contained in the fifth article of the
            Law of Foreign Investment and must also monitor whether,
            in its case, the minimum of this must be increased, in the
            cases contained in the sixth, seventh and eighth articles
            of the Foreign Investment Law and applicable transitional
            provisions.- - - - - - - - - - - - - - - - - - - - - - - -
            - - - c)        For foreign investment to participate in more
            than     forty-nine         percent    in     the        share    capital      of     the
            company that carries out any of the                         activities that are
            contained in the eighth article of said Law, it wi11 be
            required       obtain       the   authorization            referred     to    in    said
            provision The same applies to the cases provided for in
            the article nine of the aforementioned Law.- - - - - - - -
            - - - d)        Current or future foreign shareholders of the
             company,      are    obligated       before        the    Secretary     of    Foreign
             relations to be considered as national regarding:- - - - -
            - - - I.- The shares they acquire in the company:- - - - -
            -   -   -    II.-    The     assets,    rights, concessions,                 shares    or
            interests owned by the society, and;- - - - - - - - - - -
            - - - III.- The rights and obligations derived from the
             contracts to which the company itself is a party no longer


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            invoke        for    the    same    the     protection             of their governments
            under the penalty, otherwise, of losing to the benefit of
            the Nation the rights and assets that they have acquired.-
            - - - - - - - - TRANSITIONAL RESOLUTIONS - - - - - - - - -
            -    -    -   The     grantors       constituted              in    the     First   Assembly
            General of associates, unanimously take the following:- -
            - - - - - - - - - - A G R E E M E N T S - - - - - - - - -
            - - - FIRST.- It was unanimously agreed that the Board of
            Directors is formed as follows:- - - - - - - - - - - - - -
            - - - PRESIDENT: DANTE DAMIAN VILLEGAS LIZALDE.- - - - - -
            - - - VICE PRESIDENT: SUGHEY GUADALUPE MARTINEZ GONZALEZ.-
            - - - SECRETARY : JOSE CANDIDO ADAME AGUIRRE . - - - - - - -
            - - - TREASURER: FATIMA CAMPISTA GRANADOS.- - - - - - - -
            - - - Likewise, the                 grantors constituted in this act in
            General          Assembly          agreed        to       grant       the      Council      of
            Administration             composed of Messrs. DANTE DAMIAN VILLEGAS
            LIZALDE,         JOSE      CANDIDO       ADAME        AGUIRRE,        SUGHEY        GUADALUPE
            MARTINEZ GONZALEZ and FATIMA CAMPISTA GRANADOS powers set
            forth in the Thirtieth Article of the Social Bylaws which
            are      reproduced         here    as    if     the      letter      were     inserted     in
            obvious repetitions.- - - - - - - - - - - - - - - - - - -
            - - - SECOND.- SOCIAL EXERCISES.- For all purposes, it is
            established that the assembly of associates, has the power
            to set or modify the start and end dates of the exercises
            social, and will begin and end as determined the Ordinary
            Assembly of Associates and being constituted the same, it
            is    established           that    they    will         be    for    one    calendar      year
            that      will      count    from    the first day (1st)                    of January to
            (31st)        December        thirty-first              of     each       year,     with   the
            exception of this first fiscal year that wi11 begin on the
            date of signing of this deed and it will end on December
            (31) of (2022) two thousand twenty-two.- - - - - - - - - -
            - - - THIRD.- The associates state that in the expression
            of       their      wills,     there        is      no        error, fraud, injury          or
            violence, nor any vice in the formation of their consents
            and      with       manifest       waiver      of     the      jurisdiction         that   may


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            correspond          to    them     by    reason     of   their      domicile       in   the
            present       or     in the       future, submit to the               courts of this
            City, and the Laws that govern the State of Durango, for
            the interpretation and compliance of this contract.- - - -
            - - - - PERMISSION FROM THE SECRETARY OF ECONOMY - - - - -
            -    -    -    The       respective       permission         of     the    Ministry       of
            Economy, will be added to the appendix of this deed, under
            the letter "B", and will be reproduced in the testimonies
            of the present are issued.- - - - - - - - - - - - - - - -
            - - - - - - - - - - - G E N E R A L - - - - - - - - - - -
            - - - The appearing parties demonstrate for their generals
            Under Protest of Telling the Truth, each, the following:-
            -    -    -    Mr.        DANTE       DAMIAN    VILLEGAS          LIZALDE,       Mexican,
            businessman,             single,      originally      from      Encino     de     la    Paz,
            Municipality of Ocampo, Durango, with date of birth on the
            thirteenth day of December of the year (1976) one thousand
            nine     hundred          and    seventy-six,         with      address     at    Avenida
            R yerson      number       (331)      three    hundred       thirty-one,         (6)    six,
            Central       Zone,       in    the     City of Ensenada, Baja California,
            Postal Code (22800) twenty-two thousand eight hundred, and
            transit in this City, up to date with the payment of the
            Income Tax, without having accredited it, and who identify
            yourself           with     your      photo    voting        card    issued       by     the
            National Electoral Institute with number 2107219534 (two,
            one, zero, seven, two, one, nine, five, three, four), OCR
            0048127867374             (zero, zero, four, eight, one, two, seven,
            eight,        six,        seven,      three,      seven,     four),        with     Unique
            Population Registry Code VILD761213HDGLZN09 (letters V, I,
            L, D, seven, six, one, two, one, three, letters H, D, G,
            L,   Z,       N,    zero,       nine),     with     Federal       Taxpayer        Registry
            number VILD761213RLA (letters V, I, L, D, seven, six, one,
            two, one, three, letters R, L, A).- - - - - - - - - - - -
            -    -    -        Attorney        SUGHEY      GUADALUPE          MARTINEZ GONZALEZ,
            Mexican,            single,           originally         from       Ensenada,           Baja
            California, with date of birth on the twenty-third (23rd)
            April     of the          year    (1997)      one   thousand        nine   hundred and


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             ninety-seven, with address in Pedro Fabian number (333-3)
            three hundred thirty-three dash three, from Colonia Punta
            Banda       3    Ensenada,          Baja     California, and traffic in                      this
            City, current in the payment of Income Tax, without check
            it, who identifies himself with Voting Credential number
            1878746791            (one,       eight, seven, eight, seven,                     four, six,
            seven, nine, one) OCR 0116099886577 (zero, one, one, six,
            zero, nine, nine, eight, eight, six, five, seven, seven),
            issued by the               National        Institute Electoral,                 with       Unique
             Population Registry Code MAGS970423MBCRNG00 (letters M, A,
            G, S, nine, seven, zero, four, two, three, letters M, B,
            C,     R,       N,    G,    zero,        zero),       and     with     Record     Federal      of
            Taxpayers number MAGS970423J69 (letters M, A, G, S, nine,
            seven, zero, four, two, three, letter J, six, nine).- - -
            - - - Mr.              JOSE    CANDIDO ADAME AGUIRRE,                      Mexican, lawyer,
            married,             originally       from       Francisco           Zarco,     Municipality
            from        Canatlan,          Durango,          with        date     of    birth      on     (23)
             twenty-third              June     (1956)       one     thousand       nine     hundred       and
            fifty-two            six,     with       address       at     Calle     Paseo    De    La     Lava
             number         (35)       thirty-five,          from        the    Rincon      Del    Pedregal
             subdivision            (1)        one,     Postal           Code    (35014)     thirty-five
             thousand fourteen, of this City, up to date in the payment
             of the Income Tax, without having accredited it and who
             identify            yourself with          your photo voting card issued by
             the    National           Electoral        Institute           with    number      1744479703
             (one, seven, four, four, four, seven, nine, seven, zero,
             three), OCR 0449013538556 (zero, four, four, nine, zero,
             one,    three,         five,       three,       eight, five, five, six), with
             Unique         Registration              Code    Population            AAAC560623HDGDGN08
             (letters        A, A, A, C, five, six, zero, six, two, three,
             letters         H,    D,     G,    D,     G,    N,    zero,        eight),     with    Federal
             Taxpayer Registry number AAAC560623JC3 (letters A, A, A,
             C,     five, six, zero, six,                     two,         three,      letters      J,      C,
             three).- - - - - Miss FATIMA CAMPISTA GRANADOS, Mexican,
             single, originally from this City, with the date of birth
             on    (24) twenty-fourth                  of    September, (1999)              one    thousand


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            nine hundred ninety-nine, with domicile at Rumania Street
            number (120) one hundred and twenty, in the Colony Nuevo
            Los Alamos, Postal Code (35027) thirty-five one thousand
            twenty-seven, of this City, up to date in the payment of
            the     Income    Tax,    without        having      been    accredited       and    who
            identifies        himself       with       his      credential       to    vote     with
            photograph issued by the National Electoral Institute with
            number 1651320400 (one, six, five, one, three, two, zero,
            four, zero, zero), OCR 0445119252722 (zero, four, four,
            five, one, one, nine, two, five, two, seven, two, two),
            with     Unique    Registry         Code    Population        CAGF990924MDGMRT00
            (letters C, A, G,              F, nine, nine, zero, nine, two, four,
            letters     M,    D,     G,    M,   R,     T,    zero,      zero),    with    Federal
            Taxpayer Registry CAGF990924FZ5 (letters C, A, G, F, nine,
            nine, zero, nine, two, four, letters F. Z, live).- - - - -
            - - - I. THE UNDERSIGNED NOTARY, STATE AND ATTENTION:- - -
            - - - a).-        The     truth     of the act. - - - b).- That the
            appearing parties were identified with the documentation
            indicated in its              generals and whom I conceptualize                     with
            the sufficient legal capacity to carry it out.- - - c).-
            That I have had in view the documents of which has been
            mentioned        and     that       everything         related       and     inserted
            faithfully agrees with its originals to which referd.- - -
            d).- That I warned those appearing of the obligation that
            they     have    to    present      the     Testimony        that    This     Deed    is
            issued     in     the     Public         Registry      of     the     Corresponding
            property for registration in the Respective section.- - -
            e).- That I           read this deed to those appearing and well
             taxes    of     their        value,      force      and     legal        consequences
             thereof, with its content agree, ratifying it and signing
            it before me.- I attest. - - - - - - - - - - - - - - - - -
            DANTE     DAMIAN       VILLEGAS        LIZALDE.-         Illegible        signature.-
             SUGHEY GUADALUPE MARTINEZ GONZALEZ.- Illegible signature.
             JOSE    CANDIDO ADAME AGUIRRE.- Illegible signature. FATIMA
             CAMPISTA GRANADOS. Illegible signature.- - - - - - - - - -
             Dated (H) August eight of the                      year    (2022)    two thousand


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            twenty-two, I definitively authorize with my signature and
            seal the writing that precedes, by virtue of having been
            signed the same.- I attest.- - - - - - - - - - - - - - - -
            LIC. OCTAVIANO RENDON ARCE.- NOTARY PUBLIC NO. 3 AND OF
            FEDERAL           REAL    ESTATE    ASSETS.-         illegible        signature.-          Seal
            Authonze of the Notary.- - - - - - - - - - - - - - - - - -
            - - - - - - - - - - APPENDIX DOCUMENTS - - - - - - - - - -
            - - - - - - - - - - - ANNEX LETTER ••A•• - - - - - - - - - -
            - - - - - - - - - - - S T A T U T E S - - - - - - - - - -
            - - - - - - - NAME, ADDRESS, DURATION, PURPOSE - - - - - -
            - - - - - - - - - - - FIRST ARTICLE - - - - - - - - - - -
            -     -       -        The     association          will       be     called        "GENERAT•

            SERVICES-DEFENSORES DE LOS DERECHOS HUMANOS & ABOVE", must
            go    followed           this    denomination           of    the    words      "ASOCIACION
            CIVIL",           or    its    abbreviations         "AC"      and    is   defined         as   a
            Organization of Civil Society with purposes predominantly
            educational, social and welfare, non-profit, nor partisan
            proselytizing poltical-electoral or religious and will not
            accommodate             within to any discrimination of a religious,
            social or racial.- - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - - SECOND ARTICLE - - - - - - - - - - -
            - - -         The       registered      office of the              association for all
            social effects, wi11 be in this Cry, being able to carry
            out      its      programs,        projects      or       activities       in     any    other
            place      of      the        Mexican    Republic         without     for     this      reason
            understand that your address has changed.- - - - - - - - -
            - - - - - - - - - - - ARTICLE THREE - - - - - - - - - - -
            -    -    -       The    duration       of    the     Association          will     be     (99)
            ninety-one              nine    years,       starting        from    the     date     of    the
            articles of incorporation of the Asociation.- - - - - - -
            - - - - - - - - - - - - - - - - - - ARTICLE FOUR - - - - -
            - - - - - - - - - Taking into consideration that human
            rights are the set of prerogatives supported by the human
            dignity, the effective                   realization          of which is essential
            for      the      integral       development         of      the    person,     and     taking
            into      consideration            that       this      set    of     prerogatives          are


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            established within the order national legal system, in the
            Political         Constitution,           treaties        international       laws    and
            laws,          human     rights       are     characterized         by    having     four
            principles that govern it:- - - - - - - - - - - - - - - - -
            - - - l.-              UNIVERSALITY:        Human        rights correspond to all
            people         equally regardless of condition socio-economic or
            political. - - - - - - - - - - - - - - - - - - - - - - - -
            - - - 2.- INTERDEPENDENCE: Each human right is seen linked
            with      others,        which      implies that respect and exercise of
            one, is also for other rights.- - - - - - - - - - - - - -
            - - - 3.-INDIVISIBILITY: Human rights have a indivisible
            character, since they are only possible in a joint. They
            are also inherent to human beings.- - - - - - - - - - - -
            - - - 4.- PROGRESSIVITY: Refers to the fact that human
            rights          They    evolve      together       with     society      always    taking
            into consideration the pro persona principle. it implies a
            prohibition on their retreat.- - - - - - - - - - - - - - -
            - - - Human Rights and the Criminal Procedure, with the
            "new" accusatory criminal system, it seeks to watch over
            and       protect       in    the    most    appropriate          way possible these
            rights for all the people involved in it. Both the victims
            how       the    accused       enjoy      these     rights during the         criminal
            process, which guarantees prompt justice, appropriate and
            expeditious            with    the     sole    purpose       of    safeguarding      your
            integrity and to clarify the facts as established by the
            Mexican legislation.- - - - - - - - - - - - - - - - - - -
            - - - In the Political Constitution of the United States
            Mexicans, article 20, section B of the Constitution Policv
            of     the       United       Mexican       States,       contemplated      the     human
            rivhts of the Accused:- - - - - - - - - - - - - - - - - -
            -     -    -     Presumption         of     innocence:       Only     until   declared
            otherwise by means of a sentence issued by a judo.- - - -
            - - -           One    of the       novelties       of the Accusatory Criminal
             S ystem, launched several years ago, is the presumption of
             the innocence of person as a rule during the trial process
             trial,         and    will    only    be     called      guilty    until a       judge   I


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            dictated it.- - - - - - - - - - - - - - - - - - - - - - -
            - - -            Under      the   Mandela        rules,      the     National Commission
            Human        Rights         monitors       and      advocates       for    the       respect       of
            human        rights         of    those       accused       and    sentenced.         The       rules
            establish that inmates must enjoy security, decent living
            conditions within the center penitentiary, as we11 as the
            right        to       work,      training for         work, sports, education                     and
            health to achieve social reintegration.- - - - - - - - - -
            -   -    -       Also       article     20, section           C    of     the    Constitution
            establishes the rights of the victim or of the offended:-
            -   -    -       In    commemoration           of    the     100     years      of    the       human
            rights           in    the     Mexican        Constitution,          the     then      executive
            secretary             of    the    CNDH,       declared       that      the protection             of
            human            rights           has      been        strengthened              with           rules
            international that they complement and enrich the national
            ones.-       - - - - - - - - - - - - - - - - - - - - - - - - - -
            -   -        -        A11     authorities           within        the     scope       of        their
            competencies, they have the obligation to promote, respect
            protect and guarantee the human rights set forth in favor
            of the individual.- - - - - - - - - - - - - - - - - - - -
            -   -        -    Therefore,            the    Association           will       have       as     its
            objective social:- - - - - - - - - - - - - - - - - - - - -
            - - - 1. The association is non-profit in nature, since It
            is not predominantly economic in nature.- - - - - - - - -
            - - - A) The association wi11 ensure that the accused has
            Right to a defender or lawyer.- - - - - - - - - - - - - -
            - - - B) He                 will monitor because he has the right to a
            defense appropriate by the lawver, who wi11 freely choose
            even from the moment of his arrest.- - - - - - - - - - - -
            - - - C).- Will ensure that the accused are applied the
             rules       of        1a w,      and    therefore          cannot      be      subjected          to
             a rbitrary            detentions         where      the     integrity          is     respected
             staff.- - - - - - - - - - - - - - - - - - - - - - - - - -
            - - - D). This right protects the accused from not being
             subjected             to        torture       or     ill-treatment,              inhuman          or
             degrading.- - - - - - - - - - - - - - - - - - - - - - - -


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            - - - E) The Law will be monitored to ensure that a legal
            detention.- - - - - - - - - - - - - - - - - - - - - - - -
            - - -        F)    Will       ensure      that the          right is applied to the
            accused be informed about                       your rights and the facts that
            are     available           to    you    charged,       from       the   moment    of their
            arrest until their appearance with the Public Ministry.- -
            -   -   -    G)        Will      ensure    that      the     Law    is    applied       to    the
            accused to be informed about the data you request for your
            defense and that they appear in the process.- - - - - - -
            -   -   -    H)        Will      ensure    that      the     accused      is    informed         of
            everything about his Accusatory Criminal process.- - - - -
            - - - I)           Will ensure            that    the      accused has the right to
            have access to legal assistance since arrest.- - - - - - -
            - - -        J)    Will ensure            that the accused               has a    prosecutor

            impartial and objective during the process.- - - - - - - -
            -   -   -    K)        Will    inform     the     accused      of    the       right    not      to
            declare (to remain silent).- - - - - - - - - - - - - - - -
            - - - L)           The      right       of the       accused to declare or remain
            silent       without             this    being       able    to     be    used     to      their
            detriment.- - - - - - - - - - - - - - - - - - - - - - - -
            - - - M)           The right of the                  accused to be compensate for
            judicial error. This will be granted to the charged only
            if there was some moral damage or it was declared guilty
            despite       being           innocent      and       will    have       the    right       to    a
            appeal. - - - - - - - - - - - - - - - - - - - - - - - - -
            - - - N) Right to be provided to the accused immigration
            assistance when it is of another nationality.- - - - - - -
            - - - N) Support the accused to the Right to reintegration
            social.- - - - - - - - - - - - - - - - - - - - - - - - - -
            -   -   -    0)        Seek      Defense,       Promotion and research                of    Human
             Rights,          as     well      as     the    study       by     media       electronics,
             induction             to     Human       Rights,          everything          from        gender
             perspective all non-profit.- - - - - - - - - - - - - - - -
            -   -    -    P)       Work      together       to    combat       violations      of       Human
             Rights, and given the lack of knowledge of the themselves,
             help the most needy sectors of the population.- - - - - -


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            -     -   -    Q)      The     defense         of    Human    Rights;        and    performing

            functions              whose     essential             objective        is     defense         and

            observance             of     Human       Rights,          promoting      complaints           and

            orientation.- - - - - - - - - - - - - - - - - - - - - - -
            - - - R)            Perform functions                 whose essential objective is
            the       promotion,         study        and       dissemination       of    Rights      Humans

            and special programs.- - - - - - - - - - - - - - - - - - -
            - - - S) Perform functions                            whose essential objective is
            research          and       academic          exchange      on    the   Human      Rights      and

            whose         description           is    found       in    the     National       Center      for

            Human Rights.- - - - - - - - - - - - - - - - - - - - - - -
            - - - T)               Provide education, induction and study of the
            Human         Rights,         and        by    electronic         means      at     the    level

            primary, secondary, high school, university, postgraduate
            and conferences designed for the most needy sectors.- - -
            - - - U) Social work and social help to different sectors
            of the population.- - - - - - - - - - - - - - - - - - - -
            -     -       -     V)       Links        with        international          organizations,

            educational               authorities               and      federal         and     municipal
             governments state and foreign governments.- - - - - - - -
            - - - W) The common of our                             proposals and projects, are
             democratic,             inclusive,           non-profit,         and   They       may    be   tax
             deductible.- - - - - - - - - - - - - - - - - - - - - - - -
            -     -    -      X)     Raise      promotion          at     the    educational          level,
             professional            and comprehensive of all people, especially
             the most unprotected and economically weak.- - - - - - - -
             - - - Y) The association will have as its field of action
             the urban and rural sectors in the municipality, state and
             level international; k) the defense by the association of
             Human        Rights,        without          distinction of persons,               respecting
             and promoting the principles that govern the Human Rights
             as       universality,              interdependence,               indivisibility             and
             progressivity.- - - - - - - - - - - - - - - - - - - - - -
             - - -         Z).      Raise and         disseminate moral values and civic
             rights,          family integration, the fight against addictions
             and pandemic diseases:- - - - - - - - - - - - - - - - - -
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            - - - Z.1) The association may be a partner in companies
            of private or mixed public services and/or participate in
            any       type       of     association         such      as    temporary         unions      or
            consortia and in general associate with third parties for
            the       creation          or     not     of     new     legal       entities          or   for
            participate in existing ones that aim to provision of the
            services or activities stated, including participation in
            corporate pledges future.- - - - - - - - - - - - - - - - -
            - - - - - - - - - - - ARTICLE FIFTH - - - - - - - - - - -
            - - - The Civil Association is of Mexican Nationality.- -
            - - - - - - - - CAPITAL OF THE ASSOCIATION - - - - - - - -
            - - - - - - - - - - - - ARTICLE SIX - - - - - - - - - - -
            -     -    -     The       association          does      not    have       share       capital

            determined and will be held:- - - - - - - - - - - - - - -
            - - - a) For entry fees, maintenance, support, etc., that
            the General Assembly of the Civil association.- - - - - -
            -   -     -    b)     For    aid,       sponsorships,           donations,        etc.       that
             receives           from     its       associates         or    from    third       parties,
             natural or moral, public or private.- - - - - - - - - - -
            - - - c) For the use of movable property and real estate
            that you acquire by any legitimate title.- - - - - - - - -
            - - - In any case, it is                         agreed by this Assembly "that
             will     allocate          all    of    their     income       to    the    purposes         for
             those        who    were     created.      This        provision       is   of     a    nature
            irrevocable".- - - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - - - ARTICLE SEVEN - - - - - - - - - -
            - - - The             patrimony of the             association, its assets                    and
             income,         including         public        support        and     incentives           that
             received, will be used exclusively for the purposes of the
             corporate          purpose       of     the Association, not being able to
             grant        benefits       on    the    remainder        distributable           to    person
             any      person       or    its    members,        natural       persons      or       morals,
             unless it concerns, in the latter case, some legal entity
             authorized to receive deductible donations in terms of the
             Income        Tax     Law    or    deal        with    remuneration         for    services
             effectively           received. The            association may not distribute


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            among        its     associates,     remnants        of    public          support      and
            incentives that             you   receive. What is stipulated in this
            provision is irrevocable nature.- - - - - - - - - - - - -
            - - - The Association lacks founding assets, will have the
            following resources:- - - - - - - - - - - - - - - - - - -
            - - - 1°.- Entry fees.- - - - - - - - - - - - - - - - - -
            - - -         2°.-    The    monthly/annual        installments             set    by   the
            General Assembly.- - - - - - - - - - - - - - - - - - - - -
            - - - 3°.- Subsidies from official organizations that in
             your case can perceive.- - - - - - - - - - - - - - - - - -
            - - - 4 °.- Donations that may be free of charge receive,
            as     well     as    inheritances       or    legacies         from       entities      or
            individuals.- - - - - - - - - - - - - - - - - - - - - - -
            - - - 5°.- With the acquisition of goods for any title,
             whether by purchase or sale of donations or even by chance
            of the Fortune.- - - - - - - - - - - - - - - - - - - - - -
            - - - 6°.- With the income received by the association for
             any other concept.- - - - - - - - - - - - - - - - - - - -
            -    - -      7°.-    With the     economic benefits              of the          programs
            socioeconomic assistance and self-employment.- - - - - - -
            - - - - - - - - - - OF THE ASSOCIATES - - - - - - - - - -
            - - - - - - - - - - - ARTICLE EIGHTH - - - - - - - - - - -
            -    -   -    The     Association       will   be     made      up     of    associates
            founders, active associates, collaborating associates and
             honorary          associates,          according          to        the      following
             Specifications: - - - - - - - - - - - - - - - - - - - - -
            -    -   -    a)     Founding     Associates:        are    the      associates         who
             appear for the constitution of the association.- - - - - -
            - - - b) Active Associates: are those people collaborators
             with     the      Civil    Association,       which       due    to       its     special
             contribution are considered as such at the request of the
             Founding Associates and/or other Active Associate.- - - -
             - - - c) Collaborating Associates, these are the people
             who     after     having    collaborated       in    the programs,               projects
             and     activities         of    the    Association,            are       accepted      as
             Collaborating Associates for the General Assembly of the


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            Association.- - - - - - - - - - - - - - - - - - - - - - -

            -    -    -    d)   Honorary        Associates:         are    the      people     who,   for

            their         special        merits       or    for     collaboration              with   the

            Association, are accepted as such by the Assembly General

            of       Associates         and/or    the      Administrative           Council      of   the

            Association.- - - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - - - ARTICLE NINTH - - - - - - - - - -

            - - - The following will be requirements to be accepted as

            an associate: asset;- - - - - - - - - - - - - - - - - - -

            - - - a)            Submit a        formal application for incorporation,

            alter         having    actively       participated           as    a   collaborator       of

            the       Association         and     comply     with     the      provisions        of   the

            present statutes              and     other     requirements indicated by the

            General Assembly of the Association.- - - - - - - - - - -

            - - - b)            To be a Collaborating Associate: Submit formal

            application           and    receiving the         process of induction given

            b y the Association and having collaborated satisfactorily
            in any Association program, comply with these statutes and

            other requirements that indicated by the General Assembly
            of the Association..- - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - - - ARTICLE TEN - - - - - - - - - - -

            -    -    -     The    Associates          included      in     the      classifications

            mentioned           above or those established in the future, will

            be obliged to the following:- - - - - - - - - - - - - - -

            - - - a) Comply and enforce the statutes and regulations

            of    the      Association          and    contribute to the             development of

            its programs and the achievement of its corporate purpose.

            -    -    -    b)     Promote       and    preserve      the       spirit     of    loyalty,

             integration            and         mutual       help          among          members      of

             the Association.- - - - - - - - - - - - - - - - - - - - -

            - - - c) Defend and disseminate through the media at your

             disposal.          achieve     the       principles,     goals         and   programs     of

             the Association.- - - - - - - - - - - - - - - - - - - - -
            - - - d) The other duties and obligations indicated by the

             General Assembly of the Association.- - - - - - - - - - -
             - - - - - - - - - - - ARTICLE ELEVEN - - - - - - - - - - -


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            - - - These                    are    the    rights      of the       Active    Members, the
            following:- - - - - - - - - - - - - - - - - - - - - - - -
            - - - a) Participate with voice and vote in the Assemblies
            General of the Association.- - - - - - - - - - - - - - - -
            - - - b) Have priority to occupy management positions and
            advisory             services          for    which      they   are    designated          by    the
            General             Assembly          of     the    Association         or     the    Board       of
            Directors.- - - - - - - - - - - - - - - - - - - - - - - -
            - - - c) Have priority to represent the Association, prior
            appointment by the General Assembly of the Association or
            the Board of Directors, in the different organizations and
            events in which you participate.- - - - - - - - - - - - -
            -     -    -        d)    The    other       rights      indicated       by     the    Assembly
            General of the Association.- - - - - - - - - - - - - - - -
            - - - - - - - - - - - ARTICLE TFIELFTH - - - - - - - - - -
            - - - These are the rights of the Collaborating Associates
            following:- - - - - - - - - - - - - - - - - - - - - - - -
            - - - a) Participate with voice, but without the right to
            vote, in the General Assemblies of the Association.- - - -
            -     -    -     b)      Occupy        management        and    advisory       positions         for
            which are designated by the General Assembly or the Board
            of Directors.- - - - - - - - - - - - - - - - - - - - - - -
            - - - c)                 Represent the         Association,           upon    appointment in
            the            different             organizations            and     events,         of        which
            participate that one.- - - - - - - - - - - - - - - - - - -
            -     -    -        d)    The        other    rights      indicated      by     the    Assembly
            General and the Board of Directors.- - - - - - - - - - - -
            - - - - - - - - - - ARTICLE THIRTEENTH - - - - - - - - - -
            -     -         -        The    quality        of      Associate        in      any        of     the
            classifications                      noted    in    the       ninth     article       of        these
            statutes,                is    acquired      by    the    reasoned      presentation             that
            make the candidate a Founding and/or Active Associate who
             is       in    full          enjoyment      of    his    rights      and    the      respective
             approval of the General Assembly of the Association.- - -
            - - - - - - - - - - ARTICLE FOURTEENTH - - - - - - - - - -
            - - - The General Assembly of Associates may regulate the


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            form, terms and conditions of admission and acceptance of
            new Associates.- - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - ARTICLE FIFTEENTH - - - - - - - - - -
            - - - The resignation or withdrawal of any Associate will
            be made effective through written communication, signed by
            the       Associate in        case    of    voluntary retirement              or    by the
            Council Director if the Assembly has so agreed General of
            the Association.- - - - - - - - - - - - - - - - - - - - -
            - - - - - - OF THE ASSOCIATION ADMINISTRATION - - - - - -
            - - - - - - - - - - - ARTICLE SIXTEENTH - - - - - - - - -
            - - - The Association will be managed and directed by the
            following organizations:- - - - - - - - - - - - - - - - -
            - - - a).- The General Assembly of the Association.- - - -
            - - - b).- The Board of Directors.- - - - - - - - - - - -
            - - - - - - - - - - - ARTICLE SEVENTH - - - - - - - - - -
            -     -     -    Any     associate          who        stops     belonging         to   the
            Association,           voluntarily or by agreement of the Assembly
            General for           lack     of compliance             with the    statutes       social
             and other obligations,                   will    not have the        right to claim
            the        return       of     the    part        of      the    capital      that      has
            contributed.- - - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - ARTICLE EIGHTEENTH - - - - - - - - - -
            - - - The General Assembly of the Association is the body
             supreme of the              Civil Association             and wi11 be made up of
             the founding associates and active associates, who are day
             in the fulfillment of their obligations, which They will
             have the right to participate with voice and vote in it.-
            - - - - - - - - - - ARTICLE NINETEENTH - - - - - - - - - -
             -    -    -    The     General      Assembly            will   be   chaired       by   the
             President of the Board of Directors of the Association or,
             failing        that,    by the       person       designated        by the    Board of
             Directors or by that that the Assembly itself elects and
             will serve as Secretary designated by the Assembly.- - - -
             - - - - - - - - - - ARTICLE TWENTIETH - - - - - - - - - -
             - - - For the validity of the resolutions adopted by the
             General         Assemblies          of     the      Association,       Ordinary         or


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            Extraordinary,          a      quorum      of    attendance          of    the        (750}
            seventy-five          percent        of   Associates       Founders       and        Active
             under     the     first call        of (510) fifty-one          percent of the
            Associates Founders and Active under the second call and
            b y the number of Founding and Active Associates who attend
             under third call. In all the cases the resolutions will be
            taken by majority vote of the active attending Associates.
            - - - - - - - - - - ARTICLE TWENTY-FIRST - - - - - - - - -
            - - - The calls for the General Assemblies of Associates,
            both Ordinary and Extraordinary, will be through written
             communication sent to all Founding and Active Associates
             at    home      registered in        the Association or by means of a
             communication          published           on       the    Internet            on      the
            Association's Website                or   Failing that, by publishing in
             one of the newspapers of the Association's domicile, with
             a advance notice of no less than (7) seven calendar days
             the      date     indicated    for       this   purpose,     including          in     the
             order of the day, the matters to be discussed, indicating
             the day, the time and the place where it should be held.-
            - - - - - - - - - - ARTICLE TWENTY-TWO - - - - - - - - - -
            - - - From each General Assembly of the Association, will
             draw up a record, which must be signed by the President
             and Secretary of the Assembly, and register in the Book of
             Minutes of Assemblies that must be kept Association.- - -
             - - - - - - - - - - ARTICLE TWENTY-THIRD - - - - - - - - -
             - - - The General Assembly of Associates, in addition to
             what      provided     for     in    these      statutes,      in    an    exemplary
             manner more non-limiting, will have the following powers:-
             -    -   -   a)    Determine      the     general     policy    for       driving       of
             the Association.- - - - - - - - - - - - - - - - - - - - -
             - - - b) Elect the members of the Board of Directors by
             indefinite period without prejudice to the possibility of
             revoking said appointments when, in his opinion, there is
             cause justified to do so.- - - - - - - - - - - - - - - - -
             - - - c) Approve or reject the amendments to the statutes
             that      the      Board     of      Directors       recommends,          by        voting


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            affirmative of two thirds of its members. - - - - - - - -
            -   -   -   d)     Approve    the      Annual      General      Budget    of    the
            Association.- - - - - - - - - - - - - - - - - - - - - - -
            - - - e) Approve the Balance Sheets for the year presented
            the Board of Directors.- - - - - - - - - - - - - - - - - -
            -   -   -   f)    Indicate    the      salaries     of    officials      who   have
            permanent functions within the Association.- - - - - - - -
            - - - g) Authorize the entry or withdrawal of Associates
            in all modalities and characteristics.- - - - - - - - - -
            - - - h) Interpret these statutes and dictate their own
            regulations.- - - - - - - - - - - - - - - - - - - - - - -
            - - - i) The other functions that it deems necessary for
            the good management of the Association, the achievement of
            its objectives and the optimal realization of your plans,
            programs, projects and activities.- - - - - - - - - - - -
            - - - - - - - - - - ARTICLE TWENTY-FOUR - - - - - - - - -
            - - - The election of each of the members of the Council
            Director, will be carried out by the General Assembly of
            Associates and It will be done separately and by secret
            ballot, holding their positions for an indefinite period,
            and the same General Assembly of Associates to revoke said
            appointments if it deems appropriate.- - - - - - - - - - -
            - - - - - - - - - - ARTICLE TWENTY-FIFTH - - - - - - - - -
            - - - The Board of Directors is a collegiate body that
            will be made up of Founding or Active Associates (not They
            cannot      be     employed       or    receive      any        salary    in    the
            Association), whose mission will be the supervision of the
            social programs carried out by the Association, exercise
            fiscal responsibility and supervise management Association
            Executive.- - - - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - ARTICLE TWENTY-SIX - - - - - - - - - -
            -   -   -   The    Board     of   Directors        will    be    made    up    of   a
            President, a Secretary, a Treasurer and a member, and they
            will be appointed by the General Assembly, will agree on
            its own regulations and way of organizing, in his faults
            temporary        or transitional, the             President of the        Council


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            Director will be replaced by another of the members of the
            Council elected for this purpose.- - - - - - - - - - - - -
            - - - - - - - - - TWENTY-SEVENTH ARTICLE - - - - - - - - -
            - - - The definitive or temporary absences of one or more
            of the members of the Board of Directors will be replaced
            b y designation of the same, choosing Founding Associates o
            Assets      of    the      Association         while         the     Assembly         meets
            General.     It       is   understood        that       there       is    a    permanent
            absence     of    a    member    when      you       stop    attending         more    than
            three meetings          consecutive ordinary meetings, or to five
            meetings     in       alternated       without       justified        cause,      in   the
            course of a year.- - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - - ARTICLE TWENTY-EIGHTH - - - - - - - -
            - - - The Board of Directors wi11 meet ordinarily at least
            once every three months and extraordinarily when called by
            its President and/or the Executive Directorate.- - - - - -
            - - - - - - - - - - ARTICLE TWENTY-NINTH - - - - - - - - -
            -   -   -   The   Board     of       Directors        will    have       the   following
            functions and powers: - - - - - - - - - - - - - - - - - -
            -   -   -   a)    Help     define      the    mission        and     purpose      of    the
            Association, supporting program planning and organization
            prof ects.- - - - - - - - - - - - - - - - - - - - - - - - -
            - - - b) Take care of the integrity and congruence of the
            organization,           supervising          that       all        members       of     the
            Association comply with what was agreed by the Assemblies
            General and what is stipulated in these Statutes.- - - - -
            -   -   -   c)    Prepare       an    economic        strengthening            plan    that
            ensure the acquisition of the necessary resources so that
            the Association can meet its objectives.- - - - - - - - -
            - - - d) Approve the Financial Plan (or budget of income
             and     expenses)         of        the     Association            presented by the
             President of the Board of Directors and protect heritage
            of the Association.- - - - - - - - - - - - - - - - - - - -
            - - - e) Strengthen and promote the public image of the
            Association.- - - - - - - - - - - - - - - - - - - - - - -
            -   -   -   f)    Approve       the    Administrative              structure      of    the


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            organization                   and        give         consent         to     any     appointment
            remunerated                 by           the         Board       of     Directors             of      the

            Association.-- - - g)                           Supervise          and advise the Board of
            Directors of the Association.- - - - - - - - - - - - - - -
            - - - - - - - - - h) Support and evaluation of all people
            with executive responsibilities within the Association.- -
            -   -    -    -     -       i)          The     powers       conferred        on    the       Board    of

            Directors may be expanded or restricted at any time by the
            General Assembly of the Association.- - - - - - - - - - -
            -   -    -     -       -       -    -     OF     THE     LEGAL        REPRESENTATION           OF     THE
            ASSOCIATION - - - - - - - - - - - - - - THIRTYTH ARTICLE -
            -   -    -    -    -       -    - -        - - - -           The      Association's           Board    of
            Directors           will             be        the     Legal       Representative              of     the
            Association, with the legal and representative powers that
            are indicated at continuation:- - - - - - - - - - - - - -
            - - - - - - - - - - - - Enunciatively and not limitedly,
            they will act with the following powers and faculties.- -
            - - - - - - - - - - - - - I.- GENERAL POWER FOR LAWSUITS
            AND COLLECTIONS, in the terms of the first                                           paragraph of
            Article (2,435) two thousand four hundred thirty-five of
            the      Civil          Codes             for     the     State        of     Durango         and     its
             correlative in each and every one of the Civil Codes of
             the    States             of      the        Republic       Mexican,        with     all      general

             powers       including                 those        powers      that       require       a    special

             clause,      in       accordance               with     Article        (2,468)      two      thousand
            four hundred sixty-eight of the Civil Code for the State
             of Durango, and its correlatives in all the other States
             of the Mexican Republic, among which in a way Enunciative
             but    not limiting,                    the following are               cited: Exercise              all
             kinds       of rights and actions before                               any Authority of the
             Federation,                   of         the        States, District               Federal           and
             Municipalities,                        whether         in       jurisdiction             voluntary,
             contentious               or       mixed       and     whether        they    are    Authorities
             Civil, Judicial, Administrative, Criminal or of the Work,
             whether          Local            or    Federal;        present        and    answer          demands,
             raise         exceptions,                      counterclaims,               submit           to      any


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            jurisdiction,            articulate          and    absolve          positions,        recuse
            magistrates,             judges,       secretaries,             experts          and     other
            persons who by law are objectionable, give up on the main
            thing,       on    your    interests,          on       any    appeal      and    even      the
            Amparo Trial, which may promote as many times as you deem
            appropriate;             give     up     everything             type       of     evidence,
            recognize          signatures          and     documents,            object      these      and
            accuse them of being false, where appropriate, compromise
            and    commit       to    arbitrators,          attend         meetings,        proceedings
            any kind, make postures, bids and improvements and obtain
            for the principal the award of all types of assets and, by
            any title, subrogate rights; make accusations, complaints
            and complaints criminal nature and become an contributing
            party    to       the    Public       Ministry,          causes      in    which       it   may
            exercise the broadest powers that the case requires.- - -
            - - - They will also have the necessary representation in
            the terms of Article (11) eleven of the Federal Law of the
            Labor, so they will be the employer representatives and In
            this     concept,         they    may        oblige      the     association           in   its
            relations           with        workers,           being        able       to         exercise
            representation            in    any     part       of    the    Mexican         Republic     as
            appropriate,            with broad powers, fulfilled and sufficient
            to defend the interests of the association in all types of
            labor    lawsuits both             individuals           as     well as        collectives,
            which are promoted against of the grantor by one or some
            of     the   workers       their       service,         and     also      to    act    in   any
            conflict that any union may present, expressly authorizing
            them to       reconcile, transfer and have settlements in any
            labor        lawsuit;           also     for        appoint           arbitrators           and
            arbitrators,            reach agreements            relevant         to   the     claims in
            question, offer evidence, assert all kinds of exceptions
             and    defenses           that       best      favor          the     client,         present
             witnesses,         cross-examine             and       cross     out     those        on   the
            opposite side, articulate and absolve positions, interpose
             and make         use the resources and instances that favor the
             defense, dissatisfied, resort to interlocutory or awards,


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             which could affect the principal, interpose or desist from
            direct or indirect protection, substituting in all or in
            part in       favor      of third parties is representation within
            the object and exclusive purpose of the present mandate or
            revoke     such      substitutions,             also      granting        the    mandate in
            the     terms       of     the        Articles            (685)        six     hundred        and
            eighty-five,          (689)      six       hundred          eighty-nine,          (693)       six
            hundred ninety-nine three, (695) six hundred ninety five,
            (761)      seven         hundred          sixty-one,            (776)        seven     hundred
            seventy-one         six,       (786)      seven        hundred         eighty-six,          (870)
            eight     hundred        seventy,          (900)       nine       hundred,       (982)       nine
             hundred      and    eighty-one           two       and     other       relatives      of     the
             Federal      Labor      Law    in    force,          representation           that may be
            exercised       before         all    type       of    Authorities,           including        in
            matters       related      with       the      H.     Mexican          Institute       of    Sure
            Social, Infonavit,              Fonacot and               all    kinds       of Authorities
            Administrative.            -    -     -    -    -     -   II.-      GENERAL       POWER       FOR
            ADMINISTRATION ACTS, of according to the second paragraph
            of      Article       (2,435)          two       one        thousand          four     hundred
            thirty-five of the Civil Code for the State of Durango,
             and    its    correlative           in     all       the       others       States    of     the
             Mexican Republic, with powers to be able to perform all
             operations         inherent         to    the      object        of    the     association,
             having among others that are mentioned in enunciative but
             not limiting form: That of celebrating contracts, whether
             lease, loan, works, constructions, provision of services,
             work individual or collective, or of any other nature that
             demand the exercise of the broadest powers administrative;
             receive and make payments, issue receipts, settlements and
             sign all documents and instruments in that each and every
             one of the acts that execute, with the clause, deadlines,
             prices and other conditions that it deems appropriate, as
             well    as    those      of    appear         before       any        Federal,       State    or
             Municipal, in which the association has intervention, and
             before       the    Mexican         Social         Security           Institute       (IMSS),
             Secretary of Treasury and Public Credit (SHCP), National


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            Fund      for       Workers       Consumption          (FONACOT)     and    before      the
            Institute           of     the     National        Housing        Fund     for    Workers
            (INFONAVIT) and before the Secretary of Economy (HE).- - -
            - - - - - - - - - - - III . - VERY BROAD GENERAL POWER TO
            EXERCISE ACTS OF DOMAIN, according to the third paragraph
            of the repeated Article (2.435) two thousand four hundred
            thirty-five of the Civil Code for the State of Durango,
            and its         correlatives in all other States                        of the Mexican
            Republic, with all the powers of the owner, among which in
            a way enunciative, but not limiting, are mentioned: Those
            of celebrate all types of contracts and carry out any act,
            even      when      it   involves disposal or encumbrance of assets
            movable        or    immovable,       as      well as to grant all kinds of
            guarantee.- - - - - - - - - - - - - - - - - - - - - - - -
            -     -    -    IV.-       POWER     TO    GRANT,        SUBSCRIBE,        ENDORSE      AND
            GUARANTEE           CREDIT       SECURITIES,       in    terms     of    Article     (9th)
            ninth of the General Law of Credit Titles and Operations,
            as well as for Openings and Cancellations in the name of
            the       association          all   types       of      Bank    Accounts        with   any
            institution, as well as to make deposits and draw against
            them without any limitation regarding the amount, and may
             also     designate        people       who    work      against    them themselves,
             and to carry out operations electronically at through the
            Internet.- - - - - - - - - - - - - - - - - - - - - - - - -
            - - - V.- POWER TO SUBSTITUTE this in whole or in part
             mandate        and      to      grant     and     revoke       general      powers      or
             specials,          with   the     understanding          that it must always           the
             exercise of the same shall be preserved.- - - - - - - - -
            -    -    -    VI.-      To    celebrate         agreements        with    the     Federal
             Government in the terms of the first and (IV) fractions
            fourth         of   Article       (27)     twenty-seven         Constitutional,         its
             Organic Law and its Regulations.- - - - - - - - - - - - -
             - - - VII.- Execute the                      agreements made by the               general
             Assembly.- - - - - - - - - - - - - - - - - - - - - - - - -
             -    -   -    VIII.-         Appoint     one     or     more    general     directors,
             general        managers,         managers        or     deputy    managers        of   the


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            association,             and    monitor         their        efforts     by    granting          them
            the       general          or      special           powers           that      you       consider
            appropriate in order to establish their powers as well as
            indicate           to    them    their      obligations,               representations            and
            remunerations, being able to freely remove them and revoke
            the powers that confers upon them.- - - - - - - - - - - -
            - - - IX. Delegate one or more of its powers to persons
            outside            the     association            and         revoke         the        powers    to
            delegate.- - - - - - - - - - - - - - - - - - - - - - - - -
            -   -     -       X.    Appoint       general         or     special         representatives,
            association representatives, agents, factors and employees
            thereof, granting them general powers or special ones that
            they      consider         convenient           for        the    purpose          of    establish

            their     faculties,            as    well      as    indicate          their      obligations,
            representations                and remunerations, and may freely remove
            them and revoke the powers granted to them confer.- - - -
            -     -       -    XI.      Form      the        internal             regulations          of     the
            association.- - - - - - - - - - - - - - - - - - - - - - -
            -   -     -       XII.    Call       for    Ordinary          General         Assemblies          and
            extraordinary             shareholder           meetings          and    to     execute         their
            resolutions.- - - - - - - - - - - - - - - - - - - - - - -
            - - - - - - - - DISSOLUTION AND LIQUIDATION - - - - - - -
            - - - - - - - - - - ARTICLE THIRTY-FIRST - - - - - - - - -
            - - - The               decision to dissolve the                      Association will be
            taken by the General Assembly of the Association, through
            vote      that          represents         at    least        (75%)      seventy-one             five
            percent of the Founding and Active Associates.- - - - - -
            - - - After the dissolution determination has been made,
             The General Assembly will appoint two liquidators who will
             proceed          in     accordance         with       the       legal       provisions          that
             govern the matter .- - - - - - - - - - - - - - - - - - - -
            - - - - - - - - - ARTICLE THIRTY-SECOND - - - - - - - - -
            -     -   -       In     case    of    dissolution               or    liquidation         of     the
             association,             all    of    its       assets,          including         the     public
             support and incentives will be allocated to people moral
             entities authorized to receive deductible donations of the


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            Income      Tax,       in    the     intelligence         of that goods          acquired
            with     support            and    stimuli        public,        as    well     as,        where
            appropriate, the remainders of said supports and stimuli,
            will        be     allocated           to    one          or     several        authorized
            institutions           for    receive       donations           deductible      under       the
            terms of the Tax Law on Income that is registered in the
            Federal      Registry         of     Civil    Association             Organizations. It
            stipulated in this provision is of a nature irrevocable.-
            - - - - - - - - OF THE REFORMS TO THE STATUTES - - - - - -
            - - - - - - - - - - ARTICLE THIRTY-THIRD - - - - - - - - -
            -   -   -    The       statutes       may    be     added       or    modified    when       so
            determined         by        (750)    seventy-five              per    percent        of    the
            Associates registered in the Registry of the Association
            expressing its consent at the Assembly General. - - - - -
            - - - - - - - - - - ARTICLE THIRTY-FOURTH - - - - - - - -
            - - - In everything not provided for by the statutes, they
            will    be       the   relative        provisions          of    the    Civil    Code        are
            applicable in force in the State of Durango. - - - - - - -
            - - - - - - - - - - - ANNEX LETTER ••B••. - - - - - - - - -




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                            AUTORIZACION DE USO DE DENOMINACION 0 RAZON SOCIAL


                        SECRETARIA DE ECONOMIA - DIRECC16N GENERAL DE NORMATIVIDAD MERCANTIL
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             to acencion a is reserva reanzaaa por u~ iHviHNu KtNuuiv v,rc~e, a craves aei ~iscema estanieciao por
             la Secretaria de Economic para autorizar el use de Denominaciones o Razones Sociales, y con
             fundamento en to dispuesto por los articulos 15, 16 y 16 A de la Ley de Inversion Extranjera; articulo 34,
             fraccibn XII bis de la Ley Organics de la Administration Publics Federal; articulo 69 C Bis de la Ley
             Federal de Procedimiento Administrativo, articulo 38, fracciones XXII y XXIV del Reglamento Interior de
             la Secretaria de Economic y el articulo 17 del Reglamento pars la Autorizacibn de Uso de
             Denominaciones y Razones Sociales, SE RESUELVE AUTORIZAR EL U50 DE LA SIGUIENTE
             DENOMINACION 0 RAZON SOCIAL: GENERAL SERVICES-DEFENSORES DE LOS DERECHOS HUMANOS &
             ABOVE. Lo anterior a partir de la fecha y hors que se indican en la section de Firma Electronics mss
             adelante.
             Los terminos con mayuscula initial contenidos en la presente Autorizacidn tendran el significado que se
             les atribuye a dichos terminos en el Reglamento pars la Autorizacion de Uso de Denominaciones y
             Razones Sociales, con independencia de que se usen en plural o en singular.
             De conformidad con to dispuesto por el articulo 18 del Reglamento pars la Autorizacibn de Uso de
             Denominaciones y Razones Sociales, la presente Autorizacion se otorga con independencia de la
             especie de la persona moral de que se trate, de su regimen juridico, o en su caso, de la modalidad a que
             pueda estar sujeta.

             De igual forma, se hate de su conocimiento que la envision de la "Autorizacion de Uso de Denominacidn
             o Raz6n Social" results ser un tramite "pre-constitutivo", ya que, de conformidad con to establecido en
             los articulos 15, 16 y
             16 A de la ley de Inversion Extranjera; 34 fraction XII bis de la ley Organics de la Administration Publics
             Federal;
             38 fracciones XXIi, XXIV y XXXIII Inciso e) del Reglamento Interior de la Secretaria de Economic; 2
             fracciones I, IV y IX, 3 Gltimo parrafo, 17 y 22 del Reglamento pars la Autorizacion de Uso de
             Denominaciones y Razones Sociales, compete a esta Autoridad Administrativa Gnicamente autorizar el
             use de denominaciones o razones sociales; to que se traduce en que la presente resoluci6n solo
             a utoriza a su solicitante el derecho pars hater use de las palabras, numeros y/o simbolos pars
             conformar el Hombre de una persona moral que pretende ser constituida a partir de su otorgamiento, o
             bien, pars formalizar el cambio de denomination o raz6n social de una persona moral ya existente.


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            Clave Unica del Dowmento A202207282134478986                                                              Pagina 1 de 7




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              En ese sentido, se advierte que la presente resolution de ninguna forma autoriza, valida o acredita
              el ejercicio de actividades profesionales, el objeto social o giro comercial de las personas morales
              que pretenden ser constituidas a partir de su envision, ni antes, ni durante el tiempo de vida de
              dichas sociedades o asociaciones.

               En terminos de to dispuesto por el articulo 21 del Reglamento para la Autorizacidn de Uso de
               Denominaciones y Razones Sociales, el Fedatario Publico Autorizado o Servidor Publico, o
               tratandose de las sociedades cooperativas, la autoridad, ante quien se constituya la Sociedad o
               Asociaci6n correspondiente, o en su caso, ante quien se formalice el cambio de su Denomination o
               Razon Social, debera cerciorase previamente a la realizaci6n de dichos actos, que se cumple con las
               condiciones que en su caso resulten aplicables y se encuentren senaladas en la presente
              ,4utorizacion y en e4 refcrido Reg{amento, y a su vez debera cerciorarse do quela presence -- - - -
               Autorizacion se encuentre vigente.

             AVISO DE U50 NECESARIO

             De conformidad con to dispuesto por el articulo 24 del Reglamento para la Autorizacion de Uso de
             Denominaciones y Razones Sociales, el Fedatario Publico Autorizado o Servidor Publico que haya lido
             elegido conforme al articulo 14 de dicho Reglamento, debera dar el Aviso de Uso correspondiente a
             treves del Sistema y dentro de los ciento ochenta dias naturales siguientes a la fecha de la presente
             Autorizacidn, a fin de hater del conocimiento de la Secretaria de Economic de que ha iniciado el use
             de la Denominaci6n o Razon Social Autorizada por haberse constituido la Sociedad o Asociacion, o
             formalizado su cambio de Denomination o Raz6n Social ante su fe.

             En caso de que el Fedatario Publico Autorizado o Servidor Publico que haya sido elegido conforme al
             articulo 14 del Reglamento para la Autorizaci6n de Uso de Denominaciones y Razones Sociales no de
             el Aviso de Uso conforme al articulo 24 de dicho Reglamento, este podra presentar previo pago de
             derechos, el Aviso de Uso de forma extemporanea en cualquiera de las oficinas de la Secretaria de
             Economic, dentro de los treinta dias naturales contados a partir de la fecha en que concluyd el plazo
             de ciento ochenta dias naturales siguientes a la fecha de la presente Autorizacibn.

             La Secretaria de Economic no reservara el use exclusivo de la Denomination o Razbn Social otorgada
             mediante la presente Autorizacion, en caso de esta no reciba el Aviso de Uso en los terminos antes
             senalados, y dentro del plazo establecido en el parrefo que antecede.

             AVISO DE LIBERAC16N

             En caso de fusion o iiquidacion de la Sociedad o Asociaci6n, o en el caso de cambio de Denomination
             o Raz6n Social de la misma, el Fedatario Publico Autorizado o Servidor Pubiico ante quien se
             formalizara dicho acto, debera de dar, a traves del Sistema y dentro de un plazo no mayor a treinta
             dias naturales posteriores a la fecha de formalization del instrumento respectivo, un Aviso de
             Liberation de la Denomination o Razdn Social.

             Tratandose de sociedades cooperativas que se liquiden, extingan o cambien su Denomination o Razon
             Social ante alguien distinto de un Fedatario Publico Autorizado, el representante legal de la sociedad
             cooperativa deber~ solicitar por escrito el apoyo de la Secretaria de Economic para poder dar el Aviso
             de—Ci6erecion correspon~nte.

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              Lo anterior, con fundamento en el articulo 28 del Reglamento para la Autorizacidn de Uso de
              Denominaciones o Razones Sociales.

               RESPONSABILIDADES


               De conformidad con to dispuesto por el articulo 22 del Reglamento para la Autorizacion de Uso de
               Denominaciones y Razones Sociales las sociedades o asociaciones que usen o pretendan usar una
               Denomination o Raz6n Social tendran las obligaciones siguientes:


             i. Responder por cualquier dano, perjuicio o afectacion que pudiera causar el use indebido o no
                autorizado de la
                Denominaci6n o Razon Social otorgada mediante la presente Autorizacion, conforme a la Ley de
                Inversion Extranjera y al Reglamento pars la Autorizaci6n de Uso de Denominaciones y Razones
                Sociales, y


             II. Proporcionar a la Secretaria de Economic la information y documentation que le sea requerida por
                 escrito o atraves del Sistema en relation con el use de la Denominaci6n o Razon Social otorgada
                 mediante la presente Autorizacibn, al momento de haberla reservado, durante el tiempo en que se
                 encuentre en uso, y despues de que se haya dado el Aviso de Liberaci6n respecto de la misma.


               Las obligaciones establecidas en las fracciones anteriores, deberan Constar en el instrumento
               mediante el cual se formalice la constituci6n de la Sociedad o Asociacidn o el cambio de su
               Denomination o Razon Social.

               La presente Autorizaci6n tiene una vigencia de 180 dial naturales a partir de la fecha de su
               expedition, y se otorga sin perjuicio de to establecido por el articulo 91 de la Ley de la Propiedad
               I ndustrial.




               dictamen: 9100476 ~ REA04607029Z8 ~ OCTAVIANO RENDON
               ARCE ~ SE RESUELVE AUTORIZAR EL U50 DE LA SIGUIENTE DENOMINACIbN 0 RAZON SOCIAL: "GENERAL
               SERVICES-DEFENSORES DE LOS DERECHOS HUMANOS &ABOVE" ~ DIMC520311EJ9 ~ MARIA DEL CARMEN
               GUADALUPE DIAZ MIRANDA ~ 28-07-2022 ~
               OTEwMDQ3Ni881FJFQU80NjA3MDI5WjggfCBPQ1R8VkIBTk8gUkVORE901EF5Q0UgfCBTRSBSRVNVRUxW R58
               BVVRPUkIaQVIgRUwgVVNPIERFIEx81FNJR1V1RU5URS8ERU5PTUlOQUN1w5NOlE8gUkFaw5N01FNPQ018TDo
               gl kdFTkVSQUwgU0V5VkIDRVMtREVGRU5TT11FUyBERSBMTiMgREVSRUN IT1Mg5FVNQUSPUyAmIEFCTIZFIi
               881ER1TUM 1MjAzMTFFSjkgfCBNQV11Q58ERUwgQOF5TUV01EdVQURBTFVQRS6E5UFalE1JUkFOREEgfCAyO


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           COwNyOyMDly
           Firma del servidor oublico del servidor ouhlico aue emite el dictamen:
           KfMkVppe9PvBc9aHLLn4ZVznaJCHSDhkyKPPPkCPrrlHZpQlnbKSUKFe9fyne83nGyunTUEt5E9m+OPwINI
           A/GtcA
           kgIYlLCstK8WZJYrCS9Px/g4GC1A3kDwvwiX7DmG BK3a E88AMfv7sAJbGXowmbPb5g5j6bMQ4Vk0oj2J+x
           oZtJAsj/
           A8yVKDoaZGjOFvPWVZ01ZL1vEIMENQe+K/g4rVu0EmAWX3o0WaAva0vnr8YeEzyWx8MY3cuLLhdk16zH2
           htYtSOf
           RvvzXYjgcZgPFv4ReEh 682CLM HoPP182myePu/tzl6Qwg6xfHx80qnawrBwwYYR0eat4HZOM H
           rw== Sello de Tiemno del momento de la envision del dictamen:
           M I IPKTADAgEAMI IPIAYJ KoZlhvcNAQcCoIIPETCCDwOCAQMxCzAl6gUrDgMCGgUAMI I BLAYLKoZI
           hvcNAQkQAQSgggEb8118FzCCARMCAQEGCmCDZGUKgjwoAQEwITAJBgUrDgMCGgUA8BTZ41Z7YszA
           GKv8HCOPezVu92hINwIGYY58sY3Y66MyM DIyM DcyOTAyMzQ0054wMTRaMASAAgHOAgkAmS BR/c39
           Uq WggbCkgaOwgaoxFzAVBgNVBAcTDkFsdmfybyBPYnJIZ29uMRkwFwYDVQQIEx6DaXVkYWQgZG Ug
           TWV4aWNvMQswCQYDVQQGEwJNWDEdM6sGAlUEAxMUVFNBMS51Y29ub21pY55nb21ubXgxJzAIBgNV
           BAsTHmSDaXBoZXIgRFNFIEVTTjo00EQ3LTJERkMtQkY3QjEfMBOGAlUEChMWU2VjcmVOYXJpYSBk
           ZSBFY29ub21pYaCCCWQwggXoMIIDOKADAgECAgEGMAOGCSgG51b3DQEBCwUAMIIBRTEXMBUGAlUE
           BxMOQWx2YXJvI E9icmVnb24xGTAXBgNVBAgTEEN pd W RhZCBkZ56NZXhpY28xCzAJ BgN VBAYTAk1Y
           M Q4wDAYDVQQREwUwMTAzMDErMCkGAlUECRMi5W5zdXJnZW50ZXMgU3VyIDESNDAsIENvbC4gRmx
           v cmIkYTFHMEUGAlUEAxM+gXVOb3JpZGFkIENIcnRpZmIjYWRvcmEgUmFpeiBTZWdibmRhIGRIIFNI
           Y3JId6FyaWEgZGUgRWNvbm9taWExNDAyBgNVBAsTKORpcmVjY2lvbiBHZW51cmFsIGRIlESvcmlh           ',
           d G12aWRhZCBNZXJjYW50aWwxHzAdBgNVBAoTFINIY3JIdGFyaWEgZGUgRWNvbm9taWExJTAjBgkq
           hkiG9wO6CQEWFmFjcjJzZUBIY29ub21pY55nb21ubXgwHhcNMTcwMjIzMDAwMDAwWhcNMjkwMjlz           ',
           MDAwMDAwWjCBgjEXMBUGAlUEBxMOQWx2YX1vIE9icmVnb24xGTAXBgNV6AgTEENpdWRhZCBkZ56N
           ZXhpY28xCzA18gNVBAYTAk1YMROwGwYDVQQDExR000ExLmVjb25vbWlhLmdvYiSteDEnMCUGAlUE
           CxMebkNpcGhlciBEUOUgRVN00jQ4RDctMkRGQylCRjdCMR8wHQYDVQQKExZTZWNyZXRhcmIhlGRI           ~
           I EVjb25vbWIhMIIBIjAN BgkghkiG9wOBAQEFAA0CAQ8AMII8CgKCAQEAplithhRHv7/x41NEtrYD
           o7YrsGZw3fTG1irj7RowzzsHf/a9NUuzEjvV/FFghvZvnHUVwIy+GBExaWhOktO+FOs2dUPnSUa7           ~,
           CRuuo4W/OkQywgMOgxzV5dOlqKJbcnk1E87yse6bM8K6hcgNy0a6jgrz+fX801mjf7bPlo/CoVRR
           IAzY2cwpyaihVRQinEd07AFnU WhJymjppN9UEYcsvQlglcVp+eBxfUTVg9K0oZx56iIFOCv/mQMh
           eskivcXTadublORChOhxrAm+xvrJzhMrla6Qf+vNb02hxs+0/uat3X6MtXUgGJALiItjaG851vT+
           IgweITSPGQjnTgtoXQIDAQABo3sweTAfBgNVHSMEG DAWgBQQgSkgwRl Nc501grUhW FIu968KBjAd
           BgNVHQ4EFgQUzaXsouzYEV5BI1P9tB5N RtJ04p4wFgYDVR0IAQH/BAwwCgYIKwY66QU HAwgwDwYD
           VROTAQH/BAUwAwIBADAOBgNVHQ88Af8EBAMCA+gwDQYJKoZIhvcNAQELBgADggl BADChuesKh8Zj
           4KoTruhzeE9gg8Q1G1nN418pPhW BuY01yC1u080TeQDnOy51NUZ64DOWO5yHV3pmZEZF7igThXrD
           YD1b4gz282Nzmw7wkQhHhnUvtUuR+14B1Vtw2gpdGoVfwMeaORCWSNKNbumSHsoI+M6ctb1u6Qpf            ',
           CdeioygjfBr6szQyRHgPVPSgsrFgEll0ea7dcjeepKdZPAvjfSGBbbkX3MaK3uKqzkVJUJ39Mvsx            ',
           POPR8vWMjFj2Haflkau57YbTOsc6pvOkHI5g2LUUWbzAra58gsCH607W4gOUrvaNC/40fbDIEp+
           h MepkxBh7DnlMetoeQbYORYXoBWkIQ19vy9yi5TdsCbUA2uxIhsCXOLFUQks+ddlkWBATpR/gOUs           ~
           m RNIzVaI+NJM7Gy1z11TF44avDsejXUHaoxr7+yp0ABmUJIF+LN8KByK4MvrVED15AXhnvIHCWEo           ~
           pEIjhQEwc33fLbAaTLOK51ygHsSD7vgGRnmX4dIh2W/Qf7nhEgeni5MXm3rCV8EoXX3GzrGwk8C8            ',
           yH1h086UzWZR3/PTgu12ZQ07dsD/yTHspHW06wYs/jOf+4NdcyVgWJ6WFQ713AJo01XQXVqICWhH
           laxA7YhR+gBkwqAktGosol2vDiZElLmrOtATuXa9NCd+kcRXfh8k6rX+OTRBmL06oYIDdDCCAIwC
           AQEwgdghgbCkgaOwgaoxFzAVBgNVBAcTDkFsdmFybyBPYnJ IZ29uMRkwFwYDVQQI ExBDaXVkYWQg
           ZGUgTWV4aWNvMQswCQYDVQQGEwJNWDEdMBsGA1UEAxMUVFNBM551Y29ub21pY55nb21ubXgxJzAl
           BgNVBAsTHmSDaXBoZXIgRFNFIEVTTjo00EQ3LTJERkMtQkY3QjEfMBOGAlUEChMW U2VjcmVOYXJp
           YSBkZ5BFY29ub21pYaIICgEBMAkG B5s0AwIa BQADFQAT117fr3AwcUeNdY8kP1Peg9dsw6CBsjCB
           r6SBrDCBgTEXMBUGAlUEBxMOQWx2YXJvIE9icmVnb24xGTAXBgNVBAgTEENpdWRhZCBkZSBNZXhp
           Y28xCzAJBgNVBAYTAk1YMRwwGgYDVQQDExNTQzEuZWNvbm9taWEuZ29iLm14MScwJQYDVQQLExSu
           Q21waGVylESUUyBFU046RDNFN51DNjdOLUFENjkxHzAdBgNVBAoTfINIY311dGFyaWEgZGUgRWNv
           b m9taWEwDQYJKoZIhvcNAQELBQACBQDmjcI+MCIYDzIwMjlwNzISMDIyMjUOWhgPMjAyMjA4MDUw
            MjIyNTRaMIGKMEgGCisGAQQBh FkKBAExOjA4MAwCBOaNwv4CBAAAAAAwDAiEAAAAAAIEAAAHpzAM




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            AgQAAAAAAgQAABOSMAwCBOa W/X4CBAAAAAAw PgYKKwYBBAG E W Qo EAjEwMC4wDAYKYI N kZQgCPCg
            B
            AaAO MAwCBAAAAAACBAAHoSCh DjAMAgQAAAAAAgQA66EgMA0GC5gGSl b30QEBCwUAA41 BAQAj+d50
            CBUSW+sIF3vKToHG3K/zJnlml698t37xu/QwW9MdMxKhehBsMxlddlHgZgJ1YuESPkpYopSklOg1
            EKijGPbixWv4pI8Z85nLrcxOd FGT/d70SKTJCxGgDgcQL12TOjF541vADAEgkXdBmp9m EdScVnXF
            W QDv3KNrEFgFgnyeeVer3mBGIACjrFvKRPJQvZyNbnTMSuGUrZwPpmBOpileA9HVnJ1/yoKJJl+v
            BKpzySxcgn8Yui372Cy4yzE8Rd5fW3LCyBw4GGOKLrCzBtVrryxNCaae1+J0 LReJ U Nyf2EN5+9M B
            jSkw3U5FaCag1APPQAMA8g4wzOXICdcMYIEYTCCBFOCAQEwggFMMIIBRTEXMBUGAlUEBxMOQWx2
            YX1viE9icmVnb24xGTAXBgNVBAgTEEN pd W RhZCBkZSBNZXhpY28xCzAJ BgNVBAYTAk1YMQ4wDAYD
            VQQREwUwMTAzMDErMCkGAlUECRMiSWSzdXJnZW50ZXMgU3VyIDESNDAsIENvbC4gRmxvcmlkYTFH
             M EUGAlUEAxM+gXVOb3JpZGFkIENIcnRpZmIjYWRvcmEgUmFpeiBTZWdlbmRhIGRIIFNIY3JIdGFy
            a WEgZGUgRWNvbm9taWExNDAy6gNVBAsTKORpcmVjY2lvbiBHZWSIcmFsIGRIlE5vcm1hdG12aWRh
            ZCBNZXJjYW50aWwxHzAdBgNVBAoTFINIY3JIdGFyaWEgZGUgRWNvbm9taWExITAjBgkghkiG9w08
            CQEW Fm FjcjlzZU BIY29ub21pYS5nb21ubXgCAQYwCQYFKw4DAhoFAKCCAegwGgYJ KoZlhvcNAQkD
             MQOGCygG51b3DQEJEAEEMCMGC5qG51b3DQE1BDEWBBReSXPFmIKHE8JLZugQ69A8LIXCEjCCAaMG
            C ygG51b3DQEJEAIMMYIBkjCCAY4wggGKMIIBbgQUE5Ze369wMHFHjXWAZDyT3oPXbMMwggFUMIIB
            TaSCAUkwggFfMRcwfQYDVQQH Ew58bHZhcm8gT2JyZWdvbjEZMBcGAlU ECBMQQ211ZGFkIG RIlE11
            eGljbzELMAkGAlUEBhMCTVgxDjAMBgNVBBETBTAxMDMwMSswKQYDVQQJEyJ1bnNlcmdlbnRlcyBT
            d XIgMTkOMCwgQ29sLiBGbG9yaWRhMUcwRQYDVQQDEz56dXRvcmIkYWQgQ2VydGImaWNhZG9yY5B5
            YWI6IFNIZ3VuZGEgZGUgU2VjcmVOYXJpY58kZSBFY29ub21pYTE0MDIGAlUECxMrRGIyZWNjaW9u
            I EdlbmVyYWwgZGUgTm9ybWF0aXZpZGFkIE1lcmNhbnRpbDEfMBOGAlUEChMWU2VjcmVOYXJpYSBk
            ZSBFY29ub21pYTEIMCMGCSgGSib3DQEJARYWYWNyMnNIQGVjb25vbWlhLmdvYiSteAIBBjAWBBSA
             N XGZVRRNtGo1KEVncStUIZCg4DAN6gkghkiG9wO8AQUFAASCAQCGX0J1QsYgg89oHSfjWeHeOAcN
            VJc9A+MibkH8++Hj68v9z+ZA78kDN4bsy8g8QPr5gEfrZmEvHVKyEwZP6gjsu8J PaLBIgmRctmG3
            a M6Y9nKmVwpBOb4wKUW/EkftajQ9mXRBMM1UdsVM95mzg/oK/AsGb0lvywu/gYTEPFfOLhHHMK4
            /aQ3FbP4UV2E51LUarIbUjQwtpB2hNNOpv4FDnyxjvulCslppNZvKgaNyGvck7hBtsUeBg4dyhil
            dQMHecdz8fawEMzji54rdYXAHj555L3jKdeUcE/XHHRY1foU4SNT69dTvmxPjquwz98c6GryP6QS
            6H82p/9AYzOL                                                                        ',




                                                  Antecedentes
                                                       __
             Cadena Original de la persona solicitante: 9100476 ~ REA04607029Z8 ~ OCTAVIANO RENDON ARCE
             GENERAL SERVICES-DEFENSORES DE LOS DERECHOS HUMANOS &ABOVE

             Firma de la aersona solicitante:
             X UTM L1spGXQQShVaIxOfGru6vwlyligansfG7KVQRYpcpIYDf8wW Rrl2mce24ggs940WtzC5CXYAPdvNcxlt
             51+2Mfa
             q+nLv83F6/+kfzCPgRHGMIaA6J KtX15ATyfvw9s3bh6j0UoYpMoSZIY+Em48Lt9xhYr8lZQm N W/mDRKbshrk
             TWgXS
             w8rZz39UxGBWKOn9Ui6omZGhhgOvlVgTCWDkk3qv097LMA1W1y6671yq3gHc9B230eLOMalcbj9ueKN
             Oc6FDAa
             U vCOmzZKKaEISAI+W BA+TLOOfpwVrXi4Xgnwiwqh3v2N 1wmhH Rzdtw/FpMmRNSF//JNxsM LG5J8g==
             Sello de tiempo de la solicitud:
             M IIPLDADAgEAMIIPIwY1KoZIhvcNAQcCoIIPFDCCDxACAQMxCzAJBgUrDgMCGgUAMIiBLAYLKoZI
             hvcNAQkQAQSgggEbBI18FzCCARMCAQEGCmCDZGU KgjwoAQEwITAJ BgUrDgMCGgUAB BRir5h7tAoq
             7X9W kpHyVgIEaCNFVAiGYY58sThAGBMyMDIyMDcyNzIxMDQwNi4wMjFa MASAAgHOAgkAm58R/c39
             Uq WggbCkgaOwgaoxFzAVBgNVBAcTDkFsdmFybyBPYnJIZ29uMRkwFwYDVQQI ExBDaXVkYWQgZGUg
             TWV4aWNvMQswCQYDVQQGEwJNWDEdMBsGAlUEAxMUVFNBM551Y29ub21pYS5nb21ubXgxJzAIBgNV
             BAsTHmSDaXBoZXIgRFNFIEVTTjo00EQ3LTJERkMtQkY3QjEfMBOGAlUEChMWU2VjcmVOYXJpY56k




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           ZSBFY29ub21pYaCCCWcwggXoMIIDOKADAgECAgEGMA06CSgG51b3DQEBCwUAMIIBRTEXMBUGAlUE
           BxMOQWx2YXJvIE9icmVnb24xGTAXBgNVBAgTEENpdWRhZCBkZSBN2XhpY28xCzAJBgNVBAYTAk1Y
           MQ4wDAYDVQQREwUwMTAzMDErMCkGAlU ECRMi5W5zdX1nZW50ZXMgU3VyIDESNDAsIENvbC4gRmxv
           cmIkYTFHMEUGAlUEAxM+gXVOb3JpZGFkIENIcnRpZmIjYWRvcmEgUmFpeiBTZWdibmRhIGRIIFNI
           Y311dGFyaW EgZGUgRW Nvbm9taWExN DAyBgNVBAsTKORpcmVjY2lvbiBHZW51cmFsIGRIlE5vcmlh
           dG12aWRhZCBNZXJjYW50aWwxHzAdBgNVBAoTFINIY3JIdGFyaW EgZGUgRW Nvbm9taW Ex1TAjBgkq
           hkiG9wOBCQEWFm FjcjJzZUBIY29ub21pY55nb21ubXgwHhcNMTcwMjIzMDAwMDAwWhcNMjkwMjlz
           MDAwM DAwWjCBgjEXMBUGAlUEBxMOQWx2YXJvIE9icmVnb24xGTAXBgNVBAgTEENpdW RhZCBkZSBN
           ZXhpY28xCzAJBgNVBAYTAk1YMROwGwYDVQQDExR000ExLmVjb25vbWlhLmdvYiSteDEnMCUGAlU E
           CxMebkNpcGhlciBEUOUgRVN00jQ4RDctMkRGQylCRjdCMR8wHQYDVQQKExZRW NyZXRhcmIhlGRI
            EVjb25vb WIh M I IBIjAN Bgkghki69wO8AQEFAA0CAQ8AM I IBCgKCAQEAplithh RHv7/x41 N EtrYD
           o7YrsG2w3f7Glirj7RowzzsHf/a9NUuzEjvV/FFghvZvnHUVwIy+GBExaWhDktO+FOs2dU Pn8Ua7
           CRuuo4W/OkQywgMOgxzV5dOlqKJbcnk1E67yse6bM8K6hcgNy0a6jqrz+fX801mjflbPlo/CoVRR
           IAzY2cwpyaihVRQinEd07AFnUWhJymjppN9UEYcsvQlglcVp+eBxFUNg9K0oZxS6iIFOCv/mQMh
           eskivcXTadublORChOhxrAm+xvrJzhMrla6Qf+vNb02hxs+0/uat3X6MtXUgGJALiItjaG8SJvT+
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              AQkDMQOGCygG51b3DQEJEAEEMCMGC5qG51b3DQEJBDEWBBStVOjlpKYpQ1KQ55Xm3i0nNxTYhjCC
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             - - - ARTICLE (2,435) TWO THOUSAND FOUR HUNDRED THIRTY-ONE

             FINE OF THE CIVIL CODE OF THE STATE OF DURANGO.- - - - - -

             - - -    In     all   general powers for lawsuits                        and collections

             it will be enough to say that it is granted with all the
             general powers and the special ones that require special
             clause     in       accordance         with   the     Law,       so      that          they        are
             understood conferred without any limitation.- - - - - - -
             - - - In the general powers to manage property, It will be
             enough to express that they occur with that character so
             that the agent has all kinds of administrative powers.- -
             - - - In the general powers to exercise acts of domain it
             will be enough for them to occur with that character for
             the   agent         has   all        the   powers     of   the           owner,             both    in
             regarding property as to do all kinds of efforts to defend
             them.- - - - - - - - - - - - - - - - - - - - - - - - - - -
             - - - When           they     want to limit themselves                     in        the three
             cases above mentioned the powers of the representatives,
             The   limitations           will      be   stated,    or     the         powers             will    be
             specials.- - - - - - - - - - - - - - - - - - - - - - - - -


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            - - - Notaries will insert this Article in the testimonies
            of the powers they grant.- - - - - - - - - - - - - - - - -
            IT    IS    THE   FIRST    TESTIMONY                    TAKEN              FROM       ITS   ORIGINAL THAT
            WORKS IN THE OPEN PROTOCOL WHICH IS IN MY CHARGE, UNDER
            THE    NUMBER       (48,179)              FORTY-EIGHT                         THOUSAND       ONE          HUNDRED
            SEVENTY-NINE, OF THE VOLUME                                NUMBER (1,962) THOUSAND NINE
            HUNDRED AND SIXTY-TWO, VA IN (17) SEVENTEEN USEFUL PAGES
            PROPERLY SEALED, CORRECTED, COLLABORATED ACCORDING TO THE
            LAW:       IS   ISSUED    IN       THE        CITY           OF        GOMEZ          PALACIO,        STATE    OF
            DURANGO, FOR USES OF                            THE                    ASSOCIATION                    "GENERAL
            SERVICES-DEE'ENSORES               DE          LOS           DERECHOS                 HUMANOS         &   ABOVE"
            ASOCIACION        CIVIL,       AT        (8)            EIGHT            DAYS         FOR   THE       MONTH    OF
            AUGUST OF THE YEAR (2022) TWO THOUSAND TWENTY-TWO.- I GIVE
            FAITH.- - - -


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Case 5:24-cv-00688-PSG-DTB Document 1 Filed 04/02/24 Page 190 of 205 Page ID #:190




     NOTICE OF APPEAL FORM
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     BIA"s CLERK LEGAL INSTRUMENT
Case 5:24-cv-00688-PSG-DTB Document 1 Filed 04/02/24 Page 194 of 205 Page ID #:194




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     BIA"s CLERK LEGAL INSTRUMENT
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     Page of the List of Pro Bono legal
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